           Case 1:21-cv-00119-RDM                  Document 55-3               Filed 06/22/21         Page 1 of 129
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36 CFR PART 800 -- PROTECTION OF             project planning. The goal of                  implementation of a program
HISTORIC PROPERTIES (incorporating           consultation is to identify historic           alternative. The agency official may be
amendments effective August 5, 2004)         properties potentially affected by the         a State, local, or tribal government
                                             undertaking, assess its effects and seek       official who has been delegated legal
Subpart A -- Purposes and Participants       ways to avoid, minimize or mitigate any        responsibility for compliance with
                                             adverse effects on historic properties.        section 106 in accordance with Federal
Sec.                                              (b) Relation to other provisions of the   law.
800.1 Purposes.                              act. Section 106 is related to other               (1) Professional standards. Section
800.2 Participants in the Section 106        provisions of the act designed to further      112(a)(1)(A) of the act requires each
process.                                     the national policy of historic                Federal agency responsible for the
                                             preservation. References to those              protection of historic resources,
Subpart B -- The Section 106 Process         provisions are included in this part to        including archeological resources, to
                                             identify circumstances where they may          ensure that all actions taken by
800.3 Initiation of the section 106          affect actions taken to meet section 106       employees or contractors of the agency
   process.                                  requirements. Such provisions may              shall meet professional standards under
800.4 Identification of historic             have their own implementing                    regulations developed by the Secretary.
   properties.                               regulations or guidelines and are not              (2) Lead Federal agency. If more
800.5 Assessment of adverse effects.         intended to be implemented by the              than one Federal agency is involved in
800.6 Resolution of adverse effects.         procedures in this part except insofar as      an undertaking, some or all the agencies
800.7 Failure to resolve adverse effects.    they relate to the section 106 process.        may designate a lead Federal agency,
800.8 Coordination with the National         Guidelines, policies and procedures            which shall identify the appropriate
   Environmental Policy act.                 issued by other agencies, including the        official to serve as the agency official
800.9 Council review of Section 106          Secretary, have been cited in this part        who shall act on their behalf, fulfilling
   compliance.                               for ease of access and are not                 their collective responsibilities under
800.10 Special requirements for              incorporated by reference.                     section 106. Those Federal agencies
   protecting National Historic                   (c) Timing. The agency official must      that do not designate a lead Federal
   Landmarks.                                complete the section 106 process “prior        agency remain individually responsible
800.11 Documentation standards.              to the approval of the expenditure of          for their compliance with this part.
800.12 Emergency situations.                 any Federal funds on the undertaking or            (3) Use of contractors. Consistent
800.13 Post-review discoveries.              prior to the issuance of any license.”         with applicable conflict of interest laws,
                                             This does not prohibit agency official         the agency official may use the services
Subpart C -- Program Alternatives            from conducting or authorizing                 of applicants, consultants, or designees
                                             nondestructive project planning                to prepare information, analyses and
800.14 Federal agency program                activities before completing compliance        recommendations under this part. The
   alternatives.                             with section 106, provided that such           agency official remains legally
800.15 Tribal, State and Local Program       actions do not restrict the subsequent         responsible for all required findings and
   Alternatives. (Reserved)                  consideration of alternatives to avoid,        determinations. If a document or study
800.16 Definitions.                          minimize or mitigate the undertaking's         is prepared by a non-Federal party, the
Appendix A – Criteria for Council            adverse effects on historic properties.        agency official is responsible for
   involvement in reviewing individual       The agency official shall ensure that the      ensuring that its content meets
   section 106 cases                         section 106 process is initiated early in      applicable standards and guidelines.
                                             the undertaking's planning, so that a              (4) Consultation. The agency official
Authority: 16 U.S.C. 470s.                   broad range of alternatives may be             shall involve the consulting parties
                                             considered during the planning process         described in paragraph (c) of this
Subpart A-Purposes and Participants          for the undertaking.                           section in findings and determinations
                                                                                            made during the section 106 process.
§ 800.1 Purposes.                            § 800.2 Participants in the Section 106        The agency official should plan
    (a) Purposes of the section 106          process.                                       consultations appropriate to the scale of
process. Section 106 of the National             (a) Agency official. It is the statutory   the undertaking and the scope of
Historic Preservation Act requires           obligation of the Federal agency to fulfill    Federal involvement and coordinated
Federal agencies to take into account the    the requirements of section 106 and to         with other requirements of other
effects of their undertakings on historic    ensure that an agency official with            statutes, as applicable, such as the
properties and afford the Council a          jurisdiction over an undertaking takes         National Environmental Policy Act, the
reasonable opportunity to comment on         legal and financial responsibility for         Native American Graves Protection and
such undertakings. The procedures in         section 106 compliance in accordance           Repatriation Act, the American Indian
this part define how Federal agencies        with subpart B of this part. The agency        Religious Freedom Act, the
meet these statutory responsibilities.       official has approval authority for the        Archeological Resources Protection Act
The section 106 process seeks to             undertaking and can commit the Federal         and agency-specific legislation. The
accommodate historic preservation            agency to take appropriate action for a        Council encourages the agency official
concerns with the needs of Federal           specific undertaking as a result of            to use to the extent possible existing
undertakings through consultation            section 106 compliance. For the                agency procedures and mechanisms to
among the agency official and other          purposes of subpart C of this part, the        fulfill the consultation requirements of
parties with an interest in the effects of   agency official has the authority to           this part.
the undertaking on historic properties,      commit the Federal agency to any                   (b) Council. The Council issues
commencing at the early stages of            obligation it may assume in the                regulations to implement section 106,
           Case 1:21-cv-00119-RDM                    Document 55-3              Filed 06/22/21          Page 2 of 129
                                                                                                                                      


provides guidance and advice on the                 (A) Tribal historic preservation         preservation issues and resolve
application of the procedures in this          officer. For a tribe that has assumed the     concerns about the confidentiality of
part, and generally oversees the               responsibilities of the SHPO for section      information on historic properties.
operation of the section 106 process.          106 on tribal lands under section                 (B) The Federal Government has a
The Council also consults with and             101(d)(2) of the act, the tribal historic     unique legal relationship with Indian
comments to agency officials on                preservation officer (THPO) appointed         tribes set forth in the Constitution of the
individual undertakings and programs           or designated in accordance with the act      United States, treaties, statutes, and
that affect historic properties.               is the official representative for the        court decisions. Consultation with
    (1) Council entry into the section 106     purposes of section 106. The agency           Indian tribes should be conducted in a
process. When the Council determines           official shall consult with the THPO in       sensitive manner respectful of tribal
that its involvement is necessary to           lieu of the SHPO regarding undertakings       sovereignty. Nothing in this part alters,
ensure that the purposes of section 106        occurring on or affecting historic            amends, repeals, interprets or modifies
and the act are met, the Council may           properties on tribal lands.                   tribal sovereignty, any treaty rights, or
enter the section 106 process. Criteria             (B) Tribes that have not assumed         other rights of an Indian tribe, or
guiding Council decisions to enter the         SHPO functions. When an Indian tribe          preempts, modifies or limits the exercise
section 106 process are found in               has not assumed the responsibilities of       of any such rights.
appendix A to this part. The Council           the SHPO for section 106 on tribal lands          (C) Consultation with an Indian
will document that the criteria have           under section 101(d)(2) of the act, the       tribe must recognize the government-to-
been met and notify the parties to the         agency official shall consult with a          government relationship between the
section 106 process as required by this        representative designated by such             Federal Government and Indian tribes.
part.                                          Indian tribe in addition to the SHPO          The agency official shall consult with
    (2) Council assistance. Participants       regarding undertakings occurring on or        representatives designated or identified
in the section 106 process may seek            affecting historic properties on its tribal   by the tribal government or the
advice, guidance and assistance from           lands. Such Indian tribes have the same       governing body of a Native Hawaiian
the Council on the application of this         rights of consultation and concurrence        organization. Consultation with Indian
part to specific undertakings, including       that the THPOs are given throughout           tribes and Native Hawaiian
the resolution of disagreements,               subpart B of this part, except that such      organizations should be conducted in a
whether or not the Council is formally         consultations shall be in addition to and     manner sensitive to the concerns and
involved in the review of the                  on the same basis as consultation with        needs of the Indian tribe or Native
undertaking. If questions arise                the SHPO.                                     Hawaiian organization.
regarding the conduct of the section 106            (ii) Consultation on historic                (D) When Indian tribes and Native
process, participants are encouraged to        properties of significance to Indian tribes   Hawaiian organizations attach religious
obtain the Council's advice on                 and Native Hawaiian organizations.            and cultural significance to historic
completing the process.                        Section 101(d)(6)(B) of the act requires      properties off tribal lands, section
    (c) Consulting parties. The following      the agency official to consult with any       101(d)(6)(B) of the act requires Federal
parties have consultative roles in the         Indian tribe or Native Hawaiian               agencies to consult with such Indian
section 106 process.                           organization that attaches religious and      tribes and Native Hawaiian
    (1) State historic preservation officer.   cultural significance to historic             organizations in the section 106 process.
    (i) The State historic preservation        properties that may be affected by an         Federal agencies should be aware that
officer (SHPO) reflects the interests of       undertaking. This requirement applies         frequently historic properties of
the State and its citizens in the              regardless of the location of the historic    religious and cultural significance are
preservation of their cultural heritage.       property. Such Indian tribe or Native         located on ancestral, aboriginal, or
In accordance with section 101(b)(3) of        Hawaiian organization shall be a              ceded lands of Indian tribes and Native
the act, the SHPO advises and assists          consulting party.                             Hawaiian organizations and should
Federal agencies in carrying out their              (A) The agency official shall ensure     consider that when complying with the
section 106 responsibilities and               that consultation in the section 106          procedures in this part.
cooperates with such agencies, local           process provides the Indian tribe or              (E) An Indian tribe or a Native
governments and organizations and              Native Hawaiian organization a                Hawaiian organization may enter into
individuals to ensure that historic            reasonable opportunity to identify its        an agreement with an agency official
properties are taking into consideration       concerns about historic properties,           that specifies how they will carry out
at all levels of planning and                  advise on the identification and              responsibilities under this part,
development.                                   evaluation of historic properties,            including concerns over the
    (ii) If an Indian tribe has assumed        including those of traditional religious      confidentiality of information. An
the functions of the SHPO in the section       and cultural importance, articulate its       agreement may cover all aspects of tribal
106 process for undertakings on tribal         views on the undertaking's effects on         participation in the section 106 process,
lands, the SHPO shall participate as a         such properties, and participate in the       provided that no modification may be
consulting party if the undertaking takes      resolution of adverse effects. It is the      made in the roles of other parties to the
place on tribal lands but affects historic     responsibility of the agency official to      section 106 process without their
properties off tribal lands, if requested      make a reasonable and good faith effort       consent. An agreement may grant the
in accordance with § 800.3(c)(1), or if        to identify Indian tribes and Native          Indian tribe or Native Hawaiian
the Indian tribe agrees to include the         Hawaiian organizations that shall be          organization additional rights to
SHPO pursuant to § 800.3(f)(3).                consulted in the section 106 process.         participate or concur in agency
    (2) Indian tribes and Native               Consultation should commence early in         decisions in the section 106 process
Hawaiian organizations.                        the planning process, in order to             beyond those specified in subpart B of
    (i) Consultation on tribal lands.          identify and discuss relevant                 this part. The agency official shall
           Case 1:21-cv-00119-RDM                   Document 55-3               Filed 06/22/21         Page 3 of 129
                                                                                                                                     


provide a copy of any such agreement to       the relationship of the Federal                Transportation Act. Where consistent
the Council and the appropriate SHPOs.        involvement to the undertaking.                with the procedures in this subpart, the
     (F) An Indian tribe that has not             (2) Providing notice and information.      agency official may use information
assumed the responsibilities of the           The agency official must, except where         developed for other reviews under
SHPO for section 106 on tribal lands          appropriate to protect confidentiality         Federal, State or tribal law to meet the
under section 101(d)(2) of the act may        concerns of affected parties, provide the      requirements of section 106.
notify the agency official in writing that    public with information about an                   (c) Identify the appropriate SHPO
it is waiving its rights under §              undertaking and its effects on historic        and/or THPO. As part of its initial
800.6(c)(1) to execute a memorandum of        properties and seek public comment             planning, the agency official shall
agreement.                                    and input. Members of the public may           determine the appropriate SHPO or
     (3) Representatives of local             also provide views on their own                SHPOs to be involved in the section 106
governments. A representative of a local      initiative for the agency official to          process. The agency official shall also
government with jurisdiction over the         consider in decisionmaking.                    determine whether the undertaking may
area in which the effects of an                   (3) Use of agency procedures. The          occur on or affect historic properties on
undertaking may occur is entitled to          agency official may use the agency's           any tribal lands and, if so, whether a
participate as a consulting party. Under      procedures for public involvement              THPO has assumed the duties of the
other provisions of Federal law, the          under the National Environmental               SHPO. The agency official shall then
local government may be authorized to         Policy Act or other program                    initiate consultation with the
act as the agency official for purposes of    requirements in lieu of public                 appropriate officer or officers.
section 106.                                  involvement requirements in subpart B              (1) Tribal assumption of SHPO
     (4) Applicants for Federal assistance,   of this part, if they provide adequate         responsibilities. Where an Indian tribe
permits, licenses and other approvals.        opportunities for public involvement           has assumed the section 106
An applicant for Federal assistance or        consistent with this subpart.                  responsibilities of the SHPO on tribal
for a Federal permit, license or other                                                       lands pursuant to section 101(d)(2) of
approval is entitled to participate as a      Subpart B-The section 106 Process              the act, consultation for undertakings
consulting party as defined in this part.                                                    occurring on tribal land or for effects on
The agency official may authorize an          § 800.3 Initiation of the section 106          tribal land is with the THPO for the
applicant or group of applicants to           process.                                       Indian tribe in lieu of the SHPO.
initiate consultation with the                    (a) Establish undertaking. The             Section 101(d)(2)(D)(iii) of the act
SHPO/THPO and others, but remains             agency official shall determine whether        authorizes owners of properties on tribal
legally responsible for all findings and      the proposed Federal action is an              lands which are neither owned by a
determinations charged to the agency          undertaking as defined in § 800.16(y)          member of the tribe nor held in trust by
official. The agency official shall notify    and, if so, whether it is a type of activity   the Secretary for the benefit of the tribe
the SHPO/THPO when an applicant or            that has the potential to cause effects on     to request the SHPO to participate in the
group of applicants is so authorized. A       historic properties.                           section 106 process in addition to the
Federal agency may authorize all                  (1) No potential to cause effects. If      THPO.
applicants in a specific program              the undertaking is a type of activity that         (2) Undertakings involving more than
pursuant to this section by providing         does not have the potential to cause           one State. If more than one State is
notice to all SHPO/THPOs. Federal             effects on historic properties, assuming       involved in an undertaking, the
agencies that provide authorizations to       such historic properties were present,         involved SHPOs may agree to designate
applicants remain responsible for their       the agency official has no further             a lead SHPO to act on their behalf in the
government to government relationships        obligations under section 106 or this          section 106 process, including taking
with Indian tribes.                           part.                                          actions that would conclude the section
     (5) Additional consulting parties.           (2) Program alternatives. If the           106 process under this subpart.
Certain individuals and organizations         review of the undertaking is governed              (3) Conducting consultation. The
with a demonstrated interest in the           by a Federal agency program alternative        agency official should consult with the
undertaking may participate as                established under § 800.14 or a                SHPO/THPO in a manner appropriate to
consulting parties due to the nature of       programmatic agreement in existence            the agency planning process for the
their legal or economic relation to the       before January 11, 2001, the agency            undertaking and to the nature of the
undertaking or affected properties, or        official shall follow the program              undertaking and its effects on historic
their concern with the undertaking's          alternative.                                   properties.
effects on historic properties.                   (b) Coordinate with other reviews.             (4) Failure of the SHPO/THPO to
     (d) The public.                          The agency official should coordinate          respond. If the SHPO/THPO fails to
     (1) Nature of involvement. The views     the steps of the section 106 process, as       respond within 30 days of receipt of a
of the public are essential to informed       appropriate, with the overall planning         request for review of a finding or
Federal decisionmaking in the section         schedule for the undertaking and with          determination, the agency official may
106 process. The agency official shall        any reviews required under other               either proceed to the next step in the
seek and consider the views of the            authorities such as the National               process based on the finding or
public in a manner that reflects the          Environmental Policy Act, the Native           determination or consult with the
nature and complexity of the                  American Graves Protection and                 Council in lieu of the SHPO/THPO. If
undertaking and its effects on historic       Repatriation Act, the American Indian          the SHPO/THPO re-enters the section
properties, the likely interest of the        Religious Freedom Act, the                     106 process, the agency official shall
public in the effects on historic             Archeological Resources Protection Act         continue the consultation without being
properties, confidentiality concerns of       and agency-specific legislation, such as       required to reconsider previous findings
private individuals and businesses, and       section 4(f) of the Department of              or determinations.
           Case 1:21-cv-00119-RDM                   Document 55-3              Filed 06/22/21          Page 4 of 129
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    (d) Consultation on tribal lands.             (g) Expediting consultation. A            sample field investigation, and field
Where the Indian tribe has not assumed        consultation by the agency official with      survey. The agency official shall take
the responsibilities of the SHPO on           the SHPO/THPO and other consulting            into account past planning, research
tribal lands, consultation with the           parties may address multiple steps in §§      and studies, the magnitude and nature
Indian tribe regarding undertakings           800.3 through 800.6 where the agency          of the undertaking and the degree of
occurring on such tribe's lands or effects    official and the SHPO/THPO agree it is        Federal involvement, the nature and
on such tribal lands shall be in addition     appropriate as long as the consulting         extent of potential effects on historic
to and on the same basis as consultation      parties and the public have an adequate       properties, and the likely nature and
with the SHPO. If the SHPO has                opportunity to express their views as         location of historic properties within the
withdrawn from the process, the agency        provided in § 800.2(d).                       area of potential effects. The Secretary's
official may complete the section 106                                                       Standards and Guidelines for
process with the Indian tribe and the         § 800.4 Identification of historic            Identification provide guidance on this
Council, as appropriate. An Indian tribe      properties.                                   subject. The agency official should also
may enter into an agreement with a                (a) Determine scope of identification     consider other applicable professional,
SHPO or SHPOs specifying the SHPO's           efforts. In consultation with the             State, tribal and local laws, standards
participation in the section 106 process      SHPO/THPO, the agency official shall:         and guidelines. The agency official
for undertakings occurring on or                  (1) Determine and document the            shall take into account any
affecting historic properties on tribal       area of potential effects, as defined in §    confidentiality concerns raised by
lands.                                        800.16(d);                                    Indian tribes or Native Hawaiian
    (e) Plan to involve the public. In            (2) Review existing information on        organizations during the identification
consultation with the SHPO/THPO, the          historic properties within the area of        process.
agency official shall plan for involving      potential effects, including any data             (2) Phased identification and
the public in the section 106 process.        concerning possible historic properties       evaluation. Where alternatives under
The agency official shall identify the        not yet identified;                           consideration consist of corridors or
appropriate points for seeking public             (3) Seek information, as appropriate,     large land areas, or where access to
input and for notifying the public of         from consulting parties, and other            properties is restricted, the agency
proposed actions, consistent with §           individuals and organizations likely to       official may use a phased process to
800.2(d).                                     have knowledge of, or concerns with,          conduct identification and evaluation
    (f) Identify other consulting parties.    historic properties in the area, and          efforts. The agency official may also
In consultation with the SHPO/THPO,           identify issues relating to the               defer final identification and evaluation
the agency official shall identify any        undertaking's potential effects on            of historic properties if it is specifically
other parties entitled to be consulting       historic properties; and                      provided for in a memorandum of
parties and invite them to participate as         (4) Gather information from any           agreement executed pursuant to § 800.6,
such in the section 106 process. The          Indian tribe or Native Hawaiian               a programmatic agreement executed
agency official may invite others to          organization identified pursuant to §         pursuant to § 800.14 (b), or the
participate as consulting parties as the      800.3(f) to assist in identifying             documents used by an agency official to
section 106 process moves forward.            properties, including those located off       comply with the National
    (1) Involving local governments and       tribal lands, which may be of religious       Environmental Policy Act pursuant to §
applicants. The agency official shall         and cultural significance to them and         800.8. The process should establish the
invite any local governments or               may be eligible for the National Register,    likely presence of historic properties
applicants that are entitled to be            recognizing that an Indian tribe or           within the area of potential effects for
consulting parties under § 800.2(c).          Native Hawaiian organization may be           each alternative or inaccessible area
    (2) Involving Indian tribes and           reluctant to divulge specific information     through background research,
Native Hawaiian organizations. The            regarding the location, nature, and           consultation and an appropriate level of
agency official shall make a reasonable       activities associated with such sites.        field investigation, taking into account
and good faith effort to identify any         The agency official should address            the number of alternatives under
Indian tribes or Native Hawaiian              concerns raised about confidentiality         consideration, the magnitude of the
organizations that might attach religious     pursuant to § 800.11(c).                      undertaking and its likely effects, and
and cultural significance to historic             (b) Identify historic properties. Based   the views of the SHPO/THPO and any
properties in the area of potential effects   on the information gathered under             other consulting parties. As specific
and invite them to be consulting parties.     paragraph (a) of this section, and in         aspects or locations of an alternative are
Such Indian tribe or Native Hawaiian          consultation with the SHPO/THPO and           refined or access is gained, the agency
organization that requests in writing to      any Indian tribe or Native Hawaiian           official shall proceed with the
be a consulting party shall be one.           organization that might attach religious      identification and evaluation of historic
    (3) Requests to be consulting parties.    and cultural significance to properties       properties in accordance with
The agency official shall consider all        within the area of potential effects, the     paragraphs (b)(1) and (c) of this section.
written requests of individuals and           agency official shall take the steps              (c) Evaluate historic significance.
organizations to participate as               necessary to identify historic properties         (1) Apply National Register criteria.
consulting parties and, in consultation       within the area of potential effects.         In consultation with the SHPO/THPO
with the SHPO/THPO and any Indian                 (1) Level of effort. The agency           and any Indian tribe or Native Hawaiian
tribe upon whose tribal lands an              official shall make a reasonable and          organization that attaches religious and
undertaking occurs or affects historic        good faith effort to carry out appropriate    cultural significance to identified
properties, determine which should be         identification efforts, which may             properties and guided by the Secretary's
consulting parties.                           include background research,                  Standards and Guidelines for
                                              consultation, oral history interviews,        Evaluation, the agency official shall
           Case 1:21-cv-00119-RDM                   Document 55-3              Filed 06/22/21          Page 5 of 129
                                                                                                                                       


apply the National Register criteria (36           (ii) If the SHPO/THPO objects            accordance with the revised finding. If
CFR part 63) to properties identified         within 30 days of receipt of an               the final decision of the agency is to
within the area of potential effects that     adequately documented finding, the            affirm the initial agency finding of no
have not been previously evaluated for        agency official shall either consult with     historic properties affected, once the
National Register eligibility. The            the objecting party to resolve the            summary of the decision has been sent
passage of time, changing perceptions of      disagreement, or forward the finding          to the Council, the SHPO/THPO, and
significance, or incomplete prior             and supporting documentation to the           the consulting parties, the agency
evaluations may require the agency            Council and request that the Council          official's responsibilities under section
official to reevaluate properties             review the finding pursuant to                106 are fulfilled.
previously determined eligible or             paragraphs (d)(1)(iv)(A) through                   (D) The Council shall retain a record
ineligible. The agency official shall         (d)(1)(iv)(C) of this section. When an        of agency responses to Council opinions
acknowledge that Indian tribes and            agency official forwards such requests        on their findings of no historic
Native Hawaiian organizations possess         for review to the Council, the agency         properties affected. The Council shall
special expertise in assessing the            official shall concurrently notify all        make this information available to the
eligibility of historic properties that may   consulting parties that such a request        public.
possess religious and cultural                has been made and make the request                 (2) Historic properties affected. If the
significance to them.                         documentation available to the public.        agency official finds that there are
    (2) Determine whether a property is            (iii) During the SHPO/THPO 30 day        historic properties which may be
eligible. If the agency official              review period, the Council may object to      affected by the undertaking, the agency
determines any of the National Register       the finding and provide its opinion           official shall notify all consulting
criteria are met and the SHPO/THPO            regarding the finding to the agency           parties, including Indian tribes or
agrees, the property shall be considered      official and, if the Council determines       Native Hawaiian organizations, invite
eligible for the National Register for        the issue warrants it, the head of the        their views on the effects and assess
section 106 purposes. If the agency           agency. A Council decision to provide         adverse effects, if any, in accordance
official determines the criteria are not      its opinion to the head of an agency          with § 800.5.
met and the SHPO/THPO agrees, the             shall be guided by the criteria in
property shall be considered not              appendix A to this part. The agency           § 800.5 Assessment of adverse effects.
eligible. If the agency official and the      shall then proceed according to                   (a) Apply criteria of adverse effect. In
SHPO/THPO do not agree, or if the             paragraphs (d)(1)(iv)(B) and (d)(1)(iv)(C)    consultation with the SHPO/THPO and
Council or the Secretary so request, the      of this section.                              any Indian tribe or Native Hawaiian
agency official shall obtain a                     (iv)(A) Upon receipt of the request      organization that attaches religious and
determination of eligibility from the         under paragraph (d)(1)(ii) of this            cultural significance to identified
Secretary pursuant to 36 CFR part 63. If      section, the Council will have 30 days in     historic properties, the agency official
an Indian tribe or Native Hawaiian            which to review the finding and provide       shall apply the criteria of adverse effect
organization that attaches religious and      the agency official and, if the Council       to historic properties within the area of
cultural significance to a property off       determines the issue warrants it, the         potential effects. The agency official
tribal lands does not agree, it may ask       head of the agency with the Council's         shall consider any views concerning
the Council to request the agency             opinion regarding the finding. A              such effects which have been provided
official to obtain a determination of         Council decision to provide its opinion       by consulting parties and the public.
eligibility.                                  to the head of an agency shall be guided          (1) Criteria of adverse effect. An
    (d) Results of identification and         by the criteria in appendix A to this         adverse effect is found when an
evaluation.                                   part. If the Council does not respond         undertaking may alter, directly or
    (1) No historic properties affected. If   within 30 days of receipt of the request,     indirectly, any of the characteristics of a
the agency official finds that either there   the agency official's responsibilities        historic property that qualify the
are no historic properties present or         under section 106 are fulfilled.              property for inclusion in the National
there are historic properties present but          (B) The person to whom the Council       Register in a manner that would
the undertaking will have no effect           addresses its opinion (the agency official    diminish the integrity of the property's
upon them as defined in § 800.16(i), the      or the head of the agency) shall take into    location, design, setting, materials,
agency official shall provide                 account the Council's opinion before the      workmanship, feeling, or association.
documentation of this finding, as set         agency reaches a final decision on the        Consideration shall be given to all
forth in § 800.11(d), to the SHPO/THPO.       finding.                                      qualifying characteristics of a historic
The agency official shall notify all               (C) The person to whom the Council       property, including those that may have
consulting parties, including Indian          addresses its opinion (the agency official    been identified subsequent to the
tribes and Native Hawaiian                    or the head of the agency) shall then         original evaluation of the property's
organizations, and make the                   prepare a summary of the decision that        eligibility for the National Register.
documentation available for public            contains the rationale for the decision       Adverse effects may include reasonably
inspection prior to approving the             and evidence of consideration of the          foreseeable effects caused by the
undertaking.                                  Council's opinion, and provide it to the      undertaking that may occur later in
    (i) If the SHPO/THPO, or the              Council, the SHPO/THPO, and the               time, be farther removed in distance or
Council if it has entered the section 106     consulting parties. The head of the           be cumulative.
process, does not object within 30 days       agency may delegate his or her duties             (2) Examples of adverse effects.
of receipt of an adequately documented        under this paragraph to the agency's          Adverse effects on historic properties
finding, the agency official's                senior policy official. If the agency         include, but are not limited to:
responsibilities under section 106 are        official's initial finding will be revised,       (i) Physical destruction of or damage
fulfilled.                                    the agency official shall proceed in          to all or part of the property;
           Case 1:21-cv-00119-RDM                  Document 55-3               Filed 06/22/21          Page 6 of 129
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    (ii) Alteration of a property,                (1) Agreement with, or no objection       been correctly applied. A Council
including restoration, rehabilitation,       to, finding. Unless the Council is             decision to provide its opinion to the
repair, maintenance, stabilization,          reviewing the finding pursuant to              head of an agency shall be guided by the
hazardous material remediation and           paragraph (c)(3) of this section, the          criteria in appendix A to this part. The
provision of handicapped access, that is     agency official may proceed after the          Council will provide its opinion within
not consistent with the Secretary’s          close of the 30 day review period if the       15 days of receiving the documented
Standards for the Treatment of Historic      SHPO/THPO has agreed with the                  finding from the agency official. The
Properties (36 CFR part 68) and              finding or has not provided a response,        Council at its discretion may extend that
applicable guidelines;                       and no consulting party has objected.          time period for 15 days, in which case it
    (iii) Removal of the property from its   The agency official shall then carry out       shall notify the agency of such
historic location;                           the undertaking in accordance with             extension prior to the end of the initial
    (iv) Change of the character of the      paragraph (d)(1) of this section.              15 day period. If the Council does not
property’s use or of physical features            (2) Disagreement with finding.            respond within the applicable time
within the property's setting that                (i) If within the 30 day review period    period, the agency official's
contribute to its historic significance;     the SHPO/THPO or any consulting party          responsibilities under section 106 are
    (v) Introduction of visual,              notifies the agency official in writing        fulfilled.
atmospheric or audible elements that         that it disagrees with the finding and              (ii)(A) The person to whom the
diminish the integrity of the property's     specifies the reasons for the                  Council addresses its opinion (the
significant historic features;               disagreement in the notification, the          agency official or the head of the
    (vi) Neglect of a property which         agency official shall either consult with      agency) shall take into account the
causes its deterioration, except where       the party to resolve the disagreement, or      Council's opinion in reaching a final
such neglect and deterioration are           request the Council to review the              decision on the finding.
recognized qualities of a property of        finding pursuant to paragraphs (c)(3)(i)            (B) The person to whom the Council
religious and cultural significance to an    and (c)(3)(ii) of this section. The agency     addresses its opinion (the agency official
Indian tribe or Native Hawaiian              official shall include with such request       or the head of the agency) shall prepare
organization; and                            the documentation specified in §               a summary of the decision that contains
    (vii) Transfer, lease, or sale of        800.11(e). The agency official shall also      the rationale for the decision and
property out of Federal ownership or         concurrently notify all consulting             evidence of consideration of the
control without adequate and legally         parties that such a submission has been        Council's opinion, and provide it to the
enforceable restrictions or conditions to    made and make the submission                   Council, the SHPO/THPO, and the
ensure long-term preservation of the         documentation available to the public.         consulting parties. The head of the
property's historic significance.                 (ii) If within the 30 day review          agency may delegate his or her duties
    (3) Phased application of criteria.      period the Council provides the agency         under this paragraph to the agency's
Where alternatives under consideration       official and, if the Council determines        senior policy official. If the agency
consist of corridors or large land areas,    the issue warrants it, the head of the         official's initial finding will be revised,
or where access to properties is             agency, with a written opinion objecting       the agency official shall proceed in
restricted, the agency official may use a    to the finding, the agency shall then          accordance with the revised finding. If
phased process in applying the criteria      proceed according to paragraph (c)(3)(ii)      the final decision of the agency is to
of adverse effect consistent with phased     of this section. A Council decision to         affirm the initial finding of no adverse
identification and evaluation efforts        provide its opinion to the head of an          effect, once the summary of the decision
conducted pursuant to § 800.4(b)(2).         agency shall be guided by the criteria in      has been sent to the Council, the
    (b) Finding of no adverse effect. The    appendix A to this part.                       SHPO/THPO, and the consulting parties,
agency official, in consultation with the         (iii) The agency official should seek     the agency official's responsibilities
SHPO/THPO, may propose a finding of          the concurrence of any Indian tribe or         under section 106 are fulfilled.
no adverse effect when the                   Native Hawaiian organization that has               (C) The Council shall retain a record
undertaking's effects do not meet the        made known to the agency official that         of agency responses to Council opinions
criteria of paragraph (a)(1) of this         it attaches religious and cultural             on their findings of no adverse effects.
section or the undertaking is modified       significance to a historic property            The Council shall make this information
or conditions are imposed, such as the       subject to the finding. If such Indian         available to the public.
subsequent review of plans for               tribe or Native Hawaiian organization               (d) Results of assessment.
rehabilitation by the SHPO/THPO to           disagrees with the finding, it may within           (1) No adverse effect. The agency
ensure consistency with the Secretary’s      the 30 day review period specify the           official shall maintain a record of the
Standards for the Treatment of Historic      reasons for disagreeing with the finding       finding and provide information on the
Properties (36 CFR part 68) and              and request the Council to review and          finding to the public on request,
applicable guidelines, to avoid adverse      object to the finding pursuant to              consistent with the confidentiality
effects.                                     paragraph (c)(2)(ii) of this section.          provisions of § 800.11(c).
    (c) Consulting party review. If the           (3) Council review of findings.           Implementation of the undertaking in
agency official proposes a finding of no          (i) When a finding is submitted to        accordance with the finding as
adverse effect, the agency official shall    the Council pursuant to paragraph              documented fulfills the agency official's
notify all consulting parties of the         (c)(2)(i) of this section, the Council shall   responsibilities under section 106 and
finding and provide them with the            review the finding and provide the             this part. If the agency official will not
documentation specified in § 800.11(e).      agency official and, if the Council            conduct the undertaking as proposed in
The SHPO/THPO shall have 30 days             determines the issue warrants it, the          the finding, the agency official shall
from receipt to review the finding.          head of the agency with its opinion as to      reopen consultation under paragraph (a)
                                             whether the adverse effect criteria have       of this section.
           Case 1:21-cv-00119-RDM                  Document 55-3               Filed 06/22/21         Page 7 of 129
                                                                                                                                    


    (2) Adverse effect. If an adverse        in a memorandum of agreement to                effects will be resolved, they shall
effect is found, the agency official shall   participate as a consulting party.             execute a memorandum of agreement.
consult further to resolve the adverse           (3) Provide documentation. The             The agency official must submit a copy
effect pursuant to § 800.6.                  agency official shall provide to all           of the executed memorandum of
                                             consulting parties the documentation           agreement, along with the
§ 800.6 Resolution of adverse effects.       specified in § 800.11(e), subject to the       documentation specified in § 800.11(f),
    (a) Continue consultation. The           confidentiality provisions of § 800.11(c),     to the Council prior to approving the
agency official shall consult with the       and such other documentation as may            undertaking in order to meet the
SHPO/THPO and other consulting               be developed during the consultation to        requirements of section 106 and this
parties, including Indian tribes and         resolve adverse effects.                       subpart.
Native Hawaiian organizations, to                (4) Involve the public. The agency              (v) If the agency official, and the
develop and evaluate alternatives or         official shall make information available      SHPO/THPO fail to agree on the terms
modifications to the undertaking that        to the public, including the                   of a memorandum of agreement, the
could avoid, minimize or mitigate            documentation specified in § 800.11(e),        agency official shall request the Council
adverse effects on historic properties.      subject to the confidentiality provisions      to join the consultation and provide the
    (1) Notify the Council and determine     of § 800.11(c). The agency official shall      Council with the documentation set
Council participation. The agency            provide an opportunity for members of          forth in § 800.11(g). If the Council
official shall notify the Council of the     the public to express their views on           decides to join the consultation, the
adverse effect finding by providing the      resolving adverse effects of the               agency official shall proceed in
documentation specified in § 800.11(e).      undertaking. The agency official should        accordance with paragraph (b)(2) of this
    (i) The notice shall invite the          use appropriate mechanisms, taking into        section. If the Council decides not to
Council to participate in the                account the magnitude of the                   join the consultation, the Council will
consultation when:                           undertaking and the nature of its effects      notify the agency and proceed to
    (A) The agency official wants the        upon historic properties, the likely           comment in accordance with § 800.7(c).
Council to participate;                      effects on historic properties, and the             (2) Resolution with Council
    (B) The undertaking has an adverse       relationship of the Federal involvement        participation. If the Council decides to
effect upon a National Historic              to the undertaking to ensure that the          participate in the consultation, the
Landmark; or                                 public's views are considered in the           agency official shall consult with the
    (C) A programmatic agreement             consultation. The agency official              SHPO/THPO, the Council, and other
under § 800.14(b) will be prepared;          should also consider the extent of notice      consulting parties, including Indian
    (ii) The SHPO/THPO, an Indian tribe      and information concerning historic            tribes and Native Hawaiian
or Native Hawaiian organization, or any      preservation issues afforded the public        organizations under § 800.2(c)(3), to
other consulting party may at any time       at earlier steps in the section 106            seek ways to avoid, minimize or
independently request the Council to         process to determine the appropriate           mitigate the adverse effects. If the
participate in the consultation.             level of public involvement when               agency official, the SHPO/THPO, and
    (iii) The Council shall advise the       resolving adverse effects so that the          the Council agree on how the adverse
agency official and all consulting parties   standards of § 800.2(d) are met.               effects will be resolved, they shall
whether it will participate within 15            (5) Restrictions on disclosure of          execute a memorandum of agreement.
days of receipt of notice or other           information. Section 304 of the act and             (c) Memorandum of agreement. A
request. Prior to entering the process,      other authorities may limit the                memorandum of agreement executed
the Council shall provide written notice     disclosure of information under                and implemented pursuant to this
to the agency official and the consulting    paragraphs (a)(3) and (a)(4) of this           section evidences the agency official's
parties that its decision to participate     section. If an Indian tribe or Native          compliance with section 106 and this
meets the criteria set forth in appendix     Hawaiian organization objects to the           part and shall govern the undertaking
A to this part. The Council shall also       disclosure of information or if the            and all of its parts. The agency official
advise the head of the agency of its         agency official believes that there are        shall ensure that the undertaking is
decision to enter the process.               other reasons to withhold information,         carried out in accordance with the
Consultation with Council participation      the agency official shall comply with §        memorandum of agreement.
is conducted in accordance with              800.11(c) regarding the disclosure of               (1) Signatories. The signatories have
paragraph (b)(2) of this section.            such information.                              sole authority to execute, amend or
    (iv) If the Council does not join the        (b) Resolve adverse effects.               terminate the agreement in accordance
consultation, the agency official shall          (1) Resolution without the Council.        with this subpart.
proceed with consultation in                     (i) The agency official shall consult           (i) The agency official and the
accordance with paragraph (b)(1) of this     with the SHPO/THPO and other                   SHPO/THPO are the signatories to a
section.                                     consulting parties to seek ways to avoid,      memorandum of agreement executed
    (2) Involve consulting parties. In       minimize or mitigate the adverse effects.      pursuant to paragraph (b)(1) of this
addition to the consulting parties               (ii) The agency official may use           section.
identified under § 800.3(f), the agency      standard treatments established by the              (ii) The agency official, the
official, the SHPO/THPO and the              Council under § 800.14(d) as a basis for       SHPO/THPO, and the Council are the
Council, if participating, may agree to      a memorandum of agreement.                     signatories to a memorandum of
invite other individuals or organizations        (iii) If the Council decides to join the   agreement executed pursuant to
to become consulting parties. The            consultation, the agency official shall        paragraph (b)(2) of this section.
agency official shall invite any             follow paragraph (b)(2) of this section.            (iii) The agency official and the
individual or organization that will             (iv) If the agency official and the        Council are signatories to a
assume a specific role or responsibility     SHPO/THPO agree on how the adverse
           Case 1:21-cv-00119-RDM                   Document 55-3             Filed 06/22/21        Page 8 of 129
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memorandum of agreement executed              shall consult to seek amendment of the      agency official when it executes the
pursuant to § 800.7(a)(2).                    agreement. If the agreement is not          memorandum of agreement.
    (2) Invited signatories.                  amended, any signatory may terminate            (c) Comments by the Council.
    (i) The agency official may invite        it. The agency official shall either            (1) Preparation. The Council shall
additional parties to be signatories to a     execute a memorandum of agreement           provide an opportunity for the agency
memorandum of agreement. Any such             with signatories under paragraph (c)(1)     official, all consulting parties, and the
party that signs the memorandum of            of this section or request the comments     public to provide their views within the
agreement shall have the same rights          of the Council under § 800.7(a).            time frame for developing its comments.
with regard to seeking amendment or               (9) Copies. The agency official shall   Upon request of the Council, the agency
termination of the memorandum of              provide each consulting party with a        official shall provide additional existing
agreement as other signatories.               copy of any memorandum of agreement         information concerning the undertaking
    (ii) The agency official may invite an    executed pursuant to this subpart.          and assist the Council in arranging an
Indian tribe or Native Hawaiian                                                           onsite inspection and an opportunity for
organization that attaches religious and      § 800.7 Failure to resolve adverse          public participation.
cultural significance to historic             effects.                                        (2) Timing. The Council shall
properties located off tribal lands to be a       (a) Termination of consultation.        transmit its comments within 45 days of
signatory to a memorandum of                  After consulting to resolve adverse         receipt of a request under paragraph
agreement concerning such properties.         effects pursuant to § 800.6(b)(2), the      (a)(1) or (a)(3) of this section or §
    (iii) The agency official should          agency official, the SHPO/THPO, or the      800.8(c)(3), or termination by the
invite any party that assumes a               Council may determine that further          Council under § 800.6(b)(1)(v) or
responsibility under a memorandum of          consultation will not be productive and     paragraph (a)(4) of this section, unless
agreement to be a signatory.                  terminate consultation. Any party that      otherwise agreed to by the agency
    (iv) The refusal of any party invited     terminates consultation shall notify the    official.
to become a signatory to a memorandum         other consulting parties and provide            (3) Transmittal. The Council shall
of agreement pursuant to paragraph            them the reasons for terminating in         provide its comments to the head of the
(c)(2) of this section does not invalidate    writing.                                    agency requesting comment with copies
the memorandum of agreement.                      (1) If the agency official terminates   to the agency official, the agency's
    (3) Concurrence by others. The            consultation, the head of the agency or     Federal preservation officer, all
agency official may invite all consulting     an Assistant Secretary or other officer     consulting parties, and others as
parties to concur in the memorandum of        with major department-wide or agency-       appropriate.
agreement. The signatories may agree to       wide responsibilities shall request that        (4) Response to Council comment.
invite others to concur. The refusal of       the Council comment pursuant to             The head of the agency shall take into
any party invited to concur in the            paragraph (c) of this section and shall     account the Council's comments in
memorandum of agreement does not              notify all consulting parties of the        reaching a final decision on the
invalidate the memorandum of                  request.                                    undertaking. Section 110(l) of the act
agreement.                                        (2) If the SHPO terminates              directs that the head of the agency shall
    (4) Reports on implementation.            consultation, the agency official and the   document this decision and may not
Where the signatories agree it is             Council may execute a memorandum of         delegate his or her responsibilities
appropriate, a memorandum of                  agreement without the SHPO’s                pursuant to section 106. Documenting
agreement shall include a provision for       involvement.                                the agency head's decision shall
monitoring and reporting on its                   (3) If a THPO terminates                include:
implementation.                               consultation regarding an undertaking           (i) Preparing a summary of the
    (5) Duration. A memorandum of             occurring on or affecting historic          decision that contains the rationale for
agreement shall include provisions for        properties on its tribal lands, the         the decision and evidence of
termination and for reconsideration of        Council shall comment pursuant to           consideration of the Council's comments
terms if the undertaking has not been         paragraph (c) of this section.              and providing it to the Council prior to
implemented within a specified time.              (4) If the Council terminates           approval of the undertaking;
    (6) Discoveries. Where the                consultation, the Council shall notify          (ii) Providing a copy of the summary
signatories agree it is appropriate, a        the agency official, the agency’s Federal   to all consulting parties; and
memorandum of agreement shall                 preservation officer and all consulting         (iii) Notifying the public and making
include provisions to deal with the           parties of the termination and comment      the record available for public
subsequent discovery or identification        under paragraph (c) of this section. The    inspection.
of additional historic properties affected    Council may consult with the agency’s
by the undertaking.                           Federal preservation officer prior to       § 800.8 Coordination With the
    (7) Amendments. The signatories to        terminating consultation to seek to         National Environmental Policy Act.
a memorandum of agreement may                 resolve issues concerning the                   (a) General principles.
amend it. If the Council was not a            undertaking and its effects on historic         (1) Early coordination. Federal
signatory to the original agreement and       properties.                                 agencies are encouraged to coordinate
the signatories execute an amended                (b) Comments without termination.       compliance with section 106 and the
agreement, the agency official shall file     The Council may determine that it is        procedures in this part with any steps
it with the Council.                          appropriate to provide additional           taken to meet the requirements of the
    (8) Termination. If any signatory         advisory comments upon an                   National Environmental Policy Act
determines that the terms of a                undertaking for which a memorandum          (NEPA). Agencies should consider their
memorandum of agreement cannot be or          of agreement will be executed. The          section 106 responsibilities as early as
are not being carried out, the signatories    Council shall provide them to the           possible in the NEPA process, and plan
           Case 1:21-cv-00119-RDM                  Document 55-3              Filed 06/22/21          Page 9 of 129
                                                                                                                                      


their public participation, analysis, and         (i) Identify consulting parties either        (3) Resolution of objections. Within
review in such a way that they can meet      pursuant to § 800.3(f) or through the         30 days of the agency official's referral
the purposes and requirements of both        NEPA scoping process with results             of an objection under paragraph
statutes in a timely and efficient           consistent with § 800.3(f);                   (c)(2)(ii) of this section, the Council
manner. The determination of whether              (ii) Identify historic properties and    shall review the objection and notify the
an undertaking is a “major Federal           assess the effects of the undertaking on      agency as to its opinion on the
action significantly affecting the quality   such properties in a manner consistent        objection.
of the human environment,” and               with the standards and criteria of §§              (i) If the Council agrees with the
therefore requires preparation of an         800.4 through 800.5, provided that the        objection:
environmental impact statement (EIS)         scope and timing of these steps may be             (A) The Council shall provide the
under NEPA, should include                   phased to reflect the agency official's       agency official and, if the Council
consideration of the undertaking's likely    consideration of project alternatives in      determines the issue warrants it, the
effects on historic properties. A finding    the NEPA process and the effort is            head of the agency with the Council's
of adverse effect on a historic property     commensurate with the assessment of           opinion regarding the objection. A
does not necessarily require an EIS          other environmental factors;                  Council decision to provide its opinion
under NEPA.                                       (iii) Consult regarding the effects of   to the head of an agency shall be guided
    (2) Consulting party roles.              the undertaking on historic properties        by the criteria in appendix A to this
SHPO/THPOs, Indian tribes and Native         with the SHPO/THPO, Indian tribes and         part. The person to whom the Council
Hawaiian organizations, other                Native Hawaiian organizations that            addresses its opinion (the agency official
consulting parties, and organizations        might attach religious and cultural           or the head of the agency) shall take into
and individuals who may be concerned         significance to affected historic             account the Council's opinion in
with the possible effects of an agency       properties, other consulting parties, and     reaching a final decision on the issue of
action on historic properties should be      the Council, where appropriate, during        the objection.
prepared to consult with agencies early      NEPA scoping, environmental analysis,              (B) The person to whom the Council
in the NEPA process, when the purpose        and the preparation of NEPA                   addresses its opinion (the agency official
of and need for the proposed action as       documents;                                    or the head of the agency) shall prepare
well as the widest possible range of              (iv) Involve the public in               a summary of the decision that contains
alternatives are under consideration.        accordance with the agency's published        the rationale for the decision and
    (3) Inclusion of historic preservation   NEPA procedures; and                          evidence of consideration of the
issues. Agency officials should ensure            (v) Develop in consultation with         Council's opinion, and provide it to the
that preparation of an environmental         identified consulting parties alternatives    Council. The head of the agency may
assessment (EA) and finding of no            and proposed measures that might              delegate his or her duties under this
significant impact (FONSI) or an EIS         avoid, minimize or mitigate any adverse       paragraph to the agency's senior Policy
and record of decision (ROD) includes        effects of the undertaking on historic        Official. If the agency official's initial
appropriate scoping, identification of       properties and describe them in the EA        decision regarding the matter that is the
historic properties, assessment of effects   or DEIS.                                      subject of the objection will be revised,
upon them, and consultation leading to            (2) Review of environmental              the agency official shall proceed in
resolution of any adverse effects.           documents.                                    accordance with the revised decision. If
    (b) Actions categorically excluded            (i) The agency official shall submit     the final decision of the agency is to
under NEPA. If a project, activity or        the EA, DEIS or EIS to the SHPO/THPO,         affirm the initial agency decision, once
program is categorically excluded from       Indian tribes and Native Hawaiian             the summary of the final decision has
NEPA review under an agency's NEPA           organizations that might attach religious     been sent to the Council, the agency
procedures, the agency official shall        and cultural significance to affected         official shall continue its compliance
determine if it still qualifies as an        historic properties, and other consulting     with this section.
undertaking requiring review under           parties prior to or when making the                (ii) If the Council disagrees with the
section 106 pursuant to § 800.3(a). If so,   document available for public comment.        objection, the Council shall so notify the
the agency official shall proceed with       If the document being prepared is a           agency official, in which case the
section 106 review in accordance with        DEIS or EIS, the agency official shall        agency official shall continue its
the procedures in this subpart.              also submit it to the Council.                compliance with this section.
    (c) Use of the NEPA process for               (ii) Prior to or within the time              (iii) If the Council fails to respond to
section 106 purposes. An agency official     allowed for public comment on the             the objection within the 30 day period,
may use the process and documentation        document, a SHPO/THPO, an Indian              the agency official shall continue its
required for the preparation of an           tribe or Native Hawaiian organization,        compliance with this section.
EA/FONSI or an EIS/ROD to comply             another consulting party or the Council            (4) Approval of the undertaking. If
with section 106 in lieu of the              may object to the agency official that        the agency official has found, during the
procedures set forth in §§ 800.3 through     preparation of the EA, DEIS or EIS has        preparation of an EA or EIS that the
800.6 if the agency official has notified    not met the standards set forth in            effects of an undertaking on historic
in advance the SHPO/THPO and the             paragraph (c)(1) of this section or that      properties are adverse, the agency
Council that it intends to do so and the     the substantive resolution of the effects     official shall develop measures in the
following standards are met.                 on historic properties proposed in an         EA, DEIS, or EIS to avoid, minimize, or
    (1) Standards for developing             EA, DEIS or EIS is inadequate. If the         mitigate such effects in accordance with
environmental documents to comply with       agency official receives such an              paragraph (c)(1)(v) of this section. The
Section 106. During preparation of the       objection, the agency official shall refer    agency official's responsibilities under
EA or draft EIS (DEIS) the agency            the matter to the Council.                    section 106 and the procedures in this
official shall:
          Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21          Page 10 of 129
                                                                                                                                  


subpart shall then be satisfied when         agency official and the head of the          the Council, determines to grant the
either:                                      agency. The Council shall also make the      assistance, the agency official shall
     (i) a binding commitment to such        determination available to the public        comply with §§ 800.3 through 800.6 to
proposed measures is incorporated in         and any parties known to be interested       take into account the effects of the
     (A) the ROD, if such measures were      in the undertaking and its effects upon      undertaking on any historic properties.
proposed in a DEIS or EIS; or                historic properties.                             (d) Evaluation of Section 106
     (B) an MOA drafted in compliance            (c) Intentional adverse effects by       operations. The Council may evaluate
with § 800.6(c); or                          applicants.                                  the operation of the section 106 process
     (ii) the Council has commented              (1) Agency responsibility. Section       by periodic reviews of how participants
under § 800.7 and received the agency's      110(k) of the act prohibits a Federal        have fulfilled their legal responsibilities
response to such comments.                   agency from granting a loan, loan            and how effectively the outcomes
     (5) Modification of the undertaking.    guarantee, permit, license or other          reached advance the purposes of the act.
If the undertaking is modified after         assistance to an applicant who, with             (1) Information from participants.
approval of the FONSI or the ROD in a        intent to avoid the requirements of          Section 203 of the act authorizes the
manner that changes the undertaking or       section 106, has intentionally               Council to obtain information from
alters its effects on historic properties,   significantly adversely affected a           Federal agencies necessary to conduct
or if the agency official fails to ensure    historic property to which the grant         evaluation of the section 106 process.
that the measures to avoid, minimize or      would relate, or having legal power to       The agency official shall make
mitigate adverse effects (as specified in    prevent it, has allowed such significant     documentation of agency policies,
either the FONSI or the ROD, or in the       adverse effect to occur, unless the          operating procedures and actions taken
binding commitment adopted pursuant          agency, after consultation with the          to comply with section 106 available to
to paragraph (c)(4) of this section) are     Council, determines that circumstances       the Council upon request. The Council
carried out, the agency official shall       justify granting such assistance despite     may request available information and
notify the Council and all consulting        the adverse effect created or permitted      documentation from other participants
parties that supplemental                    by the applicant. Guidance issued by         in the section 106 process.
environmental documents will be              the Secretary pursuant to section 110 of         (2) Improving the operation of section
prepared in compliance with NEPA or          the act governs its implementation.          106. Based upon any evaluation of the
that the procedures in §§ 800.3 through          (2) Consultation with the Council.       section 106 process, the Council may
800.6 will be followed as necessary.         When an agency official determines,          make recommendations to participants,
                                             based on the actions of an applicant,        the heads of Federal agencies, and the
§ 800.9 Council review of section 106        that section 110(k) is applicable and that   Secretary of actions to improve the
compliance.                                  circumstances may justify granting the       efficiency and effectiveness of the
    (a) Assessment of agency official        assistance, the agency official shall        process. Where the Council determines
compliance for individual undertakings.      notify the Council and provide               that an agency official or a SHPO/THPO
The Council may provide to the agency        documentation specifying the                 has failed to properly carry out the
official its advisory opinion regarding      circumstances under which the adverse        responsibilities assigned under the
the substance of any finding,                effects to the historic property occurred    process in this part, the Council may
determination or decision or regarding       and the degree of damage to the              participate in individual case reviews
the adequacy of the agency official's        integrity of the property. This              conducted under such process in
compliance with the procedures under         documentation shall include any views        addition to the SHPO/THPO for such
this part. The Council may provide           obtained from the applicant,                 period that it determines is necessary to
such advice at any time at the request of    SHPO/THPO, an Indian tribe if the            improve performance or correct
any individual, agency or organization       undertaking occurs on or affects historic    deficiencies. If the Council finds a
or on its own initiative. The agency         properties on tribal lands, and other        pattern of failure by a Federal agency in
official shall consider the views of the     parties known to be interested in the        carrying out its responsibilities under
Council in reaching a decision on the        undertaking.                                 section 106, the Council may review the
matter in question.                              (i) Within thirty days of receiving      policies and programs of the agency
    (b) Agency foreclosure of the            the agency official's notification, unless   related to historic preservation pursuant
Council's opportunity to comment.            otherwise agreed to by the agency            to section 202(a)(6) of the act and
Where an agency official has failed to       official, the Council shall provide the      recommend methods to improve the
complete the requirements of section         agency official with its opinion as to       effectiveness, coordination, and
106 in accordance with the procedures        whether circumstances justify granting       consistency of those policies and
in this part prior to the approval of an     assistance to the applicant and any          programs with section 106.
undertaking, the Council's opportunity       possible mitigation of the adverse
to comment may be foreclosed. The            effects.                                     § 800.10 Special requirements for
Council may review a case to determine           (ii) The agency official shall           protecting National Historic
whether a foreclosure has occurred.          consider the Council's opinion in            Landmarks.
The Council shall notify the agency          making a decision on whether to grant            (a) Statutory requirement. Section
official and the agency's Federal            assistance to the applicant, and shall       110(f) of the act requires that the agency
preservation officer and allow 30 days       notify the Council, the SHPO/THPO,           official, to the maximum extent
for the agency official to provide           and other parties known to be interested     possible, undertake such planning and
information as to whether foreclosure        in the undertaking prior to granting the     actions as may be necessary to minimize
has occurred. If the Council determines      assistance.                                  harm to any National Historic Landmark
foreclosure has occurred, the Council            (3) Compliance with Section 106. If      that may be directly and adversely
shall transmit the determination to the      an agency official, after consulting with    affected by an undertaking. When
          Case 1:21-cv-00119-RDM                  Document 55-3              Filed 06/22/21         Page 11 of 129
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commenting on such undertakings, the         requirements of the procedures in this             (3) The basis for determining that no
Council shall use the process set forth in   subpart, if that documentation meets the      historic properties are present or
§§ 800.6 through 800.7 and give special      standards of this section.                    affected.
consideration to protecting National              (c) Confidentiality.                          (e) Finding of no adverse effect or
Historic Landmarks as specified in this           (1) Authority to withhold information.   adverse effect. Documentation shall
section.                                     Section 304 of the act provides that the      include:
    (b) Resolution of adverse effects. The   head of a Federal agency or other public           (1) A description of the undertaking,
agency official shall request the Council    official receiving grant assistance           specifying the Federal involvement, and
to participate in any consultation to        pursuant to the act, after consultation       its area of potential effects, including
resolve adverse effects on National          with the Secretary, shall withhold from       photographs, maps, and drawings, as
Historic Landmarks conducted under §         public disclosure information about the       necessary;
800.6.                                       location, character, or ownership of a             (2) A description of the steps taken
    (c) Involvement of the Secretary. The    historic property when disclosure may         to identify historic properties;
agency official shall notify the Secretary   cause a significant invasion of privacy;           (3) A description of the affected
of any consultation involving a National     risk harm to the historic property; or        historic properties, including
Historic Landmark and invite the             impede the use of a traditional religious     information on the characteristics that
Secretary to participate in the              site by practitioners. When the head of       qualify them for the National Register;
consultation where there may be an           a Federal agency or other public official          (4) A description of the
adverse effect. The Council may request      has determined that information should        undertaking's effects on historic
a report from the Secretary under            be withheld from the public pursuant to       properties;
section 213 of the act to assist in the      these criteria, the Secretary, in                  (5) An explanation of why the
consultation.                                consultation with such Federal agency         criteria of adverse effect were found
    (d) Report of outcome. When the          head or official, shall determine who         applicable or inapplicable, including
Council participates in consultation         may have access to the information for        any conditions or future actions to
under this section, it shall report the      the purposes of carrying out the act.         avoid, minimize or mitigate adverse
outcome of the section 106 process,               (2) Consultation with the Council.       effects; and
providing its written comments or any        When the information in question has               (6) Copies or summaries of any
memoranda of agreement to which it is        been developed in the course of an            views provided by consulting parties
a signatory, to the Secretary and the        agency's compliance with this part, the       and the public.
head of the agency responsible for the       Secretary shall consult with the Council           (f) Memorandum of agreement.
undertaking.                                 in reaching determinations on the             When a memorandum of agreement is
                                             withholding and release of information.       filed with the Council, the
§ 800.11 Documentation standards.            The Federal agency shall provide the          documentation shall include, any
    (a) Adequacy of documentation. The       Council with available information,           substantive revisions or additions to the
agency official shall ensure that a          including views of the SHPO/THPO,             documentation provided the Council
determination, finding, or agreement         Indian tribes and Native Hawaiian             pursuant to § 800.6(a)(1), an evaluation
under the procedures in this subpart is      organizations, related to the                 of any measures considered to avoid or
supported by sufficient documentation        confidentiality concern. The Council          minimize the undertaking's adverse
to enable any reviewing parties to           shall advise the Secretary and the            effects and a summary of the views of
understand its basis. The agency             Federal agency within 30 days of receipt      consulting parties and the public.
official shall provide such                  of adequate documentation.                         (g) Requests for comment without a
documentation to the extent permitted             (3) Other authorities affecting          memorandum of agreement.
by law and within available funds.           confidentiality. Other Federal laws and       Documentation shall include:
When an agency official is conducting        program requirements may limit public              (1) A description and evaluation of
phased identification or evaluation          access to information concerning an           any alternatives or mitigation measures
under this subpart, the documentation        undertaking and its effects on historic       that the agency official proposes to
standards regarding description of           properties. Where applicable, those           resolve the undertaking's adverse
historic properties may be applied           authorities shall govern public access to     effects;
flexibly. If the Council, or the             information developed in the section               (2) A description of any reasonable
SHPO/THPO when the Council is not            106 process and may authorize the             alternatives or mitigation measures that
involved, determines the applicable          agency official to protect the privacy of     were considered but not chosen, and the
documentation standards are not met,         non-governmental applicants.                  reasons for their rejection;
the Council or the SHPO/THPO, as                  (d) Finding of no historic properties         (3) Copies or summaries of any
appropriate, shall notify the agency         affected. Documentation shall include:        views submitted to the agency official
official and specify the information              (1) A description of the undertaking,    concerning the adverse effects of the
needed to meet the standard. At the          specifying the Federal involvement, and       undertaking on historic properties and
request of the agency official or any of     its area of potential effects, including      alternatives to reduce or avoid those
the consulting parties, the Council shall    photographs, maps, drawings, as               effects; and
review any disputes over whether             necessary;                                         (4) Any substantive revisions or
documentation standards are met and               (2) A description of the steps taken     additions to the documentation
provide its views to the agency official     to identify historic properties,              provided the Council pursuant to §
and the consulting parties.                  including, as appropriate, efforts to seek    800.6(a)(1).
    (b) Format. The agency official may      information pursuant to § 800.4(b); and
use documentation prepared to comply                                                       § 800.12 Emergency situations.
with other laws to fulfill the
          Case 1:21-cv-00119-RDM                   Document 55-3             Filed 06/22/21          Page 12 of 129
                                                                                                                                   


     (a) Agency procedures. The agency            (d) Applicability. This section          Archeological and Historic Preservation
official, in consultation with the            applies only to undertakings that will be    Act instead of the procedures in this
appropriate SHPOs/THPOs, affected             implemented within 30 days after the         part and provide the Council, the
Indian tribes and Native Hawaiian             disaster or emergency has been formally      SHPO/THPO, and the Indian tribe or
organizations, and the Council, is            declared by the appropriate authority.       Native Hawaiian organization with a
encouraged to develop procedures for          An agency may request an extension of        report on the actions within a
taking historic properties into account       the period of applicability from the         reasonable time after they are
during operations which respond to a          Council prior to the expiration of the 30    completed; or
disaster or emergency declared by the         days. Immediate rescue and salvage               (3) If the agency official has
President, a tribal government, or the        operations conducted to preserve life or     approved the undertaking and
Governor of a State or which respond to       property are exempt from the provisions      construction has commenced, determine
other immediate threats to life or            of section 106 and this part.                actions that the agency official can take
property. If approved by the Council,                                                      to resolve adverse effects, and notify the
the procedures shall govern the agency's      § 800.13 Post-review discoveries.            SHPO/THPO, any Indian tribe or Native
historic preservation responsibilities            (a) Planning for subsequent              Hawaiian organization that might attach
during any disaster or emergency in lieu      discoveries.                                 religious and cultural significance to the
of §§ 800.3 through 800.6.                        (1) Using a programmatic agreement.      affected property, and the Council
     (b) Alternatives to agency procedures.   An agency official may develop a             within 48 hours of the discovery. The
In the event an agency official proposes      programmatic agreement pursuant to §         notification shall describe the agency
an emergency undertaking as an                800.14(b) to govern the actions to be        official's assessment of National Register
essential and immediate response to a         taken when historic properties are           eligibility of the property and proposed
disaster or emergency declared by the         discovered during the implementation         actions to resolve the adverse effects.
President, a tribal government, or the        of an undertaking.                           The SHPO/THPO, the Indian tribe or
Governor of a State or another                    (2) Using agreement documents.           Native Hawaiian organization and the
immediate threat to life or property, and     When the agency official's identification    Council shall respond within 48 hours
the agency has not developed                  efforts in accordance with § 800.4           of the notification. The agency official
procedures pursuant to paragraph (a) of       indicate that historic properties are        shall take into account their
this section, the agency official may         likely to be discovered during               recommendations regarding National
comply with section 106 by:                   implementation of an undertaking and         Register eligibility and proposed
     (1) Following a programmatic             no programmatic agreement has been           actions, and then carry out appropriate
agreement developed pursuant to §             developed pursuant to paragraph (a)(1)       actions. The agency official shall
800.14(b) that contains specific              of this section, the agency official shall   provide the SHPO/THPO, the Indian
provisions for dealing with historic          include in any finding of no adverse         tribe or Native Hawaiian organization
properties in emergency situations; or        effect or memorandum of agreement a          and the Council a report of the actions
     (2) Notifying the Council, the           process to resolve any adverse effects       when they are completed.
appropriate SHPO/THPO and any                 upon such properties. Actions in                 (c) Eligibility of properties. The
Indian tribe or Native Hawaiian               conformance with the process satisfy         agency official, in consultation with the
organization that may attach religious        the agency official's responsibilities       SHPO/THPO, may assume a newly-
and cultural significance to historic         under section 106 and this part.             discovered property to be eligible for the
properties likely to be affected prior to         (b) Discoveries without prior            National Register for purposes of section
the undertaking and affording them an         planning. If historic properties are         106. The agency official shall specify
opportunity to comment within seven           discovered or unanticipated effects on       the National Register criteria used to
days of notification. If the agency           historic properties found after the          assume the property's eligibility so that
official determines that circumstances        agency official has completed the            information can be used in the
do not permit seven days for comment,         section 106 process without establishing     resolution of adverse effects.
the agency official shall notify the          a process under paragraph (a) of this            (d) Discoveries on tribal lands. If
Council, the SHPO/THPO and the                section, the agency official shall make      historic properties are discovered on
Indian tribe or Native Hawaiian               reasonable efforts to avoid, minimize or     tribal lands, or there are unanticipated
organization and invite any comments          mitigate adverse effects to such             effects on historic properties found on
within the time available.                    properties and:                              tribal lands, after the agency official has
     (c) Local governments responsible for        (1) If the agency official has not       completed the section 106 process
section 106 compliance. When a local          approved the undertaking or if               without establishing a process under
government official serves as the agency      construction on an approved                  paragraph (a) of this section and
official for section 106 compliance,          undertaking has not commenced,               construction has commenced, the
paragraphs (a) and (b) of this section        consult to resolve adverse effects           agency official shall comply with
also apply to an imminent threat to           pursuant to § 800.6; or                      applicable tribal regulations and
public health or safety as a result of a          (2) If the agency official, the          procedures and obtain the concurrence
natural disaster or emergency declared        SHPO/THPO and any Indian tribe or            of the Indian tribe on the proposed
by a local government's chief executive       Native Hawaiian organization that might      action.
officer or legislative body, provided that    attach religious and cultural
if the Council or SHPO/THPO objects to        significance to the affected property        Subpart C-Program Alternatives
the proposed action within seven days,        agree that such property is of value
the agency official shall comply with §§      solely for its scientific, prehistoric,      § 800.14 Federal agency program
800.3 through 800.6.                          historic or archeological data, the          alternatives.
                                              agency official may comply with the
          Case 1:21-cv-00119-RDM                   Document 55-3              Filed 06/22/21          Page 13 of 129
                                                                                                                                    


    (a) Alternate procedures. An agency            (1) Use of programmatic agreements.      it expires or is terminated by the agency,
official may develop procedures to            A programmatic agreement may be               the president of NCSHPO when a
implement section 106 and substitute          used:                                         signatory, or the Council. Termination
them for all or part of subpart B of this          (i) When effects on historic             by an individual SHPO/THPO shall only
part if they are consistent with the          properties are similar and repetitive or      terminate the application of a regional
Council's regulations pursuant to             are multi-State or regional in scope;         programmatic agreement within the
section 110(a)(2)(E) of the act.                   (ii) When effects on historic            jurisdiction of the SHPO/THPO. If a
    (1) Development of procedures. The        properties cannot be fully determined         THPO assumes the responsibilities of a
agency official shall consult with the        prior to approval of an undertaking;          SHPO pursuant to section 101(d)(2) of
Council, the National Conference of                (iii) When nonfederal parties are        the act and the SHPO is signatory to
State Historic Preservation Officers or       delegated major decisionmaking                programmatic agreement, the THPO
individual SHPO/THPOs, as                     responsibilities;                             assumes the role of a signatory,
appropriate, and Indian tribes and                 (iv) Where routine management            including the right to terminate a
Native Hawaiian organizations, as             activities are undertaken at Federal          regional programmatic agreement on
specified in paragraph (f) of this section,   installations, facilities, or other land-     lands under the jurisdiction of the tribe.
in the development of alternate               management units; or                               (iv) Notice. The agency official shall
procedures, publish notice of the                  (v) Where other circumstances            notify the parties with which it has
availability of proposed alternate            warrant a departure from the normal           consulted that a programmatic
procedures in the Federal Register and        section 106 process.                          agreement has been executed under
take other appropriate steps to seek               (2) Developing programmatic              paragraph (b) of this section, provide
public input during the development of        agreements for agency programs.               appropriate public notice before it takes
alternate procedures.                              (i) The consultation shall involve, as   effect, and make any internal agency
    (2) Council review. The agency            appropriate, SHPO/THPOs, the National         procedures implementing the agreement
official shall submit the proposed            Conference of State Historic                  readily available to the Council,
alternate procedures to the Council for a     Preservation Officers (NCSHPO), Indian        SHPO/THPOs, and the public.
60-day review period. If the Council          tribes and Native Hawaiian                         (v) If the Council determines that
finds the procedures to be consistent         organizations, other Federal agencies,        the terms of a programmatic agreement
with this part, it shall notify the agency    and members of the public. If the             are not being carried out, or if such an
official and the agency official may          programmatic agreement has the                agreement is terminated, the agency
adopt them as final alternate                 potential to affect historic properties on    official shall comply with subpart B of
procedures.                                   tribal lands or historic properties of        this part with regard to individual
    (3) Notice. The agency official shall     religious and cultural significance to an     undertakings of the program covered by
notify the parties with which it has          Indian tribe or Native Hawaiian               the agreement.
consulted and publish notice of final         organization, the agency official shall            (3) Developing programmatic
alternate procedures in the Federal           also follow paragraph (f) of this section.    agreements for complex or multiple
Register.                                          (ii) Public Participation. The agency    undertakings. Consultation to develop a
    (4) Legal effect. Alternate               official shall arrange for public             programmatic agreement for dealing
procedures adopted pursuant to this           participation appropriate to the subject      with the potential adverse effects of
subpart substitute for the Council's          matter and the scope of the program and       complex projects or multiple
regulations for the purposes of the           in accordance with subpart A of this          undertakings shall follow § 800.6. If
agency's compliance with section 106,         part. The agency official shall consider      consultation pertains to an activity
except that where an Indian tribe has         the nature of the program and its likely      involving multiple undertakings and the
entered into an agreement with the            effects on historic properties and take       parties fail to reach agreement, then the
Council to substitute tribal historic         steps to involve the individuals,             agency official shall comply with the
preservation regulations for the              organizations and entities likely to be       provisions of subpart B of this part for
Council's regulations under section           interested.                                   each individual undertaking.
101(d)(5) of the act, the agency shall             (iii) Effect. The programmatic                (4) Prototype programmatic
follow those regulations in lieu of the       agreement shall take effect when              agreements. The Council may designate
agency's procedures regarding                 executed by the Council, the agency           an agreement document as a prototype
undertakings on tribal lands. Prior to        official and the appropriate                  programmatic agreement that may be
the Council entering into such                SHPOs/THPOs when the programmatic             used for the same type of program or
agreements, the Council will provide          agreement concerns a specific region or       undertaking in more than one case or
Federal agencies notice and opportunity       the president of NCSHPO when                  area. When an agency official uses such
to comment on the proposed substitute         NCSHPO has participated in the                a prototype programmatic agreement,
tribal regulations.                           consultation. A programmatic                  the agency official may develop and
    (b) Programmatic agreements. The          agreement shall take effect on tribal         execute the agreement with the
Council and the agency official may           lands only when the THPO, Indian              appropriate SHPO/THPO and the
negotiate a programmatic agreement to         tribe or a designated representative of       agreement shall become final without
govern the implementation of a                the tribe is a signatory to the agreement.    need for Council participation in
particular program or the resolution of       Compliance with the procedures                consultation or Council signature.
adverse effects from certain complex          established by an approved                         (c) Exempted categories.
project situations or multiple                programmatic agreement satisfies the               (1) Criteria for establishing. The
undertakings.                                 agency's section 106 responsibilities for     Council or an agency official may
                                              all individual undertakings of the            propose a program or category of
                                              program covered by the agreement until        undertakings that may be exempted
          Case 1:21-cv-00119-RDM                  Document 55-3              Filed 06/22/21         Page 14 of 129
                                                                                                                                 


from review under the provisions of          properties in accordance with section              (5) Termination. The Council may
subpart B of this part, if the program or    214 of the act.                               terminate a standard treatment by
category meets the following criteria:            (6) Legal consequences. Any              publication of a notice in the Federal
     (i) The actions within the program      undertaking that falls within an              Register 30 days before the termination
or category would otherwise qualify as       approved exempted program or category         takes effect.
"undertakings" as defined in § 800.16;       shall require no further review pursuant           (e) Program comments. An agency
     (ii) The potential effects of the       to subpart B of this part, unless the         official may request the Council to
undertakings within the program or           agency official or the Council                comment on a category of undertakings
category upon historic properties are        determines that there are circumstances       in lieu of conducting individual reviews
foreseeable and likely to be minimal or      under which the normally excluded             under §§ 800.4 through 800.6. The
not adverse; and                             undertaking should be reviewed under          Council may provide program
     (iii) Exemption of the program or       subpart B of this part.                       comments at its own initiative.
category is consistent with the purposes          (7) Termination. The Council may              (1) Agency request. The agency
of the act.                                  terminate an exemption at the request of      official shall identify the category of
     (2) Public participation. The           the agency official or when the Council       undertakings, specify the likely effects
proponent of the exemption shall             determines that the exemption no longer       on historic properties, specify the steps
arrange for public participation             meets the criteria of paragraph (c)(1) of     the agency official will take to ensure
appropriate to the subject matter and        this section. The Council shall notify        that the effects are taken into account,
the scope of the exemption and in            the agency official 30 days before            identify the time period for which the
accordance with the standards in             termination becomes effective.                comment is requested and summarize
subpart A of this part. The proponent of          (8) Notice. The proponent of the         any views submitted by the public.
the exemption shall consider the nature      exemption shall publish notice of any              (2) Public participation. The agency
of the exemption and its likely effects on   approved exemption in the Federal             official shall arrange for public
historic properties and take steps to        Register.                                     participation appropriate to the subject
involve individuals, organizations and            (d) Standard treatments.                 matter and the scope of the category and
entities likely to be interested.                 (1) Establishment. The Council, on       in accordance with the standards in
     (3) Consultation with SHPOs/THPOs.      its own initiative or at the request of       subpart A of this part. The agency
The proponent of the exemption shall         another party, may establish standard         official shall consider the nature of the
notify and consider the views of the         methods for the treatment of a category       undertakings and their likely effects on
SHPOs/THPOs on the exemption.                of historic properties, a category of         historic properties and the individuals,
    (4) Consultation with Indian tribes      undertakings, or a category of effects on     organizations and entities likely to be
and Native Hawaiian organizations. If        historic properties to assist Federal         interested.
the exempted program or category of          agencies in satisfying the requirements            (3) Consultation with SHPOs/THPOs.
undertakings has the potential to affect     of subpart B of this part. The Council        The Council shall notify and consider
historic properties on tribal lands or       shall publish notice of standard              the views of SHPOs/THPOs on the
historic properties of religious and         treatments in the Federal Register.           proposed program comment.
cultural significance to an Indian tribe          (2) Public participation. The                 (4) Consultation with Indian tribes
or Native Hawaiian organization, the         Council shall arrange for public              and Native Hawaiian organizations. If
Council shall follow the requirements        participation appropriate to the subject      the program comment has the potential
for the agency official set forth in         matter and the scope of the standard          to affect historic properties on tribal
paragraph (f) of this section.               treatment and consistent with subpart A       lands or historic properties of religious
    (5) Council review of proposed           of this part. The Council shall consider      and cultural significance to an Indian
exemptions. The Council shall review an      the nature of the standard treatment and      tribe or Native Hawaiian organization,
exemption proposal that is supported by      its likely effects on historic properties     the Council shall follow the
documentation describing the program         and the individuals, organizations and        requirements for the agency official set
or category for which the exemption is       entities likely to be interested. Where       forth in paragraph (f) of this section.
sought, demonstrating that the criteria      an agency official has proposed a                  (5) Council action. Unless the
of paragraph (c)(1) of this section have     standard treatment, the Council may           Council requests additional
been met, describing the methods used        request the agency official to arrange for    documentation, notifies the agency
to seek the views of the public, and         public involvement.                           official that it will decline to comment,
summarizing any views submitted by                (3) Consultation with SHPOs/THPOs.       or obtains the consent of the agency
the SHPO/THPOs, the public, and any          The Council shall notify and consider         official to extend the period for
others consulted. Unless it requests         the views of SHPOs/THPOs on the               providing comment, the Council shall
further information, the Council shall       proposed standard treatment.                  comment to the agency official within
approve or reject the proposed                    (4) Consultation with Indian tribes      45 days of the request.
exemption within 30 days of receipt,         and Native Hawaiian organizations. If              (i) If the Council comments, the
and thereafter notify the relevant agency    the proposed standard treatment has the       agency official shall take into account
official and SHPO/THPOs of the               potential to affect historic properties on    the comments of the Council in carrying
decision. The decision shall be based on     tribal lands or historic properties of        out the undertakings within the
the consistency of the exemption with        religious and cultural significance to an     category and publish notice in the
the purposes of the act, taking into         Indian tribe or Native Hawaiian               Federal Register of the Council's
consideration the magnitude of the           organization, the Council shall follow        comments and steps the agency will
exempted undertaking or program and          the requirements for the agency official      take to ensure that effects to historic
the likelihood of impairment of historic     set forth in paragraph (f) of this section.   properties are taken into account.
          Case 1:21-cv-00119-RDM                   Document 55-3              Filed 06/22/21          Page 15 of 129
                                                                                                                                    


    (ii) If the Council declines to           into account in reaching a final decision     been delegated responsibility for section
comment, the agency official shall            on the proposed program alternative.          106 compliance, the head of that unit of
continue to comply with the                                                                 government shall be considered the
requirements of §§ 800.3 through 800.6        § 800.15 Tribal, State, and local             head of the agency.
for the individual undertakings.              program alternatives. (Reserved)                   (l)(1) Historic property means any
    (6) Withdrawal of comment. If the                                                       prehistoric or historic district, site,
Council determines that the                   § 800.16 Definitions.                         building, structure, or object included
consideration of historic properties is           (a) Act means the National Historic       in, or eligible for inclusion in, the
not being carried out in a manner             Preservation Act of 1966, as amended,         National Register of Historic Places
consistent with the program comment,          16 U.S.C. 470-470w-6.                         maintained by the Secretary of the
the Council may withdraw the comment              (b) Agency means agency as defined        Interior. This term includes artifacts,
and the agency official shall comply          in 5 U.S.C. 551.                              records, and remains that are related to
with the requirements of §§ 800.3                 (c) Approval of the expenditure of        and located within such properties. The
through 800.6 for the individual              funds means any final agency decision         term includes properties of traditional
undertakings.                                 authorizing or permitting the                 religious and cultural importance to an
    (f) Consultation with Indian tribes       expenditure of Federal funds or               Indian tribe or Native Hawaiian
and Native Hawaiian organizations             financial assistance on an undertaking,       organization and that meet the National
when developing program alternatives.         including any agency decision that may        Register criteria.
Whenever an agency official proposes a        be subject to an administrative appeal.            (2) The term eligible for inclusion in
program alternative pursuant to                   (d) Area of potential effects means       the National Register includes both
paragraphs (a) through (e) of this            the geographic area or areas within           properties formally determined as such
section, the agency official shall ensure     which an undertaking may directly or          in accordance with regulations of the
that development of the program               indirectly cause alterations in the           Secretary of the Interior and all other
alternative includes appropriate              character or use of historic properties, if   properties that meet the National
government-to-government consultation         any such properties exist. The area of        Register criteria.
with affected Indian tribes and               potential effects is influenced by the             (m) Indian tribe means an Indian
consultation with affected Native             scale and nature of an undertaking and        tribe, band, nation, or other organized
Hawaiian organizations.                       may be different for different kinds of       group or community, including a native
    (1) Identifying affected Indian tribes    effects caused by the undertaking.            village, regional corporation or village
and Native Hawaiian organizations. If             (e) Comment means the findings and        corporation, as those terms are defined
any undertaking covered by a proposed         recommendations of the Council                in section 3 of the Alaska Native Claims
program alternative has the potential to      formally provided in writing to the head      Settlement Act (43 U.S.C. 1602), which
affect historic properties on tribal lands,   of a Federal agency under section 106.        is recognized as eligible for the special
the agency official shall identify and            (f) Consultation means the process of     programs and services provided by the
consult with the Indian tribes having         seeking, discussing, and considering the      United States to Indians because of their
jurisdiction over such lands. If a            views of other participants, and, where       status as Indians.
proposed program alternative has the          feasible, seeking agreement with them              (n) Local government means a city,
potential to affect historic properties of    regarding matters arising in the section      county, parish, township, municipality,
religious and cultural significance to an     106 process. The Secretary's “Standards       borough, or other general purpose
Indian tribe or a Native Hawaiian             and Guidelines for Federal Agency             political subdivision of a State.
organization which are located off tribal     Preservation Programs pursuant to the              (o) Memorandum of agreement
lands, the agency official shall identify     National Historic Preservation Act”           means the document that records the
those Indian tribes and Native Hawaiian       provide further guidance on                   terms and conditions agreed upon to
organizations that might attach religious     consultation.                                 resolve the adverse effects of an
and cultural significance to such                 (g) Council means the Advisory            undertaking upon historic properties.
properties and consult with them.             Council on Historic Preservation or a              (p) National Historic Landmark
When a proposed program alternative           Council member or employee                    means a historic property that the
has nationwide applicability, the agency      designated to act for the Council.            Secretary of the Interior has designated
official shall identify an appropriate            (h) Day or days means calendar            a National Historic Landmark.
government to government consultation         days.                                              (q) National Register means the
with Indian tribes and consult with               (i) Effect means alteration to the        National Register of Historic Places
Native Hawaiian organizations in              characteristics of a historic property        maintained by the Secretary of the
accordance with existing Executive            qualifying it for inclusion in or             Interior.
orders, Presidential memoranda and            eligibility for the National Register.             (r) National Register criteria means
applicable provisions of law.                     (j) Foreclosure means an action           the criteria established by the Secretary
    (2) Results of consultation. The          taken by an agency official that              of the Interior for use in evaluating the
agency official shall provide summaries       effectively precludes the Council from        eligibility of properties for the National
of the views, along with copies of any        providing comments which the agency           Register (36 CFR part 60).
written comments, provided by affected        official can meaningfully consider prior           (s)(1)Native Hawaiian organization
Indian tribes and Native Hawaiian             to the approval of the undertaking.           means any organization which serves
organizations to the Council as part of           (k) Head of the agency means the          and represents the interests of Native
the documentation for the proposed            chief official of the Federal agency          Hawaiians; has as a primary and stated
program alternative. The agency official      responsible for all aspects of the            purpose the provision of services to
and the Council shall take those views        agency's actions. If a State, local or        Native Hawaiians; and has
                                              tribal government has assumed or has          demonstrated expertise in aspects of
          Case 1:21-cv-00119-RDM                    Document 55-3              Filed 06/22/21        Page 16 of 129
                                                                                                                                 


historic preservation that are significant     the section 106 regulations to               authorities, such as the Native American
to Native Hawaiians.                           participate in an individual project         Graves Protection and Repatriation Act.
     (2) Native Hawaiian means any             pursuant to the following criteria.
individual who is a descendant of the          However, the Council will not always
aboriginal people who, prior to 1778,          elect to participate even though one or
occupied and exercised sovereignty in          more of the criteria may be met.
the area that now constitutes the State            (c) Specific criteria. The Council is
of Hawaii.                                     likely to enter the section 106 process at
     (t) Programmatic agreement means a        the steps specified in the regulations in
document that records the terms and            this part when an undertaking:
conditions agreed upon to resolve the              (1) Has substantial impacts on
potential adverse effects of a Federal         important historic properties. This may
agency program, complex undertaking            include adverse effects on properties
or other situations in accordance with §       that possess a national level of
800.14(b).                                     significance or on properties that are of
     (u) Secretary means the Secretary of      unusual or noteworthy importance or
the Interior acting through the Director       are a rare property type; or adverse
of the National Park Service except            effects to large numbers of historic
where otherwise specified.                     properties, such as impacts to multiple
     (v) State Historic Preservation Officer   properties within a historic district.
(SHPO) means the official appointed or             (2) Presents important questions of
designated pursuant to section 101(b)(1)       policy or interpretation. This may
of the act to administer the State             include questions about how the
historic preservation program or a             Council's regulations are being applied
representative designated to act for the       or interpreted, including possible
State historic preservation officer.           foreclosure or anticipatory demolition
     (w) Tribal Historic Preservation          situations; situations where the outcome
Officer (THPO)means the tribal official        will set a precedent affecting Council
appointed by the tribe's chief governing       policies or program goals; or the
authority or designated by a tribal            development of programmatic
ordinance or preservation program who          agreements that alter the way the
has assumed the responsibilities of the        section 106 process is applied to a group
SHPO for purposes of section 106               or type of undertakings.
compliance on tribal lands in                      (3) Has the potential for presenting
accordance with section 101(d)(2) of the       procedural problems. This may include
act.                                           cases with substantial public
     (x) Tribal lands means all lands          controversy that is related to historic
within the exterior boundaries of any          preservation issues; with disputes
Indian reservation and all dependent           among or about consulting parties
Indian communities.                            which the Council's involvement could
     (y) Undertaking means a project,          help resolve; that are involved or likely
activity, or program funded in whole or        to be involved in litigation on the basis
in part under the direct or indirect           of section 106; or carried out by a
jurisdiction of a Federal agency,              Federal agency, in a State or locality, or
including those carried out by or on           on tribal lands where the Council has
behalf of a Federal agency; those carried      previously identified problems with
out with Federal financial assistance;         section 106 compliance pursuant to §
and those requiring a Federal permit,          800.9(d)(2).
license or approval.                               (4) Presents issues of concern to
     (z) Senior policy official means the      Indian tribes or Native Hawaiian
senior policy level official designated by     organizations. This may include cases
the head of the agency pursuant to             where there have been concerns raised
section 3(e) of Executive Order 13287.         about the identification of, evaluation of
                                               or assessment of effects on historic
Appendix A to Part 800 -- Criteria for         properties to which an Indian tribe or
Council Involvement in Reviewing               Native Hawaiian organization attaches
Individual section 106 Cases                   religious and cultural significance;
                                               where an Indian tribe or Native
    (a) Introduction. This appendix sets       Hawaiian organization has requested
forth the criteria that will be used by the    Council involvement to assist in the
Council to determine whether to enter          resolution of adverse effects; or where
an individual section 106 review that it       there are questions relating to policy,
normally would not be involved in.             interpretation or precedent under
    (b) General policy. The Council may        section 106 or its relation to other
choose to exercise its authorities under
     Case 1:21-cv-00119-RDM                        Document 55-3                Filed 06/22/21             Page 17 of 129




                                   The National Historic Preservation Act
                                          As amended through December 16, 2016
                                      and Codified in Title 54 of the United States Code

[The Na tional Historic Preservation Act (“Act”) became law on October 15, 1966, Publ ic La w 89-665, a nd was codified i n title 16
of the United States Code. Va rious amendments followed through the years. On December 19, 2014, Publ ic La w 13-287 moved
the Act’s provisions from title 16 of the United States Code to title 54, wi th minimal and non-substantive changes to the text of
the Act a nd a re-ordering of some of its provisions. This document s hows the provisions of the Act a s they now a ppear i n title
54 of the United States Code.

The Act’s name (the “National Historic Preserva tion Act”) i s found i n the notes of the very fi rst section of ti tle 54. 54 U.S.C. §
100101 note. While Public La w 13-287 di d not repeal the Act’s findings, for editorial reasons those findings were not included in
the text of ti tle 54. The findings a re still current law. However, rather than citing to the U.S. Code, when referri ng to the findings
one ma y ci te to: “Section 1 of the National Historic Preservation Act, Pub. L. No. 89-665, a s amended by Pub. L. No. 96-515.” For
ea se of use, this document reproduces the text of those findings before proceeding to the title 54 text.

Fi nally, the a ttachment at the end of this document a ttempts to assist those preservation stakeholders who for ma ny years
ha ve referred to the Act’s va rious provisions according to the section numbers used in the 1966 public law and subsequent
a mendments (“old s ections”). The a ttachment cross-references each of the old sections to the corresponding outdated title 16
l egal cite a nd current ti tle 54 l egal ci te.]



Section 1 of the National Historic Preservation Act, Pub. L. No. 89-665, as amended by Pub. L. No. 96-515:

          … (b) The Congress finds and declares that—

                     (1) the spirit and direction of the Nation are founded upon and reflected in its historic heritage;

                     (2) the historical and cultural foundations of the Nation should be preserved as a living part of
                     our community life and development in order to give a sense of orientation to the American
                     people;

                     (3) historic properties significant to the Nation's heritage are being lost or substantially altered,
                     often inadvertently, with increasing frequency;

                     (4) the preservation of this irreplaceable heritage is in the public interest so that its vital legacy of
                     cultural, educational, aesthetic, inspirational, economic, and energy benefits will be maintained
                     and enriched for future generations of Americans;

                     (5) in the face of ever-increasing extensions of urban centers, highways, and residential,
                     commercial, and industrial developments, the present governmental and nongovernmental
                     historic preservation programs and activities are inadequate to insure future generations a
                     genuine opportunity to appreciate and enjoy the rich heritage of our Nation;

                     (6) the increased knowledge of our historic resources, the establishment of better means of
                     identifying and administering them, and the encouragement of their preservation will improve
                     the planning and execution of Federal and federally assisted projects and will assist economic
                     growth and development; and

                     (7) although the major burdens of historic preservation have been borne and major efforts
                     initiated by private agencies and individuals, and both should continue to play a vital role, it is
                     nevertheless necessary and appropriate for the Federal Government to accelerate its historic
                     preservation programs and activities, to give maximum encouragement to agencies and
                     individuals undertaking preservation by private means, and to assist State and local governments

                                                                   1
     Case 1:21-cv-00119-RDM                        Document 55-3        Filed 06/22/21          Page 18 of 129



                     and the National Trust for Historic Preservation in the United States to expand and accelerate
                     their historic preservation programs and activities.



Title 54 of the United States Code
       Subtitle III—National Preservation Programs
              Division A—Historic Preservation

                               Subdivision 1—General Provisions

Chapter 3001—Policy
Sec.
300101. Policy

54 U.S.C. § 300101. Policy

          It is the policy of the Federal Government, in cooperation with other nations and in partnership with
          States, local governments, Indian tribes, Native Hawaiian organizations, and private organizations and
          individuals, to—

                     (1) use measures, including financial and technical assistance, to foster conditions under which
                     our modern society and our historic property can exist in productive harmony and fulfill the
                     social, economic, and other requirements of present and future generations;

                     (2) provide leadership in the preservation of the historic property of the United States and of the
                     international community of nations and in the administration of the national preservation
                     program;

                     (3) administer federally owned, administered, or controlled historic property in a spirit of
                     stewardship for the inspiration and benefit of present and future generations;

                     (4) contribute to the preservation of nonfederally owned historic property and give maximum
                     encouragement to organizations and individuals undertaking preservation by private means;

                     (5) encourage the public and private preservation and utilization of all usable elements of the
                     Nation’s historic built environment; and

                     (6) assist State and local governments, Indian tribes and Native Hawaiian organizations, and the
                     National Trust to expand and accelerate their historic preservation programs and activities.

Chapter 3003—Definitions
Sec.
300301. Agency.
300302. Certified local government.
300303. Council.
300304. Cultural park.
300305. Historic conservation district.
300306. Historic Preservation Fund.
300307. Historic preservation review commission.
300308. Historic property.
300309. Indian tribe.
300310. Local government.


                                                             2
     Case 1:21-cv-00119-RDM                         Document 55-3        Filed 06/22/21        Page 19 of 129



300311. National Register.
300312. National Trust.
300313. Native Hawaiian.
300314. Native Hawaiian organization.
300315. Preservation or historic preservation.
300316. Secretary.
300317. State.
300318. State historic preservation review board.
300319. Tribal land.
300320. Undertaking.
300321. World Heritage Convention.

§ 300301. Agency

          In this division, the term ‘‘agency’’ has the meaning given the term in section 551 of title 5.

§ 300302. Certified local government

          In this division, the term ‘‘certified local government’’ means a local government whose local historic
          preservation program is certified pursuant to chapter 3025 of this title.

§ 300303. Council

          In this division, the term ‘‘Council’’ means the Advisory Council on Historic Preservation established by
          section 304101 of this title.

§ 300304. Cultural park

          In this division, the term ‘‘cultural park’’ means a definable area that—

                (A) is distinguished by historic property, prehistoric property, and land related to that property; and

                (B) constitutes an interpretive, educational, and recreational resource for the public at large.

§ 300305. Historic conservation district

          In this division, the term ‘‘historic conservation district’’ means an area that contains—

                     (1) historic property;

                     (2) buildings having similar or related architectural characteristics;

                     (3) cultural cohesiveness; or

                     (4) any combination of features described in paragraphs (1) to (3).

§ 300306. Historic Preservation Fund

          In this division, the term ‘‘Historic Preservation Fund’’ means the Historic Preservation Fund established
          under section 303101 of this title.

§ 300307. Historic preservation review commission

          In this division, the term ‘‘historic preservation review commission’’ means a board, council, commission,
          or other similar collegial body—

                                                              3
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21           Page 20 of 129




                 (1) that is established by State or local legislation as provided in section 302503(a)(2) of this title;
                 and

                 (2) the members of which are appointed by the chief elected official of a jurisdiction (unless State
                 or local law provides for appointment by another official) from among—

                      (A) professionals in the disciplines of architecture, history, architectural history, planning,
                      prehistoric and historic archeology, folklore, cultural anthropology, curation, conservation,
                      and landscape architecture, or related disciplines, to the extent that those professionals are
                      available in the community; and

                      (B) other individuals who have demonstrated special interest, experience, or knowledge in
                      history, architecture, or related disciplines and will provide for an adequate and qualified
                      commission.

§ 300308. Historic property

        In this division, the term ‘‘historic property’’ means any prehistoric or historic district, site, building,
        structure, or object included on, or eligible for inclusion on, the National Register, including artifacts,
        records, and material remains relating to the district, site, building, structure, or object.

§ 300309. Indian tribe

        In this division, the term ‘‘Indian tribe’’ means an Indian tribe, band, nation, or other organized group or
        community, including a Native village, Regional Corporation or Village Corporation (as those terms are
        defined in section 3 of the Alaska Native Claims Settlement Act (43 U.S.C. 1602)), that is recognized as
        eligible for the special programs and services provided by the United States to Indians because of their
        status as Indians.

§ 300310. Local government

        In this division, the term ‘‘local government’’ means a city, county, township, municipality, or borough, or
        any other general purpose political subdivision of any State.

§ 300311. National Register

        In this division, the term ‘‘National Register’’ means the National Register of Historic Places maintained
        under chapter 3021 of this title.

§ 300312. National Trust

        In this division, the term ‘‘National Trust’’ means the National Trust for Historic Preservation in the United
        States established under section 312102 of this title.

§ 300313. Native Hawaiian

        In this division, the term ‘‘Native Hawaiian’’ means any individual who is a descendant of the aboriginal
        people who, prior to 1778, occupied and exercised sovereignty in the area that now constitutes Hawaii.




                                                           4
    Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21          Page 21 of 129




§ 300314. Native Hawaiian organization

        (a) IN GENERAL.—In this division, the term ‘‘Native Hawaiian organization’’ means any organization that—

                  (1) serves and represents the interests of Native Hawaiians;

                  (2) has as a primary and stated purpose the provision of services to Native Hawaiians; and

                  (3) has demonstrated expertise in aspects of historic preservation that are culturally significant to
                  Native Hawaiians.

        (b) INCLUSIONS.—In this division, the term ‘‘Native Hawaiian organization’’ includes the Office of
        Hawaiian Affairs of Hawaii and Hui Malama I Na Kupuna O Hawai’i Nei, an organization incorporated
        under the laws of the State of Hawaii.

§ 300315. Preservation or historic preservation

        In this division, the term ‘‘preservation’’ or ‘‘historic preservation’’ includes—

                  (1) identification, evaluation, recordation, documentation, curation, acquisition, protection,
                  management, rehabilitation, restoration, stabilization, maintenance, research, interpretation,
                  and conservation;

                  (2) education and training regarding the foregoing activities; or

                  (3) any combination of the foregoing activities.

§ 300316. Secretary

        In this division, the term ‘‘Secretary’’ means the Secretary acting through the Director.

§ 300317. State

        In this division, the term ‘‘State’’ means—

                  (1) a State, the District of Columbia, Puerto Rico, Guam, American Samoa, the Virgin Islands, and
                  the Northern Mariana Islands; and

                  (2) the Republic of the Marshall Islands, the Federated States of Micronesia, and the Republic of
                  Palau.

§ 300318. State historic preservation review board

        In this division, the term ‘‘State historic preservation review board’’ means a board, council, commission,
        or other similar collegial body established as provided in section 302301(2) of this title—

                  (1) the members of which are appointed by the State Historic Preservation Officer (unless
                  otherwise provided for by State law);

                  (2) a majority of the members of which are professionals qualified in history, prehistoric and
                  historic archeology, architectural history, architecture, folklore, cultural anthropology,
                  curation, conservation, landscape architecture, and related disciplines; and


                                                          5
      Case 1:21-cv-00119-RDM                          Document 55-3                  Filed 06/22/21               Page 22 of 129




                      (3) that has the authority to—

                                 (A) review National Register nominations and appeals from nominations;

                                 (B) review appropriate documentation submitted in conjunction with the Historic
                                 Preservation Fund;

                                 (C) provide general advice and guidance to the State Historic Preservation Officer; and

                                 (D) perform such other duties as may be appropriate.

§ 300319. Tribal land

           In this division, the term ‘‘tribal land’’ means—

                      (1) all land within the exterior boundaries of any Indian reservation; and

                      (2) all dependent Indian communities.

§ 300320. Undertaking

           In this division, the term ‘‘undertaking’’ means a project, activity, or program funded in whole or in part
           under the direct or indirect jurisdiction of a Federal agency, including—

                      (1) those carried out by or on behalf of the Federal agency;

                      (2) those carried out with Federal financial assistance;

                      (3) those requiring a Federal permit, license, or approval; and

                      (4) those subject to State or local regulation administered pursuant to a delegation or approval
                      by a Federal agency.

§ 300321. World Heritage Convention

           In this division, the term ‘‘World Heritage Convention’’ means the Convention concerning the Protection
           of the World Cultural and Natural Heritage, done at Paris November 23, 1972 (27 UST 37).

                                 Subdivision 2—Historic Preservation Program

Chapter 3021—National Register of Historic Places
Sec.
302101. Maintenance by Secretary.
302102. Inclusion of properties on National Register.
302103. Criteria and regulations relating to National Register, National Historic Landmarks, and World Heritage List.
302104. Nominations for inclusion on National Register.
302105. Owner participation in nomination process.
302106. Retention of name.
302107. Regulations.
302108. Review of threats to historic property.




                                                                        6
    Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21          Page 23 of 129



§ 302101. Maintenance by Secretary

        The Secretary may expand and maintain a National Register of Historic Places composed of districts, sites,
        buildings, structures, and objects significant in American history, architecture, archeology, engineering,
        and culture.

§ 302102. Inclusion of properties on National Register

        (a) IN GENERAL.—A property that meets the criteria for National Historic Landmarks established pursuant
        to section 302103 of this title shall be designated as a National Historic Landmark and included on the
        National Register, subject to the requirements of section 302107 of this title.

        (b) HISTORIC PROPERTY ON NATIONAL REGISTER ON DECEMBER 12, 1980.—All historic property included
        on the National Register on December 12, 1980, shall be deemed to be included on the National Register
        as of their initial listing for purposes of this division.

        (c) HISTORIC PROPERTY LISTED IN FEDERAL REGISTER OF FEBRUARY 6, 1979, OR PRIOR TO DECEMBER 12,
        1980, AS NATIONAL HISTORIC LANDMARKS.—All historic property listed in the Federal Register of
        February 6, 1979, or prior to December 12, 1980, as National Historic Landmarks are declared by Congress
        to be National Historic Landmarks of national historic significance as of their initial listing in the Federal
        Register for purposes of this division and chapter 3201 of this title, except that in the case of a National
        Historic Landmark district for which no boundaries had been established as of December 12, 1980,
        boundaries shall first be published in the Federal Register.

§ 302103. Criteria and regulations relating to National Register, National Historic Landmarks, and World
Heritage List

        The Secretary, in consultation with national historical and archeological associations, shall—

                 (1) establish criteria for properties to be included on the National Register and criteria for
                 National Historic Landmarks; and

                 (2) promulgate regulations for—

                          (A) nominating properties for inclusion on, and removal from, the National Register and
                          the recommendation of properties by certified local governments;

                          (B) designating properties as National Historic Landmarks and removing that
                          designation;

                          (C) considering appeals from recommendations, nominations, removals, and
                          designations (or any failure or refusal by a nominating authority to nominate or
                          designate);

                          (D) nominating historic property for inclusion in the World Heritage List in accordance
                          with the World Heritage Convention;

                          (E) making determinations of eligibility of properties for inclusion on the National
                          Register; and

                          (F) notifying the owner of a property, any appropriate local governments, and the
                          general public, when the property is being considered for inclusion on the National


                                                          7
    Case 1:21-cv-00119-RDM                 Document 55-3            Filed 06/22/21          Page 24 of 129



                          Register, for designation as a National Historic Landmark, or for nomination to the
                          World Heritage List.

§ 302104. Nominations for inclusion on National Register

        (a) NOMINATION BY STATE.—Subject to the requirements of section 302107 of this title, any State that is
        carrying out a program approved under chapter 3023 shall nominate to the Secretary property that
        meets the criteria promulgated under section 302103 of this title for inclusion on the National Register.
        Subject to section 302107 of this title, any property nominated under this subsection or under section
        306102 of this title shall be included on the National Register on the date that is 45 days after receipt by
        the Secretary of the nomination and the necessary documentation, unless the Secretary disapproves the
        nomination within the 45-day period or unless an appeal is filed under subsection (c).

        (b) NOMINATION BY PERSON OR LOCAL GOVERNMENT.—Subject to the requirements of section 302107
        of this title, the Secretary may accept a nomination directly from any person or local government for
        inclusion of a property on the National Register only if the property is located in a State where there is no
        program approved under chapter 3023 of this title. The Secretary may include on the National Register
        any property for which such a nomination is made if the Secretary determines that the property is
        eligible in accordance with the regulations promulgated under section 302103 of this title. The
        determination shall be made within 90 days from the date of the nomination unless the nomination is
        appealed under subsection (c).

        (c) NOMINATION BY FEDERAL AGENCY.—Subject to the requirements of section 302107 of this title, the
        regulations promulgated under section 302103 of this title, and appeal under subsection (d) of this
        section, the Secretary may accept a nomination directly by a Federal agency for inclusion of property on
        the National Register only if—

                (1) completed nominations are sent to the State Historic Preservation Officer for review and
                comment regarding the adequacy of the nomination, the significance of the property and its
                eligibility for the National Register;

                (2) within 45 days of receiving the completed nomination, the State Historic Preservation Officer
                has made a recommendation regarding the nomination to the Federal Preservation Officer,
                except that failure to meet this deadline shall constitute a recommendation to not support the
                nomination;

                (3) the chief elected officials of the county (or equivalent governmental unit) and municipal
                political jurisdiction in which the property is located are notified and given 45 days in which to
                comment;

                (4) the Federal Preservation Officer forwards it to the Keeper of the National Register of Historic
                Places after determining that all procedural requirements have been met, including those in
                paragraphs (1) through (3) above; the nomination is adequately documented; the nomination is
                technically and professionally correct and sufficient; and may include an opinion as to whether
                the property meets the National Register criteria for evaluation;

                (5) notice is provided in the Federal Register that the nominated property is being considered
                for listing on the National Register that includes any comments and the recommendation of the
                State Historic Preservation Officer and a declaration whether the State Historic Preservation
                Officer has responded within the 45 day-period of review provided in paragraph (2); and

                (6) the Secretary addresses in the Federal Register any comments from the State Historic
                Preservation Officer that do not support the nomination of the property on the National
                Register before the property is included in the National Register.
                                                         8
    Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21          Page 25 of 129




        (d) APPEAL.—Any person or local government may appeal to the Secretary—

                 (1) a nomination of any property for inclusion on the National Register; and

                 (2) the failure of a nominating authority to nominate a property in accordance with this chapter.

§ 302105. Owner participation in nomination process

        (a) REGULATIONS.—The Secretary shall promulgate regulations requiring that before any property may
        be included on the National Register or designated as a National Historic Landmark, the owner of the
        property, or a majority of the owners of the individual properties within a district in the case of a historic
        district, shall be given the opportunity (including a reasonable period of time) to concur in, or object to,
        the nomination of the property for inclusion or designation. The regulations shall include provisions to
        carry out this section in the case of multiple ownership of a single property.

        (b) WHEN PROPERTY SHALL NOT BE INCLUDED ON NATIONAL REGISTER OR DESIGNATED AS NATIONAL
        HISTORIC LANDMARK.—If the owner of any privately owned property, or a majority of the owners of
        privately owned properties within the district in the case of a historic district, object to inclusion or
        designation, the property shall not be included on the National Register or designated as a National
        Historic Landmark until the objection is withdrawn.

        (c) REVIEW BY SECRETARY.—The Secretary shall review the nomination of the property when an
        objection has been made and shall determine whether or not the property is eligible for inclusion or
        designation. If the Secretary determines that the property is eligible for inclusion or designation, the
        Secretary shall inform the Advisory Council on Historic Preservation, the appropriate State Historic
        Preservation Officer, the appropriate chief elected local official, and the owner or owners of the property
        of the Secretary’s determination.

§ 302106. Retention of name

        Notwithstanding section 43(c) of the Act of July 5, 1946 (known as the Trademark Act of 1946) (15 U.S.C.
        1125(c)), buildings and structures on or eligible for inclusion on the National Register (either individually
        or as part of a historic district), or designated as an individual landmark or as a contributing building in a
        historic district by a unit of State or local government, may retain the name historically associated with
        the building or structure.

§ 302107. Regulations

        The Secretary shall promulgate regulations—

                 (1) ensuring that significant prehistoric and historic artifacts, and associated records, subject to
                 subchapter I of chapter 3061, chapter 3125, or the Archaeological Resources Protection Act of
                 1979 (16 U.S.C. 470aa et seq.) are deposited in an institution with adequate long-term curatorial
                 capabilities;

                 (2) establishing a uniform process and standards for documenting historic property by public
                 agencies and private parties for purposes of incorporation into, or complementing, the national
                 historical architectural and engineering records in the Library of Congress; and

                 (3) certifying local governments, in accordance with sections 302502 and 302503 of this title, and
                 for the transfer of funds pursuant to section 302902(c)(4) of this title.


                                                         9
      Case 1:21-cv-00119-RDM                           Document 55-3     Filed 06/22/21          Page 26 of 129



§ 302108. Review of threats to historic property

           At least once every 4 years, the Secretary, in consultation with the Council and with State Historic
           Preservation Officers, shall review significant threats to historic property to—

                      (1) determine the kinds of historic property that may be threatened;

                      (2) ascertain the causes of the threats; and

                      (3) develop and submit to the President and Congress recommendations for appropriate action.

Chapter 3023—State Historic Preservation Programs
Sec.
302301. Regulations.
302302. Program evaluation.
302303. Responsibilities of State Historic Preservation Officer.
302304. Contracts and cooperative agreements.

§ 302301. Regulations

           The Secretary, in consultation with the National Conference of State Historic Preservation Officers and the
           National Trust, shall promulgate regulations for State Historic Preservation Programs. The regulations
           shall provide that a State program submitted to the Secretary under this chapter shall be approved by the
           Secretary if the Secretary determines that the program provides for—

                      (1) the designation and appointment by the chief elected official of the State of a State Historic
                      Preservation Officer to administer the program in accordance with section 302303 of this title
                      and for the employment or appointment by the officer of such professionally qualified staff as
                      may be necessary for those purposes;

                      (2) an adequate and qualified State historic preservation review board designated by the
                      State Historic Preservation Officer unless otherwise provided for by State law; and

                      (3) adequate public participation in the State Historic Preservation Program, including
                      the process of recommending properties for nomination to the National Register.

§ 302302. Program evaluation

           (a) WHEN EVALUATION SHOULD OCCCUR.—Periodically, but not less than every 4 years after the approval
           of any State program under section 302301 of this title, the Secretary, in consultation with the Council on
           the appropriate provisions of this division, and in cooperation with the State Historic Preservation Officer,
           shall evaluate the program to determine whether it is consistent with this division.

           (b) DISAPPROVAL OF PROGRAM.—If, at any time, the Secretary determines that a major aspect of a
           State program is not consistent with this division, the Secretary shall disapprove the program and
           suspend in whole or in part any contracts or cooperative agreements with the State and the State
           Historic Preservation Officer under this division, until the program is consistent with this division, unless
           the Secretary determines that the program will be made consistent with this division within a reasonable
           period of time.

           (c) OVERSIGHT.—The Secretary, in consultation with State Historic Preservation Officers, shall establish
           oversight methods to ensure State program consistency and quality without imposing undue review
           burdens on State Historic Preservation Officers.


                                                                   10
    Case 1:21-cv-00119-RDM                 Document 55-3            Filed 06/22/21          Page 27 of 129



        (d) STATE FISCAL AUDIT AND MANAGEMENT SYSTEM.—

                 (1) SUBSTITUTION FOR COMPARABLE FEDERAL SYSTEMS.—At the discretion of the Secretary,
                 a State system of fiscal audit and management may be substituted for comparable Federal
                 systems so long as the State system—

                          (A) establishes and maintains substantially similar accountability standards; and

                          (B) provides for independent professional peer review.

                 (2) FISCAL AUDITS AND REVIEW BY SECRETARY.—The Secretary—

                          (A) may conduct periodic fiscal audits of State programs approved under this subdivision
                          as needed; and

                          (B) shall ensure that the programs meet applicable accountability standards.

§ 302303. Responsibilities of State Historic Preservation Officer

        (a) IN GENERAL.—It shall be the responsibility of the State Historic Preservation Officer to administer the
        State Historic Preservation Program.

        (b) PARTICULAR RESPONSIBILITIES.—It shall be the responsibility of the State Historic Preservation Officer
        to—

                 (1) in cooperation with Federal and State agencies, local governments, and private
                 organizations and individuals, direct and conduct a comprehensive statewide survey of historic
                 property and maintain inventories of the property;

                 (2) identify and nominate eligible property to the National Register and otherwise administer
                 applications for listing historic property on the National Register;

                 (3) prepare and implement a comprehensive statewide historic preservation plan;

                 (4) administer the State program of Federal assistance for historic preservation within the State;

                 (5) advise and assist, as appropriate, Federal and State agencies and local governments in
                 carrying out their historic preservation responsibilities;

                 (6) cooperate with the Secretary, the Council, other Federal and State agencies, local
                 governments, and private organizations and individuals to ensure that historic property is taken
                 into consideration at all levels of planning and development;

                 (7) provide public information, education, and training and technical assistance in historic
                 preservation;

                 (8) cooperate with local governments in the development of local historic preservation programs
                 and assist local governments in becoming certified pursuant to chapter 3025;

                 (9) consult with appropriate Federal agencies in accordance with this division on—

                          (A) Federal undertakings that may affect historic property; and

                          (B) the content and sufficiency of any plans developed to protect, manage, or reduce or
                                                        11
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21            Page 28 of 129



                          mitigate harm to that property; and

                 (10) advise and assist in the evaluation of proposals for rehabilitation projects that may qualify
                 for Federal assistance.

§ 302304. Contracts and cooperative agreements

        (a) STATE.—A State may carry out all or any part of its responsibilities under this chapter by contract or
        cooperative agreement with a qualified nonprofit organization or educational institution.

        (b) SECRETARY.—

                 (1) IN GENERAL.—

                          (A) AUTHORITY TO ASSIST SECRETARY.—Subject to paragraphs (3) and (4), the Secretary
                          may enter into contracts or cooperative agreements with a State Historic Preservation
                          Officer for any State authorizing the Officer to assist the Secretary in carrying out one or
                          more of the following responsibilities within that State:

                                    (i) Identification and preservation of historic property.

                                    (ii) Determination of the eligibility of property for listing on the National
                                    Register.

                                    (iii) Preparation of nominations for inclusion on the National Register.

                                    (iv) Maintenance of historical and archeological data bases.

                                    (v) Evaluation of eligibility for Federal preservation incentives.

                          (B) AUTHORITY TO MAINTAIN NATIONAL REGISTER.— Nothing in subparagraph (A)
                          shall be construed to provide that any State Historic Preservation Officer or any other
                          person other than the Secretary shall have the authority to maintain the National
                          Register for properties in any State.

                 (2) REQUIREMENTS.—The Secretary may enter into a contract or cooperative agreement
                 under paragraph (1) only if—

                          (A) the State Historic Preservation Officer has requested the additional responsibility;

                          (B) the Secretary has approved the State historic preservation program pursuant
                          to sections 302301 and 302302 of this title;

                          (C) the State Historic Preservation Officer agrees to carry out the additional
                          responsibility in a timely and efficient manner acceptable to the Secretary and the
                          Secretary determines that the Officer is fully capable of carrying out the responsibility
                          in that manner;

                          (D) the State Historic Preservation Officer agrees to permit the Secretary to review and
                          revise, as appropriate in the discretion of the Secretary, decisions made by the Officer
                          pursuant to the contract or cooperative agreement; and

                          (E) the Secretary and the State Historic Preservation Officer agree on the terms of
                          additional financial assistance to the State, if there is to be any, for the costs of carrying
                                                          12
      Case 1:21-cv-00119-RDM                          Document 55-3                 Filed 06/22/21   Page 29 of 129



                                 out that responsibility.

                      (3) ESTABLISH CONDITIONS AND CRITERIA.—For each significant program area under the
                      Secretary’s authority, the Secretary shall establish specific conditions and criteria essential for
                      the assumption by a State Historic Preservation Officer of the Secretary’s duties in each of those
                      programs.

                      (4) PRESERVATION PROGRAMS AND ACTIVITIES NOT DIMINISHED.— Nothing in this chapter
                      shall have the effect of diminishing the preservation programs and activities of the Service.

Chapter 3025—Certification of Local Governments
Sec.
302501. Definitions.
302502. Certification as part of State program.
302503. Requirements for certification.
302504. Participation of certified local governments in National Register nominations.
302505. Eligibility and responsibility of certified local government.

§ 302501. Definitions

           In this chapter:

                      (1) DESIGNATION.—The term ‘‘designation’’ means the identification and registration of
                      property for protection that meets criteria established by a State or locality for significant
                      historic property within the jurisdiction of a local government.

                      (2) PROTECTION.—The term ‘‘protection’’ means protection by means of a local review process
                      under State or local law for proposed demolition of, changes to, or other action that may affect
                      historic property designated pursuant to this chapter.

§ 302502. Certification as part of State program

           Any State program approved under this subdivision shall provide a mechanism for the certification by the
           State Historic Preservation Officer of local governments to carry out the purposes of this division
           and provide for the transfer, in accordance with section 302902(c)(4) of this title, of a portion of the
           grants received by the States under this division, to those local governments.

§ 302503. Requirements for certification

           (a) APPROVED STATE PROGRAM.—Any local government shall be certified to participate under this
           section if the applicable State Historic Preservation Officer, and the Secretary, certify that the local
           government—

                      (1) enforces appropriate State or local legislation for the designation and protection of historic
                      property;

                      (2) has established an adequate and qualified historic preservation review commission by State
                      or local legislation;

                      (3) maintains a system for the survey and inventory of historic property that furthers the
                      purposes of chapter 3023;

                      (4) provides for adequate public participation in the local historic preservation program,
                      including the process of recommending properties for nomination to the National Register; and

                                                                      13
      Case 1:21-cv-00119-RDM                          Document 55-3         Filed 06/22/21        Page 30 of 129




                      (5) satisfactorily performs the responsibilities delegated to it under this division.

           (b) NO APPROVED STATE PROGRAM.—Where there is no State program approved under sections 302301
           and 302302 of this title, a local government may be certified by the Secretary if the Secretary determines
           that the local government meets the requirements of subsection (a). The Secretary may make grants to
           the local government certified under this subsection for purposes of this subdivision.

§ 302504. Participation of certified local governments in National Register nominations

           (a) NOTICE.—Before a property within the jurisdiction of a certified local government may be considered
           by a State to be nominated to the Secretary for inclusion on the National Register, the State Historic
           Preservation Officer shall notify the owner, the applicable chief local elected official, and the local historic
           preservation commission.

           (b) REPORT.—The local historic preservation commission, after reasonable opportunity for public
           comment, shall prepare a report as to whether the property, in the Commission’s opinion, meets
           the criteria of the National Register. Within 60 days of notice from the State Historic Preservation Officer,
           the chief local elected official shall transmit the report of the commission and the recommendation
           of the local official to the State Historic Preservation Officer.

           (c) RECOMMENDATION.—

                      (1) PROPERTY NOMINATED TO NATIONAL REGISTER.—Except as provided in paragraph (2), after
                      receipt of the report and recommendation, or if no report and recommendation are received
                      within 60 days, the State shall make the nomination pursuant to section 302104 of this title. The
                      State may expedite the process with the concurrence of the certified local government.

                      (2) PROPERTY NOT NOMINATED TO NATIONAL REGISTER.—If both the commission and the
                      chief local elected official recommend that a property not be nominated to the National
                      Register, the State Historic Preservation Officer shall take no further action, unless, within 30
                      days of the receipt of the recommendation by the State Historic Preservation Officer, an appeal
                      is filed with the State. If an appeal is filed, the State shall follow the procedures for making a
                      nomination pursuant to section 302104 of this title. Any report and recommendations made
                      under this section shall be included with any nomination submitted by the State to the
                      Secretary.

§ 302505. Eligibility and responsibility of certified local government

           Any local government—

                      (1) that is certified under this chapter shall be eligible for funds under section 302902(c)(4) of
                      this title; and

                      (2) that is certified, or making efforts to become certified, under this chapter shall carry out
                      any responsibilities delegated to it in accordance with such terms and conditions as the
                      Secretary considers necessary or advisable.



Chapter 3027—Historic Preservation Programs and Authorities for Indian Tribes
and Native Hawaiian Organizations
Sec.
302701. Program to assist Indian tribes in preserving historic property.

                                                                       14
      Case 1:21-cv-00119-RDM                          Document 55-3               Filed 06/22/21   Page 31 of 129



302702. Indian tribe to assume functions of State Historic PreservationOfficer.
302703. Apportionment of grantfunds.
302704. Contracts and cooperative agreements.
302705. Agreement for review under tribal historic preservation regulations.
302706. Eligibility for inclusion on National Register.

§ 302701. Program to assist Indian tribes in preserving historic property

           (a) ESTABLISHMENT OF PROGRAM.—The Secretary shall establish a program and promulgate regulations
           to assist Indian tribes in preserving their historic property.

           (b) COMMUNICATION AND COOPERATION.—The Secretary shall foster communication and cooperation
           between Indian tribes and State Historic Preservation Officers in the administration of the national
           historic preservation program to—

                      (1) ensure that all types of historic property and all public interests in historic property are
                      given due consideration; and

                      (2) encourage coordination among Indian tribes, State Historic Preservation Officers, and Federal
                      agencies in historic preservation planning and in the identification, evaluation, protection, and
                      interpretation of historic property.

           (c) TRIBAL VALUES.—The program under subsection (a) shall be developed in a manner to ensure that
           tribal values are taken into account to the extent feasible. The Secretary may waive or modify
           requirements of this subdivision to conform to the cultural setting of tribal heritage preservation
           goals and objectives.

           (d) SCOPE OF TRIBAL PROGRAMS.—The tribal programs implemented by specific tribal organizations may
           vary in scope, as determined by each Indian tribe’s chief governing authority.

           (e) CONSULTATION.—The Secretary shall consult with Indian tribes, other Federal agencies, State Historic
           Preservations Officers, and other interested parties concerning the program under subsection (a).

§ 302702. Indian tribe to assume functions of State Historic Preservation Officer

           An Indian tribe may assume all or any part of the functions of a State Historic Preservation Officer in
           accordance with sections 302302 and 302303 of this title, with respect to tribal land, as those
           responsibilities may be modified for tribal programs through regulations issued by the Secretary, if—

                      (1) the Indian tribe’s chief governing authority so requests;

                      (2) the Indian tribe designates a tribal preservation official to administer the tribal historic
                      preservation program, through appointment by the Indian tribe’s chief governing authority
                      or as a tribal ordinance may otherwise provide;

                      (3) the tribal preservation official provides the Secretary with a plan describing how the
                      functions the tribal preservation official proposes to assume will be carried out;

                      (4) the Secretary determines, after consulting with the Indian tribe, the appropriate State Historic
                      Preservation Officer, the Council (if the Indian tribe proposes to assume the functions of the
                      State Historic Preservation Officer with respect to review of undertakings under section 306108
                      of this title), and other Indian tribes, if any, whose tribal or aboriginal land may be affected by
                      conduct of the tribal preservation program, that—

                                 (A) the tribal preservation program is fully capable of carrying out the
                                                                       15
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21          Page 32 of 129



                          functions specified in the plan provided under paragraph (3);

                          (B) the plan defines the remaining responsibilities of the Secretary and the State
                          Historic Preservation Officer; and

                          (C) the plan provides, with respect to properties neither owned by a member of the
                          Indian tribe nor held in trust by the Secretary for the benefit of the Indian tribe, at
                          the request of the owner of the properties, that the State Historic Preservation
                          Officer, in addition to the tribal preservation official, may exercise the historic
                          preservation responsibilities in accordance with sections 302302 and 302303 of this
                          title; and

                 (5) based on satisfaction of the conditions stated in paragraphs (1), (2), (3), and (4), the Secretary
                 approves the plan.

§ 302703. Apportionment of grant funds

        In consultation with interested Indian tribes, other Native American organizations, and affected State
        Historic Preservation Officers, the Secretary shall establish and implement procedures for carrying
        out section 302902(c)(1)(A) of this title with respect to tribal programs that assume responsibilities under
        section 302702 of this title.

§ 302704. Contracts and cooperative agreements

        At the request of an Indian tribe whose preservation program has been approved to assume functions
        and responsibilities pursuant to section 302702 of this title, the Secretary shall enter into a contract or
        cooperative agreement with the Indian tribe permitting the assumption by the Indian tribe of any part
        of the responsibilities described in section 302304(b) of this title on tribal land, if—

                 (1) the Secretary and the Indian tribe agree on additional financial assistance, if any, to the
                 Indian tribe for the costs of carrying out those authorities;

                 (2) the Secretary finds that the tribal historic preservation program has been demonstrated to
                 be sufficient to carry out the contract or cooperative agreement and this division; and

                 (3) the contract or cooperative agreement specifies the continuing responsibilities of the
                 Secretary or of the appropriate State Historic Preservation Officers and provides for appropriate
                 participation by—

                          (A) the Indian tribe’s traditional cultural authorities;

                          (B) representatives of other Indian tribes whose traditional land is under the
                          jurisdiction of the Indian tribe assuming responsibilities; and

                          (C) the interested public.

§ 302705. Agreement for review under tribal historic preservation regulations

        The Council may enter into an agreement with an Indian tribe to permit undertakings on tribal land to be
        reviewed under tribal historic preservation regulations in place of review under regulations promulgated
        by the Council to govern compliance with section 306108 of this title, if the Council, after consultation
        with the Indian tribe and appropriate State Historic Preservation Officers, determines that the tribal
        preservation regulations will afford historic property consideration equivalent to that afforded by the
        Council’s regulations.
                                                          16
      Case 1:21-cv-00119-RDM                         Document 55-3                  Filed 06/22/21              Page 33 of 129



§ 302706. Eligibility for inclusion on National Register

           (a) IN GENERAL.—Property of traditional religious and cultural importance to an Indian tribe or Native
           Hawaiian organization may be determined to be eligible for inclusion on the National Register.

           (b) CONSULTATION.—In carrying out its responsibilities under section 306108 of this title, a Federal
           agency shall consult with any Indian tribe or Native Hawaiian organization that attaches religious and
           cultural significance to property described in subsection (a).

           (c) HAWAII.—In carrying out responsibilities under section 302303 of this title, the State Historic
           Preservation Officer for Hawaii shall—

                      (1) consult with Native Hawaiian organizations in assessing the cultural significance of any
                      property in determining whether to nominate the property to the National Register;

                      (2) consult with Native Hawaiian organizations in developing the cultural component of
                      a preservation program or plan for the property; and

                      (3) enter into a memorandum of understanding or agreement with Native Hawaiian
                      organizations for the assessment of the cultural significance of a property in determining
                      whether to nominate the property to the National Register and to carry out the cultural
                      component of the preservation program or plan.


Chapter 3029—Grants
Sec.
302901. Awarding of grants and availability of grant funds.
302902. Grants to States.
302903. Grants to National Trust.
302904. Direct grants for the preservation of properties included on National Register. 302905.
Religious property.
302906. Grants and loans to Indian tribes and nonprofit organizations representing ethnic or minority groups.
302907. Grants to Indian tribes and Native Hawaiian organizations.
302908. Grants to the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of Palau.
302909. Prohibited use of grant amounts.
302910. Recordkeeping.

§ 302901. Awarding of grants and availability of grant funds

           (a) IN GENERAL.—No grant may be made under this division unless application for the grant is submitted
           to the Secretary in accordance with regulations and procedures prescribed by the Secretary.

           (b) GRANT NOT TREATED AS TAXABLE INCOME.—No grant made pursuant to this division shall be treated
           as taxable income for purposes of the Internal Revenue Code of 1986 (26 U.S.C. 1 et seq.).

           (c) AVAILABILITY.—The Secretary shall make funding available to individual States and the National Trust
           as soon as practicable after execution of a grant agreement. For purposes of administration, grants to
           individual States and the National Trust each shall be deemed to be one grant and shall be administered
           by the Service as one grant.

§ 302902. Grants to States

           (a) IN GENERAL.—The Secretary shall administer a program of matching grants to the States for the
           purposes of carrying out this division.



                                                                      17
Case 1:21-cv-00119-RDM             Document 55-3            Filed 06/22/21          Page 34 of 129



  (b) CONDITIONS.—

         (1) IN GENERAL.—No grant may be made under this division—

                  (A) unless the application is in accordance with the comprehensive statewide historic
                  preservation plan that has been approved by the Secretary after considering its
                  relationship to the comprehensive statewide outdoor recreation plan prepared
                  pursuant to chapter 2003 of this title;

                  (B) unless the grantee has agreed to make reports, in such form and containing such
                  information, as the Secretary may from time to time require;

                  (C) unless the grantee has agreed to assume, after completion of the project, the total
                  cost of the continued maintenance, repair, and administration of the property in a
                  manner satisfactory to the Secretary; or

                  (D) until the grantee has complied with such further terms and conditions as the
                  Secretary may consider necessary or advisable.

         (2) WAIVER.—The Secretary may waive the requirements of subparagraphs (A) and (C) of
         paragraph (1) for any grant under this division to the National Trust.

         (3) AMOUNT LIMITATION.—

                  (A) IN GENERAL.—No grant may be made under this division for more than 60 percent
                  of the aggregate costs of carrying out projects and programs under the administrative
                  control of the State Historic Preservation Officer as specified in section 302303 of this
                  title in any one fiscal year.

                  (B) SOURCE OF STATE SHARE OF COSTS.—Except as permitted by other law, the State
                  share of the costs referred to in subparagraph (A) shall be contributed by non-
                  Federal sources.

        (4) RESTRICTION ON USE OF REAL PROPERTY TO MEET NONFEDERAL SHARE OF COST OF
        PROJECT.—No State shall be permitted to utilize the value of real property obtained before
        October 15, 1966, in meeting the non-Federal share of the cost of a project for which a grant is
        made under this division.

 (c) APPORTIONMENT OF GRANT AMOUNTS.—

        (1) BASES FOR APPORTIONMENT.—The amounts appropriated and made available for grants to
        the States—

                (A) for the purposes of this division shall be apportioned among the States by the
                Secretary on the basis of needs as determined by the Secretary; and

                 (B) for projects and programs under this division for each fiscal year shall be
                 apportioned among the States as the Secretary determines to be appropriate.

        (2) NOTIFICATION.—The Secretary shall notify each State of its apportionment under paragraph
        (1)(B) within 30 days after the date of enactment of legislation appropriating funds under this
        division.



                                                18
    Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21          Page 35 of 129



                (3) REAPPORTIONMENT.—Any amount of any apportionment that has not been paid or obligated
                by the Secretary during the fiscal year in which the notification is given or during the 2 fiscal years
                after that fiscal year shall be reapportioned by the Secretary in accordance with paragraph (1)(B).
                The Secretary shall analyze and revise as necessary the method of apportionment. The method
                and any revision shall be published by the Secretary in the Federal Register.

                (4) TRANSFER OF FUNDS TO CERTIFIED LOCAL GOVERNMENTS.— Not less than 10 percent of the
                annual apportionment distributed by the Secretary to each State for the purposes of carrying out
                this division shall be transferred by the State, pursuant to the requirements of this division, to
                certified local governments for historic preservation projects or programs of the certified local
                governments. In any year in which the total annual apportionment to the States exceeds
                $65,000,000, 50 percent of the excess shall also be transferred by the States to certified
                local governments.

                (5) GUIDELINES FOR USE AND DISTRIBUTION OF FUNDS TO CERTIFIED LOCAL GOVERNMENTS.—
                The Secretary shall establish guidelines for the use and distribution of funds under paragraph (4)
                to ensure that no certified local government receives a disproportionate share of the funds
                available, and may include a maximum or minimum limitation on the amount of funds
                distributed to any single certified local government. The guidelines shall not limit the ability of
                any State to distribute more than 10 percent of its annual apportionment under paragraph (4),
                nor shall the Secretary require any State to exceed the 10 percent minimum distribution to
                certified local governments.

        (d) ADMINISTRATIVE COSTS.—The total direct and indirect administrative costs charged for carrying out
        State projects and programs shall not exceed 25 percent of the aggregate costs (except in the case of a
        grant to the Federated States of Micronesia, the Republic of the Marshall Islands, or the Republic of
        Palau).

§ 302903. Grants to National Trust

        (a) SECRETARY OF THE INTERIOR.—The Secretary may administer grants to the National Trust consistent
        with the purposes of its charter and this division.

        (b) SECRETARY OF HOUSING AND URBAN DEVELOPMENT.—The Secretary of Housing and Urban
        Development may make grants to the National Trust, on terms and conditions and in amounts (not
        exceeding $90,000 with respect to any one structure) as the Secretary of Housing and Urban
        Development considers appropriate, to cover the costs incurred by the National Trust in renovating or
        restoring structures that the National Trust considers to be of historic or architectural value and that the
        National Trust has accepted and will maintain (after the renovation or restoration) for historic purposes.

§ 302904. Direct grants for the preservation of properties included on National Register

        (a) ADMINISTRATION OF PROGRAM.—The Secretary shall administer a program of direct grants for the
        preservation of properties included on the National Register.

        (b) AVAILABLE AMOUNT.—Funds to support the program annually shall not exceed 10 percent of the
        amount appropriated annually for the Historic Preservation Fund.

        (c) USES OF GRANTS.—

                (1) IN GENERAL.—Grants under this section may be made by the Secretary, in consultation with
                the appropriate State Historic Preservation Officer—


                                                         19
    Case 1:21-cv-00119-RDM                   Document 55-3             Filed 06/22/21        Page 36 of 129



                         (A) for the preservation of—

                                   (i) National Historic Landmarks that are threatened with demolition or
                                   impairment; and

                                   (ii) historic property of World Heritage significance;

                         (B) for demonstration projects that will provide information concerning professional
                         methods and techniques having application to historic property;

                         (C) for the training and development of skilled labor in trades and crafts, and in analysis
                         and curation, relating to historic preservation; and

                         (D) to assist individuals or small businesses within any historic district included on the
                         National Register to remain within the district.

                (2) LIMIT ON CERTAIN GRANTS.—A grant may be made under subparagraph (A) or (D) of
                paragraph (1) only to the extent that the project cannot be carried out in as effective a manner
                through the use of an insured loan under section 303901 of this title.

§ 302905. Religious property

       (a) IN GENERAL.—Grants may be made under this chapter for the preservation, stabilization, restoration,
       or rehabilitation of religious property listed on the National Register if the purpose of the grant—

                (1) is secular;

                (2) does not promote religion; and

                (3) seeks to protect qualities that are historically significant.

       (b) EFFECT OF SECTION.—Nothing in this section shall be construed to authorize the use of any funds
       made available under this subdivision for the acquisition of any religious property listed on the National
       Register.

§ 302906. Grants and loans to Indian tribes and nonprofit organizations representing ethnic or minority groups

       The Secretary may, in consultation with the appropriate State Historic Preservation Officer, make grants or
       loans or both under this subdivision to Indian tribes and to nonprofit organizations representing ethnic or
       minority groups for the preservation of their cultural heritage.

§ 302907. Grants to Indian tribes and Native Hawaiian organizations

       The Secretary shall administer a program of direct grants to Indian tribes and Native Hawaiian
       organizations for the purpose of carrying out this division as it pertains to Indian tribes and Native
       Hawaiian organizations. Matching fund requirements may be modified. Federal funds available to an
       Indian tribe or Native Hawaiian organization may be used as matching funds for the purposes of the Indian
       tribe’s or Native Hawaiian organization’s conducting its responsibilities pursuant to this subdivision.




                                                           20
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21        Page 37 of 129



§ 302908. Grants to the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic
of Palau

       (a) IN GENERAL.—As part of the program of matching grant assistance from the Historic Preservation
       Fund to States, the Secretary shall administer a program of direct grants to the Federated States of
       Micronesia, the Republic of the Marshall Islands, and the Republic of Palau in furtherance of the Compact
       of Free Association between the United States and the Federated States of Micronesia and the Marshall
       Islands, approved by the Compact of Free Association Act of 1985 (48 U.S.C. 1901 et seq., 2001 et seq.),
       and the Compact of Free Association between the United States and Palau, approved by the Joint
       Resolution entitled ‘‘Joint Resolution to approve the ‘Compact of Free Association’ between the United
       States and Government of Palau, and for other purposes’’ (48 U.S.C. 1931 et seq.) or any successor
       enactment.

       (b) GOAL OF PROGRAM.—The goal of the program shall be to establish historic and cultural preservation
       programs that meet the unique needs of each of those nations so that at the termination of the compacts
       the programs shall be firmly established.

       (c) BASIS OF ALLOCATING AMOUNTS.—The amounts to be made available under this subsection shall be
       allocated by the Secretary on the basis of needs as determined by the Secretary.

       (d) WAIVERS AND MODIFICATIONS.—The Secretary may waive or modify the requirements of this
       subdivision to conform to the cultural setting of those nations. Matching funds may be waived or
       modified.

§ 302909. Prohibited use of grant amounts

       No part of any grant made under this subdivision shall be used to compensate any person intervening in
       any proceeding under this division.

§ 302910. Recordkeeping

       A recipient of assistance under this division shall keep—

                (1) such records as the Secretary shall prescribe, including records that fully disclose—

                         (A) the disposition by the recipient of the proceeds of the assistance;

                         (B) the total cost of the project or undertaking in connection with which the assistance is
                         given or used; and

                         (C) the amount and nature of that portion of the cost of the project or undertaking
                         supplied by other sources; and

                (2) such other records as will facilitate an effective audit.




                                                          21
      Case 1:21-cv-00119-RDM                         Document 55-3                 Filed 06/22/21              Page 38 of 129




Chapter 3031—Historic Preservation Fund
Sec.
303101. Establishment.
303102. Content.
303103. Use and availability.

§ 303101. Establishment

         To carry out this division (except chapter 3041) and chapter 3121, there is established in the Treasury the
         Historic Preservation Fund.

§ 303102. Funding

         For each of fiscal years 2012 to 2023, $150,000,000 shall be deposited in the Historic Preservation Fund
         from revenues due and payable to the United States under section 9 of the Outer Continental Shelf Lands
         Act (43 U.S.C. 1338), section 7433(b) of title 10, or both, notwithstanding any provision of law that those
         proceeds shall be credited to miscellaneous receipts of the Treasury.

§ 303103. Use and availability

         Amounts in the Historic Preservation Fund shall be used only to carry out this division and shall be available
         for expenditure only when appropriated by Congress. Any amount not appropriated shall remain available
         in the Historic Preservation Fund until appropriated for those purposes. Appropriations made pursuant to
         this section may be made without fiscal year limitation.

Chapters 3033 Through 3037—Reserved

Chapter 3039—Miscellaneous
Sec.
303901. Loan insurance program for preservation of property included on National Register.
303902. Training in, and dissemination of information concerning, professional methods and techniques for preservation of historic property.
303903. Preservation education and training program.

§ 303901. Loan insurance program for preservation of property included on National Register

         (a) ESTABLISHMENT.—The Secretary shall establish and maintain a program by which the Secretary may,
         on application of a private lender, insure loans (including loans made in accordance with a mortgage)
         made by the lender to finance any project for the preservation of a property included on the National
         Register.

         (b) LOAN QUALIFICATIONS.—A loan may be insured under this section if—

                    (1) the loan is made by a private lender approved by the Secretary as financially sound and able
                    to service the loan properly;

                    (2) the amount of the loan, and interest rate charged with respect to the loan, do not exceed the
                    amount and rate established by the Secretary by regulation;

                    (3) the Secretary has consulted the appropriate State Historic Preservation Officer concerning the
                    preservation of the historic property;

                    (4) the Secretary has determined that the loan is adequately secured and there is reasonable
                    assurance of repayment;

                                                                     22
Case 1:21-cv-00119-RDM               Document 55-3             Filed 06/22/21         Page 39 of 129



          (5) the repayment period of the loan does not exceed the lesser of 40 years or the expected life
          of the asset financed;

          (6) the amount insured with respect to the loan does not exceed 90 percent of the loss sustained
          by the lender with respect to the loan; and

          (7) the loan, the borrower, and the historic property to be preserved meet such other terms and
          conditions as may be prescribed by the Secretary by regulation, especially terms and conditions
          relating to the nature and quality of the preservation work.

 (c) CONSULTATION.—The Secretary shall consult with the Secretary of the Treasury regarding the interest
 rate of loans insured under this section.

 (d) LIMITATION ON AMOUNT OF UNPAID PRINCIPAL BALANCE OF LOANS.—The aggregate unpaid principal
 balance of loans insured under this section may not exceed the amount that has been deposited in the
 Historic Preservation Fund but which has not been appropriated for any purpose.

 (e) INSURANCE CONTRACTS.—Any contract of insurance executed by the Secretary under this section may
 be assignable, shall be an obligation supported by the full faith and credit of the United States, and shall be
 incontestable except for fraud or misrepresentation of which the holder had actual knowledge at the time
 it became a holder.

 (f ) CONDITIONS AND METHODS OF PAYMENT AS RESULT OF LOSS.— The Secretary shall specify, by
 regulation and in each contract entered into under this section, the conditions and method of payment
 to a private lender as a result of losses incurred by the lender on any loan insured under this section.

 (g) PROTECTION OF FINANCIAL INTERESTS OF FEDERAL GOVERNMENT.— In entering into any contract to
 insure a loan under this section, the Secretary shall take steps to ensure adequate protection of the
 financial interests of the Federal Government. The Secretary may—

          (1) in connection with any foreclosure proceeding, obtain, on behalf of the Federal Government,
          the historic property securing a loan insured under this section; and

          (2) operate or lease the historic property for such period as may be necessary to protect the
          interest of the Federal Government and to carry out subsection (h).

 (h) CONVEYANCE TO GOVERNMENTAL OR NONGOVERNMENTAL ENTITY OF PROPERTY ACQUIRED BY
 FORECLOSURE.—

          (1) ATTEMPT TO CONVEY TO ENSURE PROPERTY’S PRESERVATION AND USE.—In any case in which
          historic property is obtained pursuant to subsection (g), the Secretary shall attempt to convey the
          property to any governmental or nongovernmental entity under conditions that will ensure the
          property’s continued preservation and use. If, after a reasonable time, the Secretary, in
          consultation with the Council, determines that there is no feasible and prudent means to convey
          the property and to ensure its continued preservation and use, the Secretary may convey the
          property at the fair market value of its interest in the property to any entity without restriction.

          (2) DISPOSITION OF FUNDS.—Any funds obtained by the Secretary in connection with the
          conveyance of any historic property pursuant to paragraph (1) shall be deposited in the Historic
          Preservation Fund and shall remain available in the Historic Preservation Fund until appropriated
          by Congress to carry out this division.

                   (i) ASSESSMENT OF FEES IN CONNECTION WITH INSURING LOANS.— The Secretary may
                   assess appropriate and reasonable fees in connection with insuring loans under this
                                                   23
    Case 1:21-cv-00119-RDM                 Document 55-3            Filed 06/22/21          Page 40 of 129



                        section. The fees shall be deposited in the Historic Preservation Fund and shall remain
                        available in the Historic Preservation Fund until appropriated by Congress to carry out
                        this division.

       (j) TREATMENT OF LOANS AS NON-FEDERAL FUNDS.—Notwithstanding any other provision of law, any loan
       insured under this section shall be treated as non-Federal funds for the purposes of satisfying any
       requirement of any other provision of law under which Federal funds to be used for any project or activity
       are conditioned on the use of non-Federal funds by the recipient for payment of any portion of the costs of
       the project or activity.

       (k) INELIGIBILITY OF DEBT OBLIGATION FOR PURCHASE OR COMMITMENT TO PURCHASE BY, OR SALE OR
       ISSUANCE TO, FEDERAL FINANCING BANK.—No debt obligation that is made or committed to be made, or
       that is insured or committed to be insured, by the Secretary under this section shall be eligible for
       purchase by, or commitment to purchase by, or sale or issuance to, the Federal Financing Bank.

§ 303902. Training in, and dissemination of information concerning, professional methods and techniques for
preservation of historic property

        The Secretary shall develop and make available to Federal agencies, State and local governments, private
        organizations and individuals, and other nations and international organizations pursuant to the World
        Heritage Convention, training in, and information concerning, professional methods and techniques for
        the preservation of historic property and for the administration of the historic preservation program at
        the Federal, State, and local level. The Secretary shall also develop mechanisms to provide information
        concerning historic preservation to the general public including students.

§ 303903. Preservation education and training program

        The Secretary, in consultation with the Council and other appropriate Federal, tribal, Native Hawaiian,
        and non-Federal organizations, shall develop and implement a comprehensive preservation education
        and training program. The program shall include—

                 (1) standards and increased preservation training opportunities for Federal workers involved in
                 preservation-related functions;

                 (2) preservation training opportunities for other Federal, State, tribal and local
                 government workers, and students;

                 (3) technical or financial assistance, or both, to historically black colleges and universities, to
                 tribal colleges, and to colleges with a high enrollment of Native Americans or Native Hawaiians,
                 to establish preservation training and degree programs; and

                 (4) where appropriate, coordination with the National Center for Preservation Technology
                 and Training of—

                          (A) distribution of information on preservation technologies;

                          (B) provision of training and skill development in trades, crafts, and disciplines related
                          to historic preservation in Federal training and development programs; and

                          (C) support for research, analysis, conservation, curation, interpretation, and
                          display related to preservation.



                                                         24
     Case 1:21-cv-00119-RDM                          Document 55-3                 Filed 06/22/21              Page 41 of 129




                                Subdivision 3—Advisory Council on Historic Preservation

Chapter 3041—Advisory Council on Historic Preservation
Sec.
304101. Establishment;
vacancies.
304102. Duties of Council.
304103. Cooperation between Council and instrumentalities of executive branch of Federal Government.
304104. Compensation of members of Council.
304105. Administration.
304106. International Centre for the Study of the Preservation and Restoration of Cultural Property.
304107. Transmittal of legislative recommendations, testimony, or comments to any officer or agency of the United States prior to submission
to Congress.
304108. Regulations, procedures, and guidelines.
304109. Budget submission.
304110. Report by Secretary to Council.
304111. Reimbursements from State and local agencies.
304112. Effectiveness of Federal grant and assistance
programs.

§ 304101. Establishment; vacancies

          (a) ESTABLISHMENT.—There is established as an independent agency of the United States Government an
          Advisory Council on Historic Preservation, which shall be composed of the following members:

                     (1) A Chairman appointed by the President selected from the general public.

                     (2) The Secretary.

                     (3) The Architect of the Capitol.

                     (4) The Secretary of Agriculture and the heads of 7 other agencies of the United States (other
                     than the Department of the Interior), the activities of which affect historic preservation,
                     designated by the President.

                     (5) One Governor appointed by the President.

                     (6) One mayor appointed by the President.

                     (7) The President of the National Conference of State Historic Preservation Officers.

                     (8) The General Chairman of the National Association of Tribal Historic Preservation Officers.

                     (9) The Chairman of the National Trust.

                     (10) Four experts in the field of historic preservation appointed by the President
                     from architecture, history, archeology, and other appropriate disciplines.

                     (11) Three members from the general public, appointed by the President.

                     (12) One member of an Indian tribe or Native Hawaiian organization who represents the
                     interests of the Indian tribe or Native Hawaiian organization of which he or she is a member,
                     appointed by the President.

          (b) DESIGNATION OF SUBSTITUTES.—Each member of the Council specified in paragraphs (2) to (5) and
          (7) through (9) of subsection (a) may designate another officer of the department, agency, or
                                                                     25
    Case 1:21-cv-00119-RDM                 Document 55-3           Filed 06/22/21         Page 42 of 129



        organization to serve on the Council instead of the member, except that, in the case of paragraphs (2)
        and (4), no officer other than an Assistant Secretary or an officer having major department wide or
        agency-wide responsibilities may be designated.

        (c) TERM OF OFFICE.—Each member of the Council appointed under paragraphs (10) through (12) of
        subsection (a) shall serve for a term of 4 years from the expiration of the term of the member’s
        predecessor. The members appointed under paragraphs (5) and (6) shall serve for the term of their
        elected office but not in excess of 4 years. An appointed member, other than the Chairman of the
        Council, may not serve more than 2 terms. An appointed member whose term has expired shall serve
        until that member’s successor has been appointed.

        (d) VACANCIES.—A vacancy in the Council shall not affect its powers, but shall be filled, not later than 60
        days after the vacancy commences, in the same manner as the original appointment (and for the balance
        of the unexpired term).

        (e) CHAIRMAN.—

                (1) After January 20, 2017, the Chairman shall—

                        (A) be appointed by the President, by and with the advice and consent of the Senate;

                        (B) serve at the will of the President;

                        (C) serve full time; and

                        (D) be compensated at the rate provided for Level V of the Executive Schedule Pay Rates
                        under section 5316 of title 5.

                (2) The Chairman shall serve for a term of 4 years and may be reappointed once, for a total of not
                more than 8 years of service as Chairman, except that a Chairman whose appointment has expired
                under this paragraph shall serve until his or her successor has been appointed. The term of a
                Chairman shall start (regardless of actual appointment date) on January 20 after each general
                Presidential election. The first Chairman appointed after the date of enactment of this paragraph
                shall have a first term commencing on January 20, 2017, and ending on January 19, 2021.

                (3) The Chairmen before the first appointment of a Chairman in accordance with paragraph (1) of
                this subsection shall receive $100 per diem when engaged in the performance of the duties of the
                Council, and shall receive reimbursement for necessary traveling and subsistence expenses
                incurred by them in the performance of the duties of the Council.

        (f ) DESIGNATION OF VICE CHAIRMAN.—The President shall designate a Vice Chairman from the members
        appointed under paragraph (5), (6), (10), or (11) of subsection (a). The Vice Chairman shall perform the
        functions of the Chairman during the absence or disability of the Chairman or when the office is vacant.

        (g) QUORUM.—Thirteen members of the Council shall constitute a quorum.

§ 304102. Duties of Council

        (a) DUTIES.—The Council shall—

                 (1) advise the President and Congress on matters relating to historic preservation, recommend
                 measures to coordinate activities of Federal, State, and local agencies and private institutions
                 and individuals relating to historic preservation, and advise on the dissemination of
                 information pertaining to those activities;
                                                         26
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21          Page 43 of 129




                 (2) encourage, in cooperation with the National Trust and appropriate private agencies, public
                 interest and participation in historic preservation;

                 (3) recommend the conduct of studies in such areas as—

                           (A) the adequacy of legislative and administrative statutes and regulations pertaining to
                           historic preservation activities of State and local governments; and

                           (B) the effects of tax policies at all levels of government on historic preservation;

                 (4) advise as to guidelines for the assistance of State and local governments in drafting legislation
                 relating to historic preservation;

                 (5) encourage, in cooperation with appropriate public and private agencies and institutions,
                 training and education in the field of historic preservation;

                 (6) review the policies and programs of Federal agencies and recommend to Federal agencies
                 methods to improve the effectiveness, coordination, and consistency of those policies and
                 programs with the policies and programs carried out under this division; and

                 (7) inform and educate Federal agencies, State and local governments, Indian tribes, other
                 nations and international organizations and private groups and individuals as to the Council’s
                 authorized activities.

        (b) ANNUAL REPORT.—The Council annually shall submit to the President a comprehensive report of its
        activities and the results of its studies and shall from time to time submit additional and special reports as
        it deems advisable. Each report shall propose legislative enactments and other actions as, in the judgment
        of the Council, are necessary and appropriate to carry out its recommendations and shall provide the
        Council’s assessment of current and emerging problems in the field of historic preservation and an
        evaluation of the effectiveness of the programs of Federal agencies, State and local governments, and the
        private sector in carrying out this division.

§ 304103. Cooperation between Council and instrumentalities of executive branch of Federal Government

        The Council may secure directly from any Federal agency information, suggestions, estimates, and
        statistics for the purpose of this chapter. Each Federal agency may furnish information, suggestions,
        estimates, and statistics to the extent permitted by law and within available funds.

§ 304104. Compensation of members of Council

        The members of the Council specified in paragraphs (2), (3), and (4) of section 304101(a) of this title shall
        serve without additional compensation. The Chairman of the Council shall be compensated as provided
        in subsection (e) of section 304101.The other members of the Council shall receive $100 per diem when
        engaged in the performance of the duties of the Council. All members of the Council shall receive
        reimbursement for necessary traveling and subsistence expenses incurred by them in the performance of
        the duties of the Council.

§ 304105. Administration

        (a) EXECUTIVE DIRECTOR.—There shall be an Executive Director of the Council who shall be appointed
        by the Chairman with the concurrence of the Council in the competitive service at a rate within the
        General Schedule, in the competitive service at a rate that may exceed the rate prescribed for the
        highest rate established for grade 15 of the General Schedule under section 5332 of title 5, or in the
                                                          27
Case 1:21-cv-00119-RDM               Document 55-3            Filed 06/22/21          Page 44 of 129



  Senior Executive Service under section 3393 of title 5. The Executive Director shall report directly to the
  Chairman and perform such functions and duties as the Chairman may prescribe.

  (b) GENERAL COUNSEL AND APPOINTMENT OF OTHER ATTORNEYS.—

         (1) GENERAL COUNSEL.—The Council shall have a General Counsel, who shall be appointed by
         the Executive Director. The General Counsel shall report directly to the Executive Director and
         serve as the Council’s legal advisor.

         (2) APPOINTMENT OF OTHER ATTORNEYS.—The Executive Director shall appoint other attorneys
         as may be necessary to—

                   (A) assist the General Counsel;

                   (B) represent the Council in court when appropriate, including enforcement of
                   agreements with Federal agencies to which the Council is a party;

                   (C) assist the Department of Justice in handling litigation concerning the Council in
                   court; and

                   (D) perform such other legal duties and functions as the Executive Director and the
                   Council may direct.

  (c) APPOINTMENT AND COMPENSATION OF OFFICERS AND EMPLOYEES.—The Executive Director of the
  Council may appoint and fix the compensation of officers and employees in the competitive service who
  are necessary to perform the functions of the Council at rates not to exceed that prescribed for the
  highest rate for grade 15 of the General Schedule under section 5332 of title 5. The Executive Director,
  with the concurrence of the Chairman, may appoint and fix the compensation of not to exceed 5
  employees in the competitive service at rates that exceed that prescribed for the highest rate established
  for grade 15 of the General Schedule under section 5332 of title 5 or in the Senior Executive Service under
  section 3393 of title 5.

  (d) APPOINTMENT AND COMPENSATION OF ADDITIONAL PERSONNEL.— The Executive Director may
  appoint and fix the compensation of such additional personnel as may be necessary to carry out the
  Council’s duties, without regard to the civil service laws and chapter 51 and subchapter III of chapter 53 of
  title 5.

  (e) EXPERT AND CONSULTANT SERVICES.—The Executive Director may procure expert and
  consultant services in accordance with section 3109 of title 5.

  (f ) FINANCIAL AND ADMINISTRATIVE SERVICES.—

         (1) SERVICES TO BE PROVIDED BY SECRETARY, AGENCY, OR PRIVATE ENTITY.—Financial and
         administrative services (including those related to budgeting, accounting, financial reporting,
         personnel and procurement) shall be provided the Council by the Secretary or, at the discretion of
         the Council, another agency or private entity that reaches an agreement with the Council, for
         which payments shall be made in advance, or by reimbursement, from funds of the Council in
         such amounts as may be agreed on by the Chairman of the Council and the head of the agency or
         the authorized representative of the private entity that will provide the services.

         (2) FEDERAL AGENCY REGULATIONS RELATING TO COLLECTION APPLY.—When a Federal agency
         affords those services, the regulations of that agency under section 5514(b) of title 5 for the
         collection of indebtedness of personnel resulting from erroneous payments shall apply to the
         collection of erroneous payments made to or on behalf of a Council employee, and regulations of
                                                     28
    Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21          Page 45 of 129



                that agency under sections 1513(d) and 1514 of title 31 for the administrative control of funds
                shall apply to appropriations of the Council. The Council shall not be required to prescribe those
                regulations.

        (g) FUNDS, PERSONNEL, FACILITIES, AND SERVICES.—

                 (1) PROVIDED BY FEDERAL AGENCY.—Any Federal agency may provide the Council, with or
                 without reimbursement as may be agreed on by the Chairman and the agency, with such funds,
                 personnel, facilities, and services under its jurisdiction and control as may be needed by the
                 Council to carry out its duties, to the extent that the funds, personnel, facilities, and services are
                 requested by the Council and are otherwise available for that purpose. Any funds provided to
                 the Council pursuant to this subsection shall be obligated by the end of the fiscal year following
                 the fiscal year in which the funds are received by the Council.

                 (2) OBTAINING ADDITIONAL PROPERTY, FACILITIES, AND SERVICES AND RECEIVING DONATIONS
                 OF MONEY.—To the extent of available appropriations, the Council may obtain by purchase,
                 rental, donation, or otherwise additional property, facilities, and services as may be needed to
                 carry out its duties and may receive donations of money for that purpose. The Executive
                 Director may accept, hold, use, expend, and administer the property, facilities, services, and
                 money for the purposes of this division.

        (h) RIGHTS, BENEFITS, AND PRIVILEGES OF TRANSFERRED EMPLOYEES.—Any employee in the competitive
        service of the United States transferred to the Council under section 207 of the National Historic
        Preservation Act (Public Law 89–665) retains all the rights, benefits, and privileges pertaining to the
        competitive service held prior to the transfer.

        (i) EXEMPTION FROM FEDERAL ADVISORY COMMITTEE ACT.—The Council is exempt from the Federal
        Advisory Committee Act (5 U.S.C. App.).

        (j) PROVISIONS THAT GOVERN OPERATIONS OF COUNCIL.—Subchapter II of chapter 5 and chapter 7
        of title 5 shall govern the operations of the Council.

§ 304106. International Centre for the Study of the Preservation and Restoration of Cultural Property

        (a) AUTHORIZATION OF PARTICIPATION.—The participation of the United States as a member in the
        International Centre for the Study of the Preservation and Restoration of Cultural Property is authorized.

        (b) OFFICIAL DELEGATION.—The Council shall recommend to the Secretary of State, after consultation
        with the Smithsonian Institution and other public and private organizations concerned with the
        technical problems of preservation, the members of the official delegation that will participate in the
        activities of the international Centre for the Study of the Preservation and Restoration of Cultural
        Property on behalf of the United States. The Secretary of State shall appoint the members of the official
        delegation from the persons recommended to the Secretary of State by the Council.

§ 304107. Transmittal of legislative recommendations, testimony, or comments to any officer or agency of the
United States prior to submission to Congress

        No officer or agency of the United States shall have any authority to require the Council to submit its
        legislative recommendations, or testimony, or comments on legislation to any officer or agency of the
        United States for approval, comments, or review, prior to the submission of the recommendations,
        testimony, or comments to Congress. When the Council voluntarily seeks to obtain the comments or
        review of any officer or agency of the United States, the Council shall include a description of the
        actions in its legislative recommendations, testimony, or comments on legislation that it transmits to
        Congress.
                                                         29
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21          Page 46 of 129




§ 304108. Regulations, procedures, and guidelines

        (a) IN GENERAL.—The Council may promulgate regulations as it considers necessary to govern the
        implementation of section 306108 of this title in its entirety.

        (b) PARTICIPATION BY LOCAL GOVERNMENTS.—The Council shall by regulation establish such procedures
        as may be necessary to provide for participation by local governments in proceedings and other actions
        taken by the Council with respect to undertakings referred to in section 306108 of this title that affect the
        local governments.

        (c) EXEMPTION FOR FEDERAL PROGRAMS OR UNDERTAKINGS.—The Council, with the concurrence of the
        Secretary, shall promulgate regulations or guidelines, as appropriate, under which Federal programs or
        undertakings may be exempted from any or all of the requirements of this division when the exemption is
        determined to be consistent with the purposes of this division, taking into consideration the magnitude of
        the exempted undertaking or program and the likelihood of impairment of historic property.

§ 304109. Budget submission

        (a) TIME AND MANNER OF SUBMISSION.—The Council shall submit its budget annually as a related
        agency of the Department of the Interior.

        (b) TRANSMITTAL OF COPIES TO CONGRESSIONAL COMMITTEES.— Whenever the Council submits any
        budget estimate or request to the President or the Office of Management and Budget, it shall
        concurrently transmit copies of that estimate or request to the Committee on Natural Resources and
        Committee on Appropriations of the House of Representatives and the Committee on Energy and Natural
        Resources and Committee on Appropriations of the Senate.

§ 304110. Report by Secretary to Council

        To assist the Council in discharging its responsibilities under this division, the Secretary at the request of
        the Chairman shall provide a report to the Council detailing the significance of any historic property,
        describing the effects of any proposed undertaking on the affected property, and recommending
        measures to avoid, minimize, or mitigate adverse effects.

§ 304111. Reimbursements from State and local agencies

        Subject to applicable conflict of interest laws, the Council may receive reimbursements from State and
        local agencies and others pursuant to agreements executed in furtherance of this division.

§ 304112. Effectiveness of Federal grant and assistance programs

        (a) COOPERATIVE AGREEMENTS.—The Council may enter into a cooperative agreement with any Federal
        agency that administers a grant or assistance program for the purpose of improving the effectiveness of
        the administration of the program in meeting the purposes and policies of this division. The cooperative
        agreement may include provisions that modify the selection criteria for a grant or assistance program to
        further the purposes of this division or that allow the Council to participate in the selection of recipients,
        if those provisions are not inconsistent with the grant or assistance program’s statutory authorization and
        purpose.

        (b) REVIEW OF GRANT AND ASSISTANCE PROGRAMS.—The Council may—

                 (1) review the operation of any Federal grant or assistance program to evaluate the effectiveness
                 of the program in meeting the purposes and policies of this division;
                                                          30
      Case 1:21-cv-00119-RDM                           Document 55-3                  Filed 06/22/21    Page 47 of 129




                      (2) make recommendations to the head of any Federal agency that administers the program to
                      further the consistency of the program with the purposes and policies of this division and to
                      improve its effectiveness in carrying out those purposes and policies; and

                      (3) make recommendations to the President and Congress regarding the effectiveness of Federal
                      grant and assistance programs in meeting the purposes and policies of this division, including
                      recommendations with regard to appropriate funding levels.



                                 Subdivision 4—Other Organizations and Programs

Chapter 3051—Historic Light Station Preservation
Sec.
305101. Definitions.
305102. Duties of Secretary in providing a national historic light station program.
305103. Selection of eligible entity and conveyance of historic light stations.
305104. Terms of conveyance.
305105. Description of property.
305106. Historic light station sales.

§ 305101. Definitions

           In this chapter:

                      (1) ADMINISTRATOR.—The term ‘‘Administrator’’ means the Administrator of General Services.

                      (2) ELIGIBLE ENTITY.—The term ‘‘eligible entity’’ means—

                                 (A) any department or agency of the Federal Government; or

                                 (B) any department or agency of the State in which a historic light station is located, the
                                 local government of the community in which a historic light station is located, a
                                 nonprofit corporation, an educational agency, or a community development
                                 organization that—

                                             (i) has agreed to comply with the conditions set forth in section 305104 of this
                                             title and to have the conditions recorded with the deed of title to the historic
                                             light station; and

                                             (ii) is financially able to maintain the historic light station in accordance with
                                             the conditions set forth in section 305104 of this title.

                      (3) FEDERAL AID TO NAVIGATION.—

                                 (A) IN GENERAL.—The term ‘‘Federal aid to navigation’’ means any device, operated and
                                 maintained by the United States, external to a vessel or aircraft, intended to assist a
                                 navigator to determine position or safe course, or to warn of dangers or obstructions to
                                 navigation.

                                 (B) INCLUSIONS.—The term ‘‘Federal aid to navigation’’ includes a light, lens,
                                 lantern, antenna, sound signal, camera, sensor, piece of electronic navigation
                                 equipment, power source, or other piece of equipment associated with a device
                                 described in subparagraph (A).
                                                                        31
    Case 1:21-cv-00119-RDM                   Document 55-3                 Filed 06/22/21     Page 48 of 129




                  (4) HISTORIC LIGHT STATION.—The term ‘‘historic light station’’ includes the light tower,
                  lighthouse, keeper’s dwelling, garages, storage sheds, oil house, fog signal building, boat house,
                  barn, pumphouse, tramhouse support structures, piers, walkways, underlying and appurtenant
                  land and related real property and improvements associated with a historic light station that is
                  a historic property.

§ 305102. Duties of Secretary in providing a national historic light station program

         To provide a national historic light station program, the Secretary
         shall—

                  (1) collect and disseminate information concerning historic light stations;

                  (2) foster educational programs relating to the history, practice, and contribution to society
                  of historic light stations;

                  (3) sponsor or conduct research and study into the history of light stations;

                  (4) maintain a listing of historic light stations; and

                  (5) assess the effectiveness of the program established by this chapter regarding the
                  conveyance of historic light stations.

§ 305103. Selection of eligible entity and conveyance of historic light stations

         (a) PROCESS AND POLICIES.—The Secretary and the Administrator shall maintain a process and policies for
         identifying, and selecting, an eligible entity to which a historic light station could be conveyed for
         education, park, recreation, cultural, or historic preservation purposes, and to monitor the use of the light
         station by the eligible entity.

         (b) APPLICATION REVIEW.—

                  (1) IN GENERAL.—The Secretary shall—

                           (A) review all applications for the conveyance of a historic light station, when the
                           agency with administrative jurisdiction over the historic light station has determined
                           the property to be excess property (as that term is defined in section 102 of title 40);
                           and

                           (B) forward to the Administrator a single approved application for the conveyance of the
                           historic light station.

                  (2) CONSULTATION.—When selecting an eligible entity, the Secretary shall consult with the
                  State Historic Preservation Officer of the State in which the historic light station is located.

         (c) CONVEYANCE OR SALE OF HISTORIC LIGHT STATIONS.—

                  (1) CONVEYANCE BY ADMINISTRATOR.—Except as provided in paragraph (2), after the
                  Secretary’s selection of an eligible entity, the Administrator shall convey, by quitclaim deed,
                  without consideration, all right, title, and interest of the United States in and to a historic light
                  station, subject to the conditions set forth in section 305104 of this title. The conveyance of a
                  historic light station under this chapter shall not be subject to the McKinney-Vento Homeless
                  Assistance Act (42 U.S.C. 11301 et seq.) or section 416(d) of the Coast Guard Authorization Act of
                                                            32
    Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21          Page 49 of 129



                1998 (Public Law 105–383, 14 U.S.C. 93 note).

                (2) HISTORIC LIGHT STATION LOCATED WITHIN A SYSTEM UNIT OR A REFUGE WITHIN NATIONAL
                WILDLIFE REFUGE SYSTEM.—

                         (A) APPROVAL OF SECRETARY REQUIRED.—A historic light station located within the
                         exterior boundaries of a System unit or a refuge within the National Wildlife Refuge
                         System shall be conveyed or sold only with the approval of the Secretary.

                         (B) CONDITIONS OF CONVEYANCE.—If the Secretary approves the conveyance of a
                         historic light station described in subparagraph (A), the conveyance shall be subject to
                         the conditions set forth in section 305104 of this title and any other terms or conditions
                         that the Secretary considers necessary to protect the resources of the System unit or
                         wildlife refuge.

                         (C) CONDITIONS OF SALE.—If the Secretary approves the sale of a historic light station
                         described in subparagraph (A), the sale shall be subject to the conditions set forth in
                         paragraphs (1) to (4) and (8) of subsection (a), and subsection (b), of section 305104 of
                         this title and any other terms or conditions that the Secretary considers necessary to
                         protect the resources of the System unit or wildlife refuge.

                         (D) COOPERATIVE AGREEMENTS.—The Secretary is encouraged to enter into
                         cooperative agreements with appropriate eligible entities with respect to historic light
                         stations described in subparagraph (A), as provided in this division, to the extent that
                         the cooperative agreements are consistent with the Secretary’s responsibilities to
                         manage and administer the System unit or wildlife refuge.

§ 305104. Terms of conveyance

        (a) IN GENERAL.—The conveyance of a historic light station shall be made subject to any conditions,
        including the reservation of easements and other rights on behalf of the United States, that the
        Administrator considers necessary to ensure that—

                (1) the Federal aids to navigation located at the historic light station in operation on the date of
                conveyance remain the personal property of the United States and continue to be operated and
                maintained by the United States for as long as needed for navigational purposes;

                (2) there is reserved to the United States the right to remove, replace, or install any Federal aid
                to navigation located at the historic light station as may be necessary for navigational purposes;

                (3) the eligible entity to which the historic light station is conveyed shall not interfere or allow
                interference in any manner with any Federal aid to navigation or hinder activities required for
                the operation and maintenance of any Federal aid to navigation without the express written
                permission of the head of the agency responsible for maintaining the Federal aid to navigation;

                (4)     (A) the eligible entity to which the historic light station is conveyed shall, at its own cost
                        and expense, use and maintain the historic light station in accordance with this division,
                        the Secretary of the Interior’s Standards for the Treatment of Historic Properties
                        contained in part 68 of title 36, Code of Federal Regulations, and other applicable laws;
                        and

                        (B) any proposed changes to the historic light station shall be reviewed and approved by
                        the Secretary in consultation with the State Historic Preservation Officer of the State in
                        which the historic light station is located, for consistency with section 800.5(a)(2)(vii) of
                                                         33
Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21           Page 50 of 129



                   title 36, Code of Federal Regulations and the Secretary’s Standards for Rehabilitation
                   contained in section 67.7 of title 36, Code of Federal Regulations;

      (5) the eligible entity to which the historic light station is conveyed shall make the historic light
      station available for education, park, recreation, cultural, or historic preservation purposes for the
      general public at reasonable times and under reasonable conditions;

      (6) the eligible entity to which the historic light station is conveyed shall not sell, convey, assign,
      exchange, or encumber the historic light station, any part of the historic light station, or any
      associated historic artifact conveyed to the eligible entity in conjunction with the historic light
      station conveyance, including any lens or lantern, unless the sale, conveyance, assignment,
      exchange, or encumbrance is approved by the Secretary;

      (7) the eligible entity to which the historic light station is conveyed shall not conduct any
      commercial activity at the historic light station, at any part of the historic light station, or in
      connection with any associated historic artifact conveyed to the eligible entity in conjunction
      with the historic light station conveyance, in any manner, unless the commercial activity is
      approved by the Secretary; and

      (8) the United States shall have the right, at any time, to enter the historic light station without
      notice, for purposes of operating, maintaining, and inspecting any aid to navigation and for the
      purpose of ensuring compliance with this section, to the extent that it is not possible to provide
      advance notice.

 (b) MAINTENANCE OF AID TO NAVIGATION.—Any eligible entity to which a historic light station is
 conveyed shall not be required to maintain any Federal aid to navigation associated with a historic light
 station, except any private aid to navigation permitted to the eligible entity under section 83 of title 14.

 (c) REVERSION.—In addition to any term or condition established pursuant to this section, the conveyance
 of a historic light station shall include a condition that the historic light station, or any associated historic
 artifact conveyed to the eligible entity in conjunction with the historic light station conveyance, including
 any lens or lantern, at the option of the Administrator, shall revert to the United States and be placed
 under the administrative control of the Administrator, if—

          (1) the historic light station, any part of the historic light station, or any associated historic
          artifact ceases to be available for education, park, recreation, cultural, or historic preservation
          purposes for the general public at reasonable times and under reasonable conditions that shall
          be set forth in the eligible entity’s application;

          (2) the historic light station or any part of the historic light station ceases to be maintained in a
          manner that ensures its present or future use as a site for a Federal aid to navigation;

          (3) the historic light station, any part of the historic light station, or any associated historic
          artifact ceases to be maintained in compliance with this division, the Secretary of the Interior’s
          Standards for the Treatment of Historic Properties contained in part 68 of title 36, Code of
          Federal Regulations, and other applicable laws;

          (4) the eligible entity to which the historic light station is conveyed sells, conveys, assigns,
          exchanges, or encumbers the historic light station, any part of the historic light fixture, or any
          associated historic artifact, without approval of the Secretary;

          (5) the eligible entity to which the historic light station is conveyed conducts any commercial
          activity at the historic light station, at any part of the historic light station, or in conjunction with
          any associated historic artifact, without approval of the Secretary; or
                                                     34
     Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21         Page 51 of 129




                 (6) at least 30 days before the reversion, the Administrator provides written notice to the owner
                 that the historic light station or any part of the historic light station is needed for national
                 security purposes.

       (d) LIGHT STATIONS ORIGINALLY CONVEYED UNDER OTHER AUTHORITY.—On receiving notice of an
       executed or intended conveyance by an owner that received from the Federal Government under
       authority other than this division a historic light station in which the United States retains a reversionary
       or other interest and that is conveying it to another person by sale, gift, or any other manner, the
       Secretary shall review the terms of the executed or proposed conveyance to ensure that any new owner
       is capable of or is complying with any and all conditions of the original conveyance. The Secretary may
       require the parties to the conveyance and relevant Federal agencies to provide information as is
       necessary to complete the review. If the Secretary determines that the new owner has not complied or is
       unable to comply with those conditions, the Secretary shall immediately advise the Administrator, who
       shall invoke any reversionary interest or take other action as may be necessary to protect the interests of
       the United States.

§ 305105. Description of property

         (a) IN GENERAL.—The Administrator shall prepare the legal description of any historic light station
         conveyed under this chapter. The Administrator, in consultation with the Secretary of Homeland Security
         and the Secretary, may retain all right, title, and interest of the United States in and to any historical
         artifact, including any lens or lantern, that is associated with the historic light station and located at the
         historic light station at the time of conveyance. Wherever possible, the historical artifacts should be used
         in interpreting the historic light station. In cases where there is no method for preserving lenses and other
         artifacts and equipment in situ, priority should be given to preservation or museum entities most closely
         associated with the historic light station, if they meet loan requirements.

         (b) ARTIFACTS.—Artifacts associated with, but not located at, a historic light station at the time of
         conveyance shall remain the property of the United States under the administrative control of the
         Secretary of Homeland Security.

         (c) COVENANTS.—All conditions placed with the quitclaim deed of title to the historic light station shall be
         construed as covenants running with the land.

         (d) SUBMERGED LAND.—No submerged land shall be conveyed under this chapter.

§ 305106. Historic light station sales

         (a) IN GENERAL.—

                  (1) WHEN SALE MAY OCCUR.—If no applicant is approved for the conveyance of a historic light
                  station pursuant to sections 305101 through 305105 of this title, the historic light station shall be
                  offered for sale.

                  (2) TERMS OF SALE.—Terms of the sales—

                            (A) shall be developed by the Administrator; and

                            (B) shall be consistent with the requirements of paragraphs (1) to (4) and (8) of
                            subsection (a), and subsection (b), of section 305104 of this title.

                  (3) COVENANTS TO BE INCLUDED IN CONVEYANCE DOCUMENTS.— Conveyance documents shall

                                                          35
     Case 1:21-cv-00119-RDM                         Document 55-3          Filed 06/22/21         Page 52 of 129



                     include all necessary covenants to protect the historical integrity of the historic light station and
                     ensure that any Federal aid to navigation located at the historic light station is operated and
                     maintained by the United States for as long as needed for that purpose.

          (b) NET SALE PROCEEDS.—

                     (1) DISPOSITION AND USE OF FUNDS.—Net sale proceeds from the disposal of a historic light
                     station—

                                (A) located on public domain land shall be transferred to the National Maritime Heritage
                                Grants Program established under chapter 3087 in the Department of the Interior; and

                                (B) under the administrative control of the Secretary of Homeland Security—

                                           (i) shall be credited to the Coast Guard’s Operating Expenses appropriation
                                           account; and

                                           (ii) shall be available for obligation and expenditure for the maintenance of
                                           light stations remaining under the administrative control of the Secretary of
                                           Homeland Security.

                     (2) AVAILABILITY OF FUNDS.—The funds referred to in paragraph (1)(B) shall remain available
                     until expended and shall be available in addition to funds available in the Coast Guard’s
                     Operating Expense appropriation for that purpose.

Chapter 3053—National Center for Preservation Technology and Training
Sec.
305301. Definitions.
305302. National Center for Preservation Technology and Training.
305303. Preservation Technology and Training Board.
305304. Preservation grants.
305305. General provisions.
305306. Service preservation centers and offices.

§ 305301. Definitions

          In this chapter:

                     (1) BOARD.—The term ‘‘Board’’ means the Preservation Technology and Training Board
                     established pursuant to section 305303 of this title.

                     (2) CENTER.—The term ‘‘Center’’ means the National Center for Preservation Technology and
                     Training established pursuant to section 305302 of this title.

§ 305302. National Center for Preservation Technology and Training

          (a) ESTABLISHMENT.—There is established within the Department of the Interior a National Center for
          Preservation Technology and Training. The Center shall be located at Northwestern State University of
          Louisiana in Natchitoches, Louisiana.

          (b) PURPOSES.—The purposes of the Center shall be to—

                     (1) develop and distribute preservation and conservation skills and technologies for the
                     identification, evaluation, conservation, and interpretation of historic property;


                                                                    36
    Case 1:21-cv-00119-RDM                Document 55-3            Filed 06/22/21          Page 53 of 129



                (2) develop and facilitate training for Federal, State, and local resource preservation
                professionals, cultural resource managers, maintenance personnel, and others working in the
                preservation field;

                (3) take steps to apply preservation technology benefits from ongoing research by other agencies
                and institutions;

                (4) facilitate the transfer of preservation technology among Federal agencies, State and local
                governments, universities, international organizations, and the private sector; and

                (5) cooperate with related international organizations including the International Council on
                Monuments and Sites, the International Center for the Study of Preservation and Restoration of
                Cultural Property, and the International Council on Museums.

        (c) PROGRAMS.—The purposes shall be carried out through research, professional training, technical
        assistance, and programs for public awareness, and through a program of grants established under
        section 305304 of this title.

        (d) EXECUTIVE DIRECTOR.—The Center shall be headed by an Executive Director with demonstrated
        expertise in historic preservation appointed by the Secretary with advice of the Board.

        (e) ASSISTANCE FROM SECRETARY.—The Secretary shall provide the Center assistance in obtaining such
        personnel, equipment, and facilities as may be needed by the Center to carry out its activities.

§ 305303. Preservation Technology and Training Board

        (a) ESTABLISHMENT.—There is established a Preservation Technology and Training Board.

        (b) DUTIES.—The Board shall—

                (1) provide leadership, policy advice, and professional oversight to the Center;

                (2) advise the Secretary on priorities and the allocation of grants among the activities of
                the Center; and

                (3) submit an annual report to the President and Congress.

        (c) MEMBERSHIP.—The Board shall be comprised of—

                (1) the Secretary;

                (2) 6 members appointed by the Secretary, who shall represent appropriate Federal, State,
                and local agencies, State and local historic preservation commissions, and other public and
                international organizations; and

                (3) 6 members appointed by the Secretary on the basis of outstanding professional
                qualifications, who represent major organizations in the fields of archeology, architecture,
                conservation, curation, engineering, history, historic preservation, landscape architecture,
                planning, or preservation education.

§ 305304. Preservation grants

        (a) IN GENERAL.—The Secretary, in consultation with the Board, shall provide preservation
        technology and training grants to eligible applicants with a demonstrated institutional capability and
                                                        37
    Case 1:21-cv-00119-RDM                  Document 55-3             Filed 06/22/21          Page 54 of 129



        commitment to the purposes of the Center, in order to ensure an effective and efficient system of
        research, information distribution, and skills training in all the related historic preservation fields.

        (b) GRANT REQUIREMENTS.—

                 (1) ALLOCATION.—Grants provided under this section shall be allocated in such a fashion as
                 to reflect the diversity of the historic preservation fields and shall be geographically
                 distributed.

                 (2) LIMIT ON AMOUNT A RECIPIENT MAY RECEIVE.—No grant recipient may receive more
                 than 10 percent of the grants allocated under this section within any year.

                 (3) LIMIT ON ADMINISTRATIVE COSTS.—The total administrative costs, direct and indirect,
                 charged for carrying out grants under this section may not exceed 25 percent of the aggregate
                 costs.

        (c) ELIGIBLE APPLICANTS.—Eligible applicants may include—

                 (1) Federal and non-Federal laboratories;

                 (2) accredited museums;

                 (3) universities;

                 (4) nonprofit organizations;

                 (5) System units and offices and Cooperative Park Study Units of the System;

                 (6) State Historic Preservation Offices;

                 (7) tribal preservation offices; and

                 (8) Native Hawaiian organizations.

        (d) STANDARDS AND METHODS.—Grants shall be awarded in accordance with accepted professional
        standards and methods, including peer review of projects.

§ 305305. General provisions

        (a) ACCEPTANCE OF GRANTS AND TRANSFERS.—The Center may accept—

                 (1) grants and donations from private individuals, groups, organizations, corporations,
                 foundations, and other entities; and

                 (2) transfers of funds from other Federal agencies.

        (b) CONTRACTS AND COOPERATIVE AGREEMENTS.—Subject to appropriations, the Center may enter into
        contracts and cooperative agreements with Federal, State, local, and tribal governments, Native Hawaiian
        organizations, educational institutions, and other public entities to carry out the Center’s responsibilities
        under this chapter.

        (c) ADDITIONAL FUNDS.—Funds appropriated for the Center shall be in addition to funds appropriated for
        Service programs, centers, and offices in existence on October 30, 1992.

                                                            38
     Case 1:21-cv-00119-RDM                        Document 55-3     Filed 06/22/21         Page 55 of 129



§ 305306. Service preservation centers and offices

         To improve the use of existing Service resources, the Secretary shall fully utilize and further develop the
         Service preservation (including conservation) centers and regional offices. The Secretary shall improve the
         coordination of the centers and offices within the Service, and shall, where appropriate, coordinate their
         activities with the Center and with other appropriate parties.



Chapter 3055—National Building Museum
Sec.
305501. Definitions.
305502. Cooperative agreement to operate museum.
305503. Activities and functions.
305504. Matching grants to Committee.
305505. Annual report.

§ 305501. Definitions

         In this chapter:

                   (1) BUILDING ARTS.—The term ‘‘building arts’’ includes all practical and scholarly aspects of
                   prehistoric, historic, and contemporary architecture, archeology, construction, building
                   technology and skills, landscape architecture, preservation and conservation, building and
                   construction, engineering, urban and community design and renewal, city and regional planning,
                   and related professions, skills, trades, and crafts.

                   (2) COMMITTEE.—The term ‘‘Committee’’ means the Committee for a National Museum of the
                   Building Arts, Incorporated, a nonprofit corporation organized and existing under the laws of the
                   District of Columbia, or its successor.

§ 305502. Cooperative agreement to operate museum

         To provide a national center to commemorate and encourage the building arts and to preserve and
         maintain a nationally significant building that exemplifies the great achievements of the building arts in
         the United States, the Secretary and the Administrator of General Services shall enter into a cooperative
         agreement with the Committee for the operation of a National Building Museum in the Federal building
         located in the block bounded by Fourth Street, Fifth Street, F Street, and G Street, Northwest in
         Washington, District of Columbia. The cooperative agreement shall include provisions that—

                   (1) make the site available to the Committee without charge;

                   (2) provide, subject to available appropriations, such maintenance, security, information,
                   janitorial, and other services as may be necessary to ensure the preservation and operation of
                   the site; and

                   (3) prescribe reasonable terms and conditions by which the Committee can fulfill its
                   responsibilities under this division.

§ 305503. Activities and functions

         The National Building Museum shall—

                   (1) collect and disseminate information concerning the building arts, including the establishment
                   of a national reference center for current and historic documents, publications, and research
                                                           39
      Case 1:21-cv-00119-RDM                          Document 55-3                  Filed 06/22/21   Page 56 of 129



                      relating to the building arts;

                      (2) foster educational programs relating to the history, practice, and contribution to society of
                      the building arts, including promotion of imaginative educational approaches to enhance
                      understanding and appreciation of all facets of the building arts;

                      (3) publicly display temporary and permanent exhibits illustrating, interpreting and
                      demonstrating the building arts;

                      (4) sponsor or conduct research and study into the history of the building arts and their role in
                      shaping our civilization; and

                      (5) encourage contributions to the building arts.

§ 305504. Matching grants to Committee

           The Secretary shall provide matching grants to the Committee for its programs related to historic
           preservation. The Committee shall match the grants in such a manner and with such funds and services as
           shall be satisfactory to the Secretary, except that not more than $500,000 may be provided to the
           Committee in any one fiscal year.

§ 305505. Annual report

           The Committee shall submit an annual report to the Secretary and the Administrator of General Services
           concerning its activities under this chapter and shall provide the Secretary and the Administrator of
           General Services with such other information as the Secretary may consider necessary or advisable.


                                 Subdivision 5—Federal Agency Historic Preservation
                                 Responsibilities

Chapter 3061—Program Responsibilities and Authorities
Subchapter I—In General
Sec.
306101. Assumption of responsibility for preservation of historic property.
306102. Preservation program.
306103. Recordation of historic property prior to alteration or demolition.
306104. Agency Preservation Officer.
306105. Agency programs and projects.
306106. Review of plans of transferees of surplus federally owned historic property.
306107. Planning and actions to minimize harm to National Historic Landmarks.
306108. Effect of undertaking on historic property.
306109. Costs of preservation as eligible project costs.
306110. Annual preservation awards program.
306111. Environmental impact statement.
306112. Waiver of provisions in event of natural disaster or imminent threat to national security.
306113. Anticipatory demolition.
306114. Documentation of decisions respecting undertakings.

Subchapter II—Lease, Exchange, or Management of Historic Property
306121. Lease or exchange.
306122. Contracts for management of historic property.

Subchapter III—Protection and Preservation of Resources
306131. Standards and guidelines.




                                                                       40
    Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21          Page 57 of 129




        Subchapter I—In General
§ 306101. Assumption of responsibility for preservation of historic property

        (a) IN GENERAL.—

                 (1) AGENCY HEAD RESPONSIBILITY.—The head of each Federal agency shall assume responsibility
                 for the preservation of historic property that is owned or controlled by the agency.

                 (2) USE OF AVAILABLE HISTORIC PROPERTY.—Prior to acquiring, constructing, or leasing a
                 building for purposes of carrying out agency responsibilities, a Federal agency shall use, to the
                 maximum extent feasible, historic property available to the agency, in accordance with Executive
                 Order No. 13006 (40 U.S.C. 3306 note).

                 (3) NECESSARY PRESERVATION.—Each Federal agency shall undertake, consistent with the
                 preservation of historic property, the mission of the agency, and the professional standards
                 established pursuant to subsection (c), any preservation as may be necessary to carry out this
                 chapter.

        (b) GUIDELINES FOR FEDERAL AGENCY RESPONSIBILITY FOR AGENCY-OWNED HISTORIC PROPERTY.—In
        consultation with the Council, the Secretary shall promulgate guidelines for Federal agency
        responsibilities under this subchapter (except section 306108).

        (c) PROFESSIONAL STANDARDS FOR PRESERVATION OF FEDERALLY OWNED OR CONTROLLED HISTORIC
        PROPERTY.—The Secretary shall establish, in consultation with the Secretary of Agriculture, the Secretary
        of Defense, the Smithsonian Institution, and the Administrator of General Services, professional standards
        for the preservation of historic property in Federal ownership or control.

§ 306102. Preservation program

        (a) ESTABLISHMENT.—Each Federal agency shall establish (except for programs or undertakings exempted
        pursuant to section 304108(c) of this title), in consultation with the Secretary, a preservation program for
        the identification, evaluation, and nomination to the National Register, and protection, of historic
        property.

        (b) REQUIREMENTS.—The program shall ensure that—

                 (1) historic property under the jurisdiction or control of the agency is identified, evaluated,
                 and nominated to the National Register;

                 (2) historic property under the jurisdiction or control of the agency is managed and maintained
                 in a way that considers the preservation of their historic, archeological, architectural, and
                 cultural values in compliance with section 306108 of this title and gives special consideration to
                 the preservation of those values in the case of property designated as having national
                 significance;

                 (3) the preservation of property not under the jurisdiction or control of the agency
                 but potentially affected by agency actions is given full consideration in planning;

                 (4) the agency’s preservation-related activities are carried out in consultation with other Federal,
                 State, and local agencies, Indian tribes, Native Hawaiian organizations carrying out historic
                 preservation planning activities, and the private sector; and


                                                         41
    Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21          Page 58 of 129



                 (5) the agency’s procedures for compliance with section 306108 of this title—

                          (A) are consistent with regulations promulgated by the Council pursuant to
                          section 304108(a) and (b) of this title;

                          (B) provide a process for the identification and evaluation of historic property for
                          listing on the National Register and the development and implementation of
                          agreements,
                          in consultation with State Historic Preservation Officers, local governments, Indian
                          tribes, Native Hawaiian organizations, and the interested public, as appropriate,
                          regarding the means by which adverse effects on historic property will be considered;
                          and

        (c) provide for the disposition of Native American cultural items from Federal or tribal land in a
        manner consistent with section 3(c) of the Native American Graves Protection and Repatriation Act
        (25 U.S.C. 3002(c)).

§ 306103. Recordation of historic property prior to alteration or demolition

        Each Federal agency shall initiate measures to ensure that where, as a result of Federal action or
        assistance carried out by the agency, a historic property is to be substantially altered or demolished—

                 (1) timely steps are taken to make or have made appropriate records; and

                 (2) the records are deposited, in accordance with section 302107 of this title, in the Library of
                 Congress or with such other appropriate agency as the Secretary may designate, for future use
                 and reference.

§ 306104. Agency Preservation Officer

        The head of each Federal agency (except an agency that is exempted under section 304108(c) of this title)
        shall designate a qualified official as the agency’s Preservation Officer who shall be responsible for
        coordinating the agency’s activities under this division. Each Preservation Officer may, to be considered
        qualified, satisfactorily complete an appropriate training program established by the Secretary under
        section 306101(c) of this title.

§ 306105. Agency programs and projects

        Consistent with the agency’s missions and mandates, each Federal agency shall carry out agency
        programs and projects (including those under which any Federal assistance is provided or any Federal
        license, permit, or other approval is required) in accordance with the purposes of this division and give
        consideration to programs and projects that will further the purposes of this division.

§ 306106. Review of plans of transferees of surplus federally owned historic property

        The Secretary shall review and approve the plans of transferees of surplus federally owned historic
        property not later than 90 days after receipt of the plans to ensure that the prehistorical, historical,
        architectural, or culturally significant values will be preserved or enhanced.

§ 306107. Planning and actions to minimize harm to National Historic Landmarks
       Prior to the approval of any Federal undertaking that may directly and adversely affect any National
       Historic Landmark, the head of the responsible Federal agency shall to the maximum extent possible
       undertake such planning and actions as may be necessary to minimize harm to the landmark. The head of

                                                         42
    Case 1:21-cv-00119-RDM                 Document 55-3             Filed 06/22/21          Page 59 of 129



        the Federal agency shall afford the Council a reasonable opportunity to comment with regard to the
        undertaking.

§ 306108. Effect of undertaking on historic property

        The head of any Federal agency having direct or indirect jurisdiction over a proposed Federal or federally
        assisted undertaking in any State and the head of any Federal department or independent agency having
        authority to license any undertaking, prior to the approval of the expenditure of any Federal funds on the
        undertaking or prior to the issuance of any license, shall take into account the effect of the undertaking
        on any historic property. The head of the Federal agency shall afford the Council a reasonable opportunity
        to comment with regard to the undertaking.

§ 306109. Costs of preservation as eligible project costs

        A Federal agency may include the costs of preservation activities of the agency under this division as
        eligible project costs in all undertakings of the agency or assisted by the agency. The eligible project costs
        may include amounts paid by a Federal agency to a State to be used in carrying out the preservation
        responsibilities of the Federal agency under this division, and reasonable costs may be charged to Federal
        licensees and permittees as a condition to the issuance of the license or permit.

§ 306110. Annual preservation awards program

        The Secretary shall establish an annual preservation awards program under which the Secretary may
        make monetary awards in amounts of not to exceed $1,000 and provide citations for special achievement
        to officers and employees of Federal, State, and certified local governments in recognition of their
        outstanding contributions to the preservation of historic property. The program may include the issuance
        of annual awards by the President to any citizen of the United States recommended for the award by the
        Secretary.

§ 306111. Environmental impact statement

        Nothing in this division shall be construed to—

                 (1) require the preparation of an environmental impact statement where the statement
                 would not otherwise be required under the National Environmental Policy Act of 1969 (42
                 U.S.C. 4321 et seq.); or

                 (2) provide any exemption from any requirement respecting the preparation of an
                 environmental impact statement under that Act.

§ 306112. Waiver of provisions in event of natural disaster or imminent threat to national security

        The Secretary shall promulgate regulations under which the requirements of this subchapter (except
        section 306108) may be waived in whole or in part in the event of a major natural disaster or an imminent
        threat to national security.

§ 306113. Anticipatory demolition

        Each Federal agency shall ensure that the agency will not grant a loan, loan guarantee, permit, license, or
        other assistance to an applicant that, with intent to avoid the requirements of section 306108 of this title,
        has intentionally significantly adversely affected a historic property to which the grant would relate, or
        having legal power to prevent it, has allowed the significant adverse effect to occur, unless the agency,
        after consultation with the Council, determines that circumstances justify granting the assistance despite
        the adverse effect created or permitted by the applicant.
                                                          43
    Case 1:21-cv-00119-RDM                 Document 55-3            Filed 06/22/21         Page 60 of 129




§ 306114. Documentation of decisions respecting undertakings

        With respect to any undertaking subject to section 306108 of this title that adversely affects any historic
        property for which a Federal agency has not entered into an agreement pursuant to regulations issued by
        the Council, the head of the agency shall document any decision made pursuant to section 306108 of this
        title. The head of the agency may not delegate the responsibility to document a decision pursuant to this
        section. Where an agreement pursuant to regulations issued by the Council has been executed with
        respect to an undertaking, the agreement shall govern the undertaking and all of its parts.



        Subchapter II—Lease, Exchange, or Management of Historic Property

§ 306121. Lease or exchange

        (a) AUTHORITY TO LEASE OR EXCHANGE.—Notwithstanding any other provision of law, each Federal
        agency, after consultation with the Council—

                 (1) shall, to the extent practicable, establish and implement alternatives (including adaptive use)
                 for historic property that is not needed for current or projected agency purposes; and

                 (2) may lease historic property owned by the agency to any person or organization, or
                 exchange any property owned by the agency with comparable historic property, if the agency
                 head determines that the lease or exchange will adequately ensure the preservation of the
                 historic property.

        (b) PROCEEDS OF LEASE.—Notwithstanding any other provision of law, the proceeds of a lease under
        subsection (a) may be retained by the agency entering into the lease and used to defray the costs of
        administration, maintenance, repair, and related expenses incurred by the agency with respect to that
        property or other property that is on the National Register that is owned by, or are under the jurisdiction
        or control of, the agency. Any surplus proceeds from the leases shall be deposited in the Treasury at the
        end of the 2d fiscal year following the fiscal year in which the proceeds are received.

§ 306122. Contracts for management of historic property

        The head of any Federal agency having responsibility for the management of any historic property may,
        after consultation with the Council, enter into a contract for the management of the property. The
        contract shall contain terms and conditions that the head of the agency considers necessary or
        appropriate to protect the interests of the United States and ensure adequate preservation of the historic
        property.

        Subchapter III—Protection and Preservation of Resources

§ 306131. Standards and guidelines

        (a) STANDARDS.—

                 (1) IN GENERAL.—Each Federal agency that is responsible for the protection of historic
                 property (including archeological property) pursuant to this division or any other law shall
                 ensure that—



                                                        44
Case 1:21-cv-00119-RDM               Document 55-3            Filed 06/22/21          Page 61 of 129



                    (A) all actions taken by employees or contractors of the agency meet professional
                    standards under regulations developed by the Secretary in consultation with the
                    Council, other affected agencies, and the appropriate professional societies of
                    archeology, architecture, conservation, history, landscape architecture, and planning;

                    (B) agency personnel or contractors responsible for historic property meet
                    qualification standards established by the Office of Personnel Management in
                    consultation with the Secretary and appropriate professional societies of archeology,
                    architecture, conservation, curation, history, landscape architecture, and planning; and

                    (C) records and other data, including data produced by historical research and
                    archeological surveys and excavations, are permanently maintained in appropriate
                    databases and made available to potential users pursuant to such regulations as the
                    Secretary shall promulgate.

           (2) CONSIDERATIONS.—The standards referred to in paragraph (1)(B) shall consider the
           particular skills and expertise needed for the preservation of historic property and shall be
           equivalent requirements for the disciplines involved.

           (3) REVISION.—The Office of Management and Budget shall revise qualification standards for the
           disciplines involved.

  (b) GUIDELINES.—To promote the preservation of historic property eligible for listing on the
  National Register, the Secretary shall, in consultation with the Council, promulgate guidelines to
  ensure that Federal, State, and tribal historic preservation programs subject to this division include
  plans to—

           (1) provide information to the owners of historic property (including architectural, curatorial,
           and archeological property) with demonstrated or likely research significance, about the need
           for protection of the historic property, and the available means of protection;

           (2) encourage owners to preserve historic property intact and in place and offer the owners of
           historic property information on the tax and grant assistance available for the donation of the
           historic property or of a preservation easement of the historic property;

           (3) encourage the protection of Native American cultural items (within the meaning of section 2
           of the Native American Graves Protection and Repatriation Act (25 U.S.C. 3001)) and of
           property of religious or cultural importance to Indian tribes, Native Hawaiian organizations, or
           other Native American groups; and

           (4) encourage owners that are undertaking archeological excavations to—

                    (A) conduct excavations and analyses that meet standards for federally-
                    sponsored excavations established by the Secretary;

                    (B) donate or lend artifacts of research significance to an appropriate research
                    institution;

                    (C) allow access to artifacts for research purposes; and

                    (D) prior to excavating or disposing of a Native American cultural item in which an
                    Indian tribe or Native Hawaiian organization may have an interest under
                    subparagraph (B) or (C) of section 3(a)(2) of the Native American Graves

                                                  45
      Case 1:21-cv-00119-RDM                         Document 55-3                 Filed 06/22/21               Page 62 of 129



                                 Protection and Repatriation Act (25 U.S.C. 3002(a)(2)(B), (C)), give notice
                                 to and consult with the Indian tribe or Native Hawaiian organization.

                                 Subdivision 6—Miscellaneous

Chapter 3071—Miscellaneous
Sec.
307101. World Heritage Convention.
307102. Effective date of regulations.
307103. Access to information.
307104. Inapplicability of division to White House, Supreme Court building, or United States Capitol.
307105. Attorney’s fees and costs to prevailing parties in civil actions.
307106. Authorization for expenditure of appropriated funds.
307107. Donations and bequests of money, personal property, and less than fee interests in historic property.
307108. Privately donated funds.

§ 307101. World Heritage Convention

           (a) AUTHORITY OF SECRETARY.—In carrying out this section, the Secretary of the Interior may act directly
           or through an appropriate officer in the Department of the Interior.

          (b) PARTICIPATION BY UNITED STATES.—The Secretary shall direct and coordinate participation by the
          United States in the World Heritage Convention in cooperation with the Secretary of State, the
          Smithsonian Institution, and the Council. Whenever possible, expenditures incurred in carrying out
          activities in cooperation with other nations and international organizations shall be paid for in such excess
          currency of the country or area where the expense is incurred as may be available to the United States.

           (c) NOMINATION OF PROPERTY TO WORLD HERITAGE COMMITTEE.— The Secretary shall periodically
           nominate property that the Secretary determines is of international significance to the World Heritage
           Committee on behalf of the United States. No property may be nominated unless it has previously been
           determined to be of national significance. Each nomination shall include evidence of such legal
           protections as may be necessary to ensure preservation of the property and its environment (including
           restrictive covenants, easements, or other forms of protection). Before making any nomination, the
           Secretary shall notify the Committee on Natural Resources of the House of Representatives and the
           Committee on Energy and Natural Resources of the Senate.

           (d) NOMINATION OF NON-FEDERAL PROPERTY TO WORLD HERITAGE COMMITTEE REQUIRES WRITTEN
           CONCURRENCE OF OWNER.—No non-Federal property may be nominated by the Secretary to the World
           Heritage Committee for inclusion on the World Heritage List unless the owner of the property concurs
           in the nomination in writing.

          (e) CONSIDERATION OF UNDERTAKING ON PROPERTY.—Prior to the approval of any undertaking outside
          the United States that may directly and adversely affect a property that is on the World Heritage List or
          on the applicable country’s equivalent of the National Register, the head of a Federal agency having
          direct or indirect jurisdiction over the undertaking shall take into account the effect of the undertaking on
          the property for purposes of avoiding or mitigating any adverse effect.

§ 307102. Effective date of regulations

           (a) PUBLICATION IN FEDERAL REGISTER.—No final regulation of the Secretary shall become effective prior
           to the expiration of 30 calendar days after it is published in the Federal Register during which either or
           both Houses of Congress are in session.



                                                                     46
    Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21         Page 63 of 129



        (b) DISAPPROVAL OF REGULATION BY RESOLUTION OF CONGRESS.— The regulation shall not become
        effective if, within 90 calendar days of continuous session of Congress after the date of promulgation,
        both Houses of Congress adopt a concurrent resolution, the matter after the resolving clause of which is
        as follows: ‘‘That Congress disapproves the regulation promulgated by the Secretary dealing with the
        matter of , which regulation was transmitted to Congress on , ’’ the blank spaces in the resolution being
        appropriately filled.

        (c) FAILURE OF CONGRESS TO ADOPT RESOLUTION OF DISAPPROVAL OF REGULATION.—If at the end of
        60 calendar days of continuous session of Congress after the date of promulgation of a regulation, no
        committee of either House of Congress has reported or been discharged from further consideration of a
        concurrent resolution disapproving the regulation, and neither House has adopted such a resolution, the
        regulation may go into effect immediately. If, within the 60 calendar days, a committee has reported or
        been discharged from further consideration of such a resolution, the regulation may go into effect not
        sooner than 90 calendar days of continuous session of Congress after its promulgation unless
        disapproved as provided for.

        (d) SESSIONS OF CONGRESS.—For purposes of this section—

                 (1) continuity of session is broken only by an adjournment sine die; and

                 (2) the days on which either House is not in session because of an adjournment of more than 3
                 days to a day certain are excluded in the computation of 60 and 90 calendar days of
                 continuous session of Congress.

        (e) CONGRESSIONAL INACTION OR REJECTION OF RESOLUTION OF DISAPPROVAL NOT DEEMED
        APPROVAL OF REGULATION.—Congressional inaction on or rejection of a resolution of disapproval shall
        not be deemed an expression of approval of the regulation.

§ 307103. Access to information

        (a) AUTHORITY TO WITHHOLD FROM DISCLOSURE.—The head of a Federal agency, or other public official
        receiving grant assistance pursuant to this division, after consultation with the Secretary, shall withhold
        from disclosure to the public information about the location, character, or ownership of a historic
        property if the Secretary and the agency determine that disclosure may—

                 (1) cause a significant invasion of privacy;

                 (2) risk harm to the historic property; or

                 (3) impede the use of a traditional religious site by practitioners.

        (b) ACCESS DETERMINATION.—When the head of a Federal agency or other public official determines
        that information should be withheld from the public pursuant to subsection (a), the Secretary, in
        consultation with the Federal agency head or official, shall determine who may have access to the
        information for the purpose of carrying out this division.

        (c) CONSULTATION WITH COUNCIL.—When information described in subsection (a) has been developed
        in the course of an agency’s compliance with section 306107 or 306108 of this title, the Secretary shall
        consult with the Council in reaching determinations under subsections (a) and (b).

§ 307104. Inapplicability of division to White House, Supreme Court building, or United States Capitol

        Nothing in this division applies to the White House and its grounds, the Supreme Court building and its
        grounds, or the United States Capitol and its related buildings and grounds.
                                                         47
     Case 1:21-cv-00119-RDM                 Document 55-3               Filed 06/22/21       Page 64 of 129



§ 307105. Attorney’s fees and costs to prevailing parties in civil actions

         In any civil action brought in any United States district court by any interested person to enforce this
         division, if the person substantially prevails in the action, the court may award attorney’s fees, expert
         witness fees, and other costs of participating in the civil action, as the court considers reasonable.

§ 307106. Authorization for expenditure of appropriated funds

         Where appropriate, each Federal agency may expend funds appropriated for its authorized programs for
         the purposes of activities carried out pursuant to this division, except to the extent that appropriations
         legislation expressly provides otherwise.

§ 307107. Donations and bequests of money, personal property, and less than fee interests in historic property

         (a) MONEY AND PERSONAL PROPERTY.—The Secretary may accept donations and bequests of money and
         personal property for the purposes of this division and shall hold, use, expend, and administer the money
         and personal property for those purposes.

         (b) LESS THAN FEE INTEREST IN HISTORIC PROPERTY.—The Secretary may accept gifts or donations of less
         than fee interests in any historic property where the acceptance of an interest will facilitate the
         conservation or preservation of the historic property. Nothing in this section or in any provision of this
         division shall be construed to affect or impair any other authority of the Secretary under other provision
         of law to accept or acquire any property for conservation or preservation or for any other purpose.

§ 307108. Privately donated funds

         (a) PROJECTS FOR WHICH FUNDS MAY BE USED.—In furtherance of the purposes of this division, the
         Secretary may accept the donation of funds that may be expended by the Secretary for projects to
         acquire, restore, preserve, or recover data from any property included on the National Register, as long as
         the project is owned by a State, any unit of local government, or any nonprofit entity.

         (b) CONSIDERATION OF FACTORS RESPECTING EXPENDITURE OF FUNDS.—

                  (1) IN GENERAL.—In expending the funds, the Secretary shall give due consideration to—

                           (A) the national significance of the project;

                           (B) its historical value to the community;

                           (C) the imminence of its destruction or loss; and

                           (D) the expressed intentions of the donor.

                  (2) FUNDS AVAILABLE WITHOUT REGARD TO MATCHING REQUIREMENTS.—Funds expended
                  under this subsection shall be made available without regard to the matching requirements
                  established by sections 302901 and 302902(b) of this title, but the recipient of the funds shall be
                  permitted to utilize them to match any grants from the Historic Preservation Fund.

         (c) TRANSFER OF UNOBLIGATED FUNDS.—The Secretary may transfer unobligated funds previously
         donated to the Secretary for the purposes of the Service, with the consent of the donor, and any funds so
         transferred shall be used or expended in accordance with this division.



                                                          48
      Case 1:21-cv-00119-RDM                       Document 55-3                 Filed 06/22/21              Page 65 of 129


Old Section Name                       Old Title 16 Legal Cite                                  Current Title 54 Legal Cite
    Section 1      16 U.S.C. 470(a)                                                54 U.S.C. 100101 note. It provides the short title: the "National
                                                                                   Historic Preservation Act."
                   16 U.S.C. 470(b)                                                Not repealed but omitted from the text of title 54. It provides
                                                                                   findings for the National Historic Preservation Act. It is still
                                                                                   valid law and may be cited as: Section 1 of the National
                                                                                   Historic Preservation Act, Pub. L. No. 89-665, as amended by
                                                                                   Pub. L. No. 96-515.
    Section 2      16 U.S.C. 470–1                                                  54 U.S.C. 300101
   Section 101     16 U.S.C. 470a(a)(1)(A) (1st sentence)                           54 U.S.C. 302101
                   16 U.S.C. 470a(a)(1)(A) (last sentence)                          54 U.S.C. 302106
                   16 U.S.C. 470a(a)(1)(B)                                          54 U.S.C. 302102
                   16 U.S.C. 470a(a)(2)                                             54 U.S.C. 302103
                   16 U.S.C. 470a(a)(3) through (5)                                 54 U.S.C. 302104
                   16 U.S.C. 470a(a)(6)                                             54 U.S.C. 302105
                   16 U.S.C. 470a(a)(7)                                             54 U.S.C. 302107
                   16 U.S.C. 470a(a)(8)                                             54 U.S.C. 302108
                   16 U.S.C. 470a(b)(1)                                             54 U.S.C. 302301
                   16 U.S.C. 470a(b)(2)                                             54 U.S.C. 302302
                   16 U.S.C. 470a(b)(3)                                             54 U.S.C. 302303
                   16 U.S.C. 470a(b)(4)                                             54 U.S.C. 302304
                   16 U.S.C. 470a(b)(5)
                                                                                   Repealed as obsolete. It provided that any State historic
                                                                                   preservation program in effect under prior authority of law
                                                                                   could be treated as an approved program for purposes of 16
                                                                                   U.S.C. 470a(b) until the earlier of the date on which the
                                                                                   Secretary approved a program submitted by the State under
                                                                                   16 U.S.C. 470a(b) or 3 years after December 12, 1992.
                   16 U.S.C. 470a(b)(6)                                             54 U.S.C. 302304
                   16 U.S.C. 470a(c)(1) (1st sentence)                              54 U.S.C. 302502
                   16 U.S.C. 470a(c)(1) (2d, last sentences)                        54 U.S.C. 302503
                   16 U.S.C. 470a(c)(2)                                             54 U.S.C. 302504
                   16 U.S.C. 470a(c)(3)                                             54 U.S.C. 302505
                   16 U.S.C. 470a(c)(4)                                             54 U.S.C. 302501
                   16 U.S.C. 470a(d)(1)                                             54 U.S.C. 302701
                   16 U.S.C. 470a(d)(2)                                             54 U.S.C. 302702
                   16 U.S.C. 470a(d)(3)                                             54 U.S.C. 302703
                   16 U.S.C. 470a(d)(4)                                             54 U.S.C. 302704
                   16 U.S.C. 470a(d)(5)                                             54 U.S.C. 302705
                   16 U.S.C. 470a(d)(6)                                             54 U.S.C. 302706
                   16 U.S.C. 470a(e)(1)                                             54 U.S.C. 302902
                   16 U.S.C. 470a(e)(2)                                             54 U.S.C. 302903
                   16 U.S.C. 470a(e)(3)(A)                                          54 U.S.C. 302904
                   16 U.S.C. 470a(e)(3)(B)                                          54 U.S.C. 302906
                   16 U.S.C. 470a(e)(3)(C)                                          54 U.S.C. 302904
                   16 U.S.C. 470a(e)(4)                                             54 U.S.C. 302905
                   16 U.S.C. 470a(e)(5)                                             54 U.S.C. 302907
                   16 U.S.C. 470a(e)(6)                                             54 U.S.C. 302908
                   16 U.S.C. 470a(f)                                                54 U.S.C. 302909
                   16 U.S.C. 470a(g), (h)                                           54 U.S.C. 306101
                   16 U.S.C. 470a(i)                                                54 U.S.C. 303902
                   16 U.S.C. 470a(j)                                                54 U.S.C. 303903
   Section 102     16 U.S.C. 470b(a) (1st sentence paragraph (1))                   54 U.S.C. 302901
                   16 U.S.C. 470b(a) (1st sentence paragraphs (2) through (6))      54 U.S.C. 302902
                   16 U.S.C. 470b(a) (2d sentence)                                  54 U.S.C. 302902
                   16 U.S.C. 470b(a) (last sentence)                                54 U.S.C. 302901
                   16 U.S.C. 470b(b)                                                54 U.S.C. 302902
                   16 U.S.C. 470b(c)                                               Previously repealed.
                   16 U.S.C. 470b(d) (relating to remaining cost of project)        54 U.S.C. 302902
                   16 U.S.C. 470b(d) (relating to availability)                     54 U.S.C. 302901
        Case 1:21-cv-00119-RDM                          Document 55-3    Filed 06/22/21               Page 66 of 129


                         16 U.S.C. 470b(e)                                  54 U.S.C. 302902
     Section 103         16 U.S.C. 470c                                     54 U.S.C. 302902
     Section 104         16 U.S.C. 470d                                     54 U.S.C. 303901
     Section 105         16 U.S.C. 470e                                     54 U.S.C. 302910
     Section 106         16 U.S.C. 470f                                     54 U.S.C. 306108
     Section 107         16 U.S.C. 470g                                     54 U.S.C. 307104
     Section 108         16 U.S.C. 470h (1st paragraph)                     54 U.S.C. 303101
                         16 U.S.C. 470h (last paragraph 1st sentence)       54 U.S.C. 303102
                         16 U.S.C. 470h (last paragraph last sentence)      54 U.S.C. 303103
     Section 109         16 U.S.C. 470h–1                                   54 U.S.C. 307108
     Section 110         16 U.S.C. 470h–2(a)(1)                             54 U.S.C. 306101
                         16 U.S.C. 470h–2(a)(2)                             54 U.S.C. 306102
                         16 U.S.C. 470h–2(b)                                54 U.S.C. 306103
                         16 U.S.C. 470h–2(c)                                54 U.S.C. 306104
                         16 U.S.C. 470h–2(d)                                54 U.S.C. 306105
                         16 U.S.C. 470h–2(e)                                54 U.S.C. 306106
                         16 U.S.C. 470h–2(f)                                54 U.S.C. 306107
                         16 U.S.C. 470h–2(g)                                54 U.S.C. 306109
                         16 U.S.C. 470h–2(h)                                54 U.S.C. 306110
                         16 U.S.C. 470h–2(i)                                54 U.S.C. 306111
                         16 U.S.C. 470h–2(j)                                54 U.S.C. 306112
                         16 U.S.C. 470h–2(k)                                54 U.S.C. 306113
                         16 U.S.C. 470h–2(l)                                54 U.S.C. 306114
     Section 111         16 U.S.C. 470h–3(a), (b)                           54 U.S.C. 306121
                         16 U.S.C. 470h–3(c)                                54 U.S.C. 306122
      Section 112        16 U.S.C. 470h–4                                   54 U.S.C. 306131
Section 113 (Repealed)   16 U.S.C. 470h–5
                                                                           Repealed as obsolete. It provided that the Secretary study the
                                                                           suitability and feasibility of alternatives for controlling illegal
                                                                           interstate and international traffic in antiquities and not later
                                                                           than 18 months after October 30, 1992, submit to Congress a
                                                                           report detailing the Secretary’s findings and
                                                                           recommendations from the study.
      Section 201        16 U.S.C. 470i                                     54 U.S.C. 304101
      Section 202        16 U.S.C. 470j                                     54 U.S.C. 304102
      Section 203        16 U.S.C. 470k                                     54 U.S.C. 304103
      Section 204        16 U.S.C. 470l                                     54 U.S.C. 304104
      Section 205        16 U.S.C. 470m                                     54 U.S.C. 304105
      Section 206        16 U.S.C. 470n                                     54 U.S.C. 304106
                         16 U.S.C. 470o                                    Repealed as obsolete. It provided that personnel, property,
Section 207 (Repealed)                                                     records, and unexpended balances of funds be transferred by
                                                                           the Department of the Interior to the Advisory Council on
                                                                           Historic Preservation within 60 days of the effective date of
                                                                           Public Law 94–422, which was approved on September 28,
                                                                           1976.
     Section 208         16 U.S.C. 470p                                     54 U.S.C. 304105
     Section 209         16 U.S.C. 470q                                     54 U.S.C. 304105
     Section 210         16 U.S.C. 470r                                     54 U.S.C. 304107
     Section 211         16 U.S.C. 470s                                     54 U.S.C. 304108
     Section 212         16 U.S.C. 470t(a) (1st sentence)                   54 U.S.C. 304109
                         16 U.S.C. 470t(a) (last sentence)                 Repealed as unnecessary. It authorized to be appropriated
                                                                           amounts necessary to carry out this part.
                         16 U.S.C. 470t(b)                                  54 U.S.C. 304109
     Section 213         16 U.S.C. 470u                                     54 U.S.C. 304110
     Section 214         16 U.S.C. 470v                                     54 U.S.C. 304108
     Section 215         16 U.S.C. 470v–1                                   54 U.S.C. 304111
     Section 216         16 U.S.C. 470v–2                                   54 U.S.C. 304112
     Section 301         16 U.S.C. 470w(1)                                  54 U.S.C. 300301
                         16 U.S.C. 470w(2)                                  54 U.S.C. 300317
                         16 U.S.C. 470w(3)                                  54 U.S.C. 300310
   Case 1:21-cv-00119-RDM                  Document 55-3   Filed 06/22/21              Page 67 of 129


              16 U.S.C. 470w(4)                               54 U.S.C. 300309
              16 U.S.C. 470w(5)                               54 U.S.C. 300308
              16 U.S.C. 470w(6)                               54 U.S.C. 300311
              16 U.S.C. 470w(7)                               54 U.S.C. 300320
              16 U.S.C. 470w(8)                               54 U.S.C. 300315
              16 U.S.C. 470w(9)                               54 U.S.C. 300304
              16 U.S.C. 470w(10)                              54 U.S.C. 300305
              16 U.S.C. 470w(11)                              54 U.S.C. 300316
              16 U.S.C. 470w(12)                              54 U.S.C. 300318
              16 U.S.C. 470w(13)                              54 U.S.C. 300307
              16 U.S.C. 470w(14)                              54 U.S.C. 300319
              16 U.S.C. 470w(15)                              54 U.S.C. 300302
              16 U.S.C. 470w(16)                              54 U.S.C. 300303
              16 U.S.C. 470w(17)                              54 U.S.C. 300313
              16 U.S.C. 470w(18)                              54 U.S.C. 300314
Section 302   16 U.S.C. 470w–1                                54 U.S.C. 307106
Section 303   16 U.S.C. 470w–2                                54 U.S.C. 307107
Section 304   16 U.S.C. 470w–3                                54 U.S.C. 307103
Section 305   16 U.S.C. 470w–4                                54 U.S.C. 307105
Section 306   16 U.S.C. 470w–5(a) (1st sentence)              54 U.S.C. 305502
              16 U.S.C. 470w–5(a) (last sentence)             54 U.S.C. 305503
              16 U.S.C. 470w–5(b)                             54 U.S.C. 305502
              16 U.S.C. 470w–5(c)                             54 U.S.C. 305504
              16 U.S.C. 470w–5(d)
                                                             Repealed as obsolete. It provided for the renovation of the site
                                                             on which the National Museum for the Building Arts is located.
              16 U.S.C. 470w–5(e)                             54 U.S.C. 305505
              16 U.S.C. 470w–5(f)                             54 U.S.C. 305501
Section 307   16 U.S.C. 470w–6                                54 U.S.C. 307102
Section 308   16 U.S.C. 470w–7(a)                             54 U.S.C. 305102
              16 U.S.C. 470w–7(b)                             54 U.S.C. 305103
              16 U.S.C. 470w–7(c)                             54 U.S.C. 305104
              16 U.S.C. 470w–7(d)                             54 U.S.C. 305105
              16 U.S.C. 470w–7(e)                             54 U.S.C. 305101
Section 309   16 U.S.C. 470w–8                                54 U.S.C. 305106
Section 401   16 U.S.C. 470x                                 Not repealed but omitted from the text of title 54. It provides
                                                             the following findings regarding the National Center for
                                                             Preservation Technology and Training provisions: "The
                                                             Congress finds and declares that, given the complexity of
                                                             technical problems encountered in preserving historic
                                                             properties and the lack of adequate distribution of technical
                                                             information to preserve such properties, a national initiative to
                                                             coordinate and promote research, distribute information, and
                                                             provide training about preservation skills and technologies
                                                             would be beneficial." It may be cited as Pub. L. No. 102-175,
                                                             title XL, § 4022, 106 Stat. 4765 (1992).

Section 402   16 U.S.C. 470x–1                                54 U.S.C. 305301
Section 403   16 U.S.C. 470x–2                                54 U.S.C. 305302
Section 404   16 U.S.C. 470x–3                                54 U.S.C. 305303
Section 405   16 U.S.C. 470x–4                                54 U.S.C. 305304
Section 406   16 U.S.C. 470x–5                                54 U.S.C. 305305
Section 407   16 U.S.C. 470x–6                                54 U.S.C. 305306
   Case 1:21-cv-00119-RDM         Document 55-3   Filed 06/22/21              Page 68 of 129


Section 401*   16 U.S.C. 470a–1                      54 U.S.C. 307101 (a) through (d). * = These are legislative
                                                    provisions that were enacted to codify requirements of the
                                                    World Heritage Convention, and were included among the
                                                    National Historic Preservation Act Amendments of 1980.
                                                    However, they were not technically part of the National
                                                    Historic Preservation Act. Their "Section 401" and "Section
                                                    402" numbering in the first column refers to their section
                                                    numbers under the public law that enacted the 1980
                                                    amendments, rather than their numbering for the National
                                                    Historic Preservation Act itself. However, their "old section"
                                                    names are included since, particularly in the case of "Section
                                                    402," below, those are section names that have been
                                                    popularly used by practitioners.
Section 402*   16 U.S.C. 470a–2                      54 U.S.C. 307101 (e). See "*" notes, above. This is the section
                                                    that imposes requirements similar to "Section 106" regarding
                                                    projects outside the United States.
                  Case 1:21-cv-00119-RDM                               Document 55-3                     Filed 06/22/21                 Page 69 of 129

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            2FHDQV:HWODQGVDQG6WUHDPV3URWHFWLRQ%UDQFK
            86(3$5HJLRQ
            )RUV\WK6W 6:
            $WODQWD*$

            Via: $VVXPSWLRQ)/#HSDJRY                                UHJXODWLRQVJRY

                                    5H        5HTXHVWWR5HFRQVLGHU&RPSOHWHQHVV'HWHUPLQDWLRQ5HJDUGLQJ
                                                6WDWHRI)ORULGD¶V$SSOLFDWLRQWR$VVXPH$GPLQLVWUDWLRQRID&OHDQ
                                                :DWHU$FW3URJUDP 'RFNHW(3$+42:(3$
                                                +42:

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            :HZULWHWRXUJHWKH86(QYLURQPHQWDO3URWHFWLRQ$JHQF\ ³(3$´ WRUHFRQVLGHULWV
            GHWHUPLQDWLRQWKDWWKH6WDWHRI)ORULGDKDVVXEPLWWHGD³FRPSOHWH´DSSOLFDWLRQWRDVVXPH
            MXULVGLFWLRQRYHUWKH&OHDQ:DWHU$FW6HFWLRQSURJUDP  $VGHPRQVWUDWHGEHORZ)ORULGD¶V
            DSSOLFDWLRQZDVQRWDQGLVQRWFRPSOHWHUHJDUGLQJDWOHDVWWKUHHLVVXHVSURWHFWLRQRIOLVWHG
            VSHFLHVLGHQWLILFDWLRQRIDVVXPHGZDWHUVDQGVWDIILQJ(3$VKRXOGVXVSHQGWKHSXEOLFFRPPHQW
            SHULRGDQGUHYLHZRI)ORULGD¶VDSSOLFDWLRQXQWLOWKH 6WDWHFXUHVWKHVHGHILFLHQFLHVDQGVXEPLWVD
            FRPSOHWHSURJUDPSURSRVDOWRWKHDJHQF\6HH &)5 D VWDWXWRU\UHYLHZSHULRG
            VKDOOQRWEHJLQLI(3$ILQGVWKDWD6WDWH¶VVXEPLVVLRQLVLQFRPSOHWH 

            2Q6HSWHPEHU(3$SXEOLVKHGD)HGHUDO5HJLVWHUQRWLFHVWDWLQJWKDWLWKDGUHFHLYHG³D
            FRPSOHWHSURJUDPVXEPLVVLRQ´IRUDVVXPSWLRQIURPWKH6WDWHRI)ORULGDRQ$XJXVW
            6HH )ORULGD¶V5HTXHVWWR$VVXPH$GPLQLVWUDWLRQRID&OHDQ:DWHU$FW6HFWLRQ3URJUDP
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             :H SUHYLRXVO\PDGHWKLVUHTXHVWLQRUDOFRPPHQWVDW(3$¶V2FWREHUYLUWXDOSXEOLF
            KHDULQJRQ)ORULGD¶VDSSOLFDWLRQ
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    Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 70 of 129

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3XEOLFQRWLFHUHTXLUHPHQWVXQGHUWKH$3$DUH  LQWHQGHGWRLPSURYHWKHTXDOLW\RIDJHQF\
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HYLGHQFHLQWKHUHFRUGWRVXSSRUWWKHLUREMHFWLRQVWRDUXOHZKLFKLQWXUQHQKDQFHVWKHTXDOLW\RI
MXGLFLDOUHYLHZ86& 6PDOO5HILQHU/HDG3KDVH'RZQ7DVN)RUFHY86 (QY¶W 3URW
$JHQF\)G '&&LU LQWHUQDOFLWDWLRQV DQGTXRWDWLRQPDUNVRPLWWHG 

,QWKLVFDVHWKH6WDWHRI)ORULGDKDVIDLOHGWRSURYLGHDFRPSOHWHSURJUDPVXEPLVVLRQWR(3$
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WHVWLQJGHQLHVIDLUQHVVWRDIIHFWHGSDUWLHVDQGSUHFOXGHVWKHRSSRUWXQLW\WRGHYHORSHYLGHQFHLQ
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6WDWHDQGLQGXVWU\VXSSRUWHUVRIWKHSURJUDPKDYHLQGLFDWHGWKH\IXOO\H[SHFWZLOOKDSSHQ

,QFRPSOHWH6XEPLVVLRQ5HJDUGLQJ(QGDQJHUHG6SHFLHV$FW3URWHFWLRQV

)LUVWWKH6WDWHKDVQRWGHPRQVWUDWHGKRZLWZLOOHQVXUHQRMHRSDUG\WROLVWHGVSHFLHVWRFRPSO\
ZLWKWKH6HFWLRQ E  *XLGHOLQHV¶QRMHRSDUG\SURYLVLRQ86& K  D VWDWH
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DSSOLFDEOHUHTXLUHPHQWVRIWKLVVHFWLRQLQFOXGLQJEXWQRWOLPLWHGWRWKHJXLGHOLQHVHVWDEOLVKHG
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6WDWHDJHQFLHVWKDWZLOOEHLQYROYHGLQFOXGLQJWKHUHVSRQVLELOLWLHVRIHDFKDQGKRZWKH\ZLOO
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,QVWHDGWKH6WDWHKDVLQGLFDWHGWKDWLWZLOOUHO\RQDQDQWLFLSDWHGSURJUDPPDWLFELRORJLFDO
RSLQLRQDQGDQDQWLFLSDWHGDVVRFLDWHGLQFLGHQWDO WDNHVWDWHPHQWLWH[SHFWVZLOOUHVXOWIURPD
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    Case 1:21-cv-00119-RDM            Document 55-3        Filed 06/22/21      Page 71 of 129

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DELOLW\WRUHYLHZWKLV FULWLFDOLQIRUPDWLRQDIIHFWHGSDUWLHVDUHXQDEOHWRSURYLGHLQIRUPHG
FRPPHQWVRQZKHWKHU)ORULGDZLOOEHDEOHWRPHHWWKHQRMHRSDUG\UHTXLUHPHQWV

,QGHHGLWZDVQRWXQWLO$XJXVW WKDW(3$DJUHHGZLWK)ORULGD¶VQRYHOSUHPLVHWKDWWKH
DJHQF\LV UHTXLUHGWRFRQVXOWZLWKWKH6HUYLFHVLIDGHFLVLRQWRDSSURYHD DVVXPSWLRQ
DSSOLFDWLRQPD\DIIHFWOLVWHGVSHFLHVRUGHVLJQDWHGFULWLFDOKDELWDW UHYHUVLQJ(3$¶VSULRU
ORQJVWDQGLQJSRVLWLRQRQWKLVLVVXH 86(QY¶W3URW$JHQF\0HPRUDQGXPRQ(QGDQJHUHG
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WLPH6HFWLRQSURJUDPPDWLFFRQVXOWDWLRQZKLFKZRXOGDOORZWKH6HUYLFHVWRLVVXH³D
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WULEDOSHUPLWWLQJSURJUDP´

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       7KH>SURJUDPPDWLF@ELRORJLFDORSLQLRQDQGLQFLGHQWDOWDNHVWDWHPHQWFRXOG
       HVWDEOLVKDGGLWLRQDOSURFHGXUDOUHTXLUHPHQWVDQGSHUPLWWLQJFRQGLWLRQVRU
       PHDVXUHVthat help ensure the state or tribal permitting program and individual
       permits issued pursuant to that programDVZHOODV(3$¶VDSSURYDORIWKDW
       SURJUDPdo not result in jeopardy to any listed species This processDVVXPLQJ
       FRPSOLDQFHZLWKDQ\DSSOLFDEOHSHUPLWFRQGLWLRQVRUPHDVXUHVwould H[WHQG
       (6$6HFWLRQOLDELOLW\SURWHFWLRQVWRLQGLYLGXDOSHUPLWVLVVXHGSXUVXDQWWRWKH
       VWDWHRUWULEDOSURJUDPDQGplace state and tribal CWA Section 404 permitting on
       equal footing with the Corps’ permitting program

,G DW HPSKDVLVDGGHG 

7DNHQWRJHWKHU(3$DQG)ORULGD¶VSRVLWLRQVGHPRQVWUDWHWKDWWKH\HWWREHFRPSOHWHG
FRQVXOWDWLRQDQGWKH\HWWREHFRPSOHWHGELRORJLFDORSLQLRQDQGLQFLGHQWDOWDNHVWDWHPHQW WKDW
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    Case 1:21-cv-00119-RDM           Document 55-3         Filed 06/22/21      Page 72 of 129

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µVWDWHDVVXPHGZDWHUV¶ PHDQVZDWHUVRIWKH8QLWHG6WDWHVWKDWWKHVWDWHDVVXPHVSHUPLWWLQJ
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GLVFKDUJHRIGUHGJHRUILOOPDWHULDO´,QRWKHUZRUGV)ORULGDGHILQHVVWDWHDVVXPHGZDWHUVDV
WKRVHZDWHUVRYHUZKLFKWKHVWDWHDVVXPHVMXULVGLFWLRQ

7KH+DQGERRNGRHVSURYLGHDQDFWXDOGHILQLWLRQIRUWKHRSSRVLWHRIVWDWHDVVXPHGZDWHUV
ZKLFKDUHWKH³5HWDLQHG:DWHUV´ +DQGERRN  E  $OWKRXJK)ORULGD¶VGHILQLWLRQ
GRHVQRWH[SODLQWKLV WRWKHUHDGLQJSXEOLFUHWDLQHGZDWHUVDUHQDYLJDEOHZDWHUVRYHUZKLFKWKH
86$UP\&RUSVRI(QJLQHHUVZRXOGUHWDLQH[FOXVLYHSHUPLWWLQJMXULVGLFWLRQXQGHU6HFWLRQRI
WKH5LYHUVDQG+DUERUV$FWRI LIVWDWHDVVXPSWLRQLVJUDQWHG 86& $PRQJ
RWKHUWKLQJV)ORULGDH[SOLFLWO\GHILQHV³5HWDLQHG:DWHUV´DVLQFOXGLQJWKRVH³LGHQWLILHGLQWKH
5HWDLQHG:DWHUV/LVW $SSHQGL[$ +DQGERRN  E  $SSHQGL[$LQWXUQFRQVLVWV
RIDSDJHOLVWRIULYHUVDQGFUHHNVPRVWO\E\QDPHRQO\ GDWHG$XJXVW

7KH³5HWDLQHG:DWHUV/LVW´PDLQWDLQHGE\WKH86$UP\&RUSVRI(QJLQHHUV ³&RUSV´ IRU
)ORULGDKDVEHHQWKHVXEMHFWRIVXEVWDQWLDOFRQWURYHUV\DQGFKDQJH VLQFH)ORULGDEHJDQLWVHIIRUWV
WRDVVXPHWKHSURJUDP LQ 2Q0DUFKWKH&RUSVLQLWLDWHGDGD\SXEOLF
FRPPHQWSHULRGWRHQGRQ$SULO³UHJDUGLQJXVHRIZDWHUVLQWKHVWDWHRI)ORULGDIRU
QDYLJDWLRQ «>LQFOXGLQJ@LGHQWLILFDWLRQRIWKRVHULYHUV VWUHDPVODNHVHWFDVVRFLDWHGZLWKSDVW
FXUUHQWRUSRWHQWLDOIXWXUHFRPPHUFHFRPPHUFLDOWUDIILFRUUHFUHDWLRQDODFWLYLWLHV´IRUSXUSRVHV

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    Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 73 of 129

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RIQDYLJDELOLW\DQDO\VHVWRGHWHUPLQH³ZKLFKZDWHUVDUHVXEMHFWWRSHUPLWWLQJDXWKRULW\XQGHU
6HFWLRQ´DQG³GHWHUPLQLQJWKHZDWHUVWKDWZRXOGEHUHWDLQHGE\WKH&RUSVLIWKH(3$
DSSURYHVWKH6WDWH¶VDSSOLFDWLRQIRU6HFWLRQ3URJUDPDVVXPSWLRQ´86'HS¶WRIWKH$UP\
3XEOLF1RWLFH'HWHUPLQDWLRQRI1DYLJDEOH:DWHUV0DU ([KLELW   2Q$SULO
WKH&RUSVSRVWHGLWVVROLFLWDWLRQIRUSXEOLFFRPPHQWRQWKLVPDWWHURQWKHZHEVLWHIRUWKH
-DFNVRQYLOOH'LVWULFW3UHVV5HOHDVH86$UP\&RUSVRI(QJ¶UV&RUSV6HHNV3XEOLF&RPPHQW
5HJDUGLQJ:DWHU8VHIRU1DYLJDWLRQ $SU 
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FRPPHQWUHJDUGLQJZDWHUXVHIRUQDYLJDWLRQ ([KLELW 

2Q$SULOWKH&RUSVLVVXHGDQ³8SGDWHG3XEOLF1RWLFH´VXPPDULO\WHUPLQDWLQJWKH
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WKHUHKDVEHHQQR³IXUWKHUQRWLFH´ DQGQRIXUWKHURSSRUWXQLW\IRUWKHSXEOLFWRFRPPHQWRQWKLV
PDWWHURIH[FHSWLRQDOSXEOLFLPSRUWDQFHHYHQQRZWKDW)ORULGDKDVVXEPLWWHGLWVDSSOLFDWLRQ
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1RWDEO\KRZHYHUWKH&RUSV¶OLVWRI5HWDLQHG:DWHUVWKDWDSSHDUVWREHSDUWRI)ORULGD¶V
VXEPLVVLRQWR(3$ SDJHVORQJ LVGUDVWLFDOO\UHGXFHGDVFRPSDUHGWRWKH5HWDLQHG:DWHUVOLVW
VXSSOHPHQWSURGXFHGE\WKH&RUSVLQ2FWREHU SDJHVORQJ 

1RWZLWKVWDQGLQJWKH&RUSV¶DEUXSWDQGXQH[SODLQHGFKDQJHRIFRXUVH LQVROLFLWLQJSXEOLF
FRPPHQWLQZHDQGVHYHUDORWKHUPHPEHUVRIWKHSXEOLFVXEPLWWHGFRPPHQWVLQOLQHZLWK
WKHRULJLQDOGHDGOLQHRI$SULO 7KLVLQFOXGHGFRPPHQWVE\6HQDWRU%RE*UDKDP RQ
EHKDOIRIWKH)ORULGD&RQVHUYDWLRQ&RDOLWLRQDVZHOODVWKH6LHUUD&OXE$XGXERQ)ORULGD7KH
&RQVHUYDQF\RI6RXWKZHVW)ORULGDDQG)ORULGD¶V:DWHUDQG5LYHU.HHSHUV

,QRXUOHWWHUZHUHPLQGHGWKH&RUSVDERXW)ORULGD¶VH[WHQVLYHZDWHUUHVRXUFHVDQGXQLTXH
K\GURORJ\DQGWKDWDQ\QDYLJDELOLW\VWXG\ZRXOGUHTXLUHDWKRURXJKDQDO\VLVRIQXPHURXV
ZDWHUZD\VWRGHWHUPLQHZKLFKZDWHUVPD\EHDVVXPDEOH7KLVXQGHUWDNLQJZRXOG UHTXLUH
VSHFLDl DWWHQWLRQWRWKHULYHUVVWUHDPVDQGDGMDFHQWZHWODQGVORFDWHGWKURXJKRXWWKH6WDWH :H
IXUWKHUQRWHGWKDWGHWHUPLQLQJWKHDGMDFHQF\RIZHWODQGVLQSDUWLFXODUZLOOUHTXLUHWLPH
LQYHVWLJDWLRQDQGHYLGHQFHDQGZLOOEHRIFULWLFDOLPSRUWDQFHWR)ORULGD¶VUHVLGHQWVDQG
HFRQRPLHV 7KHVHGHWHUPLQDWLRQVPXVWEHEDVHGRQWHFKQLFDOLQIRUPDWLRQK\GURORJ\DQG
VFLHQFH %\QHFHVVLW\DGMDFHQF\GHWHUPLQDWLRQVPXVWEHPDGHFDVHE\FDVHEDVHGRQVLWH
VSHFLILFFKDUDFWHULVWLFVRIWKHDUHD¶VK\GURORJ\WRSRJUDSK\DQGYHJHWDWLRQDPRQJRWKHUIDFWRUV
7RSHUIRUPVXFKVWXGLHVLWZLOOEHLPSHUDWLYHWRVROLFLWLQIRUPDWLRQIURPWKHSXEOLFDVWKHUHDUH
HQWLWLHVDQGLQGLYLGXDOVZLWKUHOHYDQWH[SHUWLVHORFDWHGWKURXJKRXWWKH6WDWH


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    Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 74 of 129

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2WKHUFRPPHQWHUVHFKRHGVLPLODUFRQFHUQV7KH6LHUUD&OXEGHPRQVWUDWHGWKDWHYHQDWWKHWLPH
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-DFNDORQH6LHUUD&OXE)OD&KDSWHUWR-DVRQ$.LUN86$UP\&RUSVRI(QJ¶UV$SU
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WKDW³>W@KH'LVWULFWPDNHVQRFODLPWKDWWKHVHOLVWVDUHFRPSOHWHRUFRPSOHWHO\DFFXUDWH´

7KH&RQVHUYDQF\RI6RXWKZHVW)ORULGDVXEPLWWHGVFRUHVDQGVFRUHVRIDGGLWLRQDOZDWHUZD\VWKDW
LWXUJHWKH&RUSVWRFRQVLGHUDVQDYLJDEOHDVZHOOIRU6HFWLRQSXUSRVHV/HWWHUIURP$PEHU
&URRNV&RQVHUYDQF\RI6Z)ODWRWKH'HS¶WRIWKH$UP\$SU ([KLELW $XGXERQ
)ORULGDXUJHGWKH&RUSVWRXVHWKH2FWREHUOLVWDVDEDVHOLQHDQGWRVXSSOHPHQWWKDWOLVWZLWK
DGGLWLRQDOQDYLJDEOHZDWHUZD\VVXEMHFWWR6HFWLRQ5LYHUVDQG+DUERUV$FW MXULVGLFWLRQ/HWWHU
IURP-XOLH:UDLWKPHOO$XGXERQ)ODWR'RQDOG:.LQDUG86$UP\&RUSVRI(QJ¶UV$SU
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0LDPL:DWHUNHHSHUHWDOWR&RORQHO-DVRQ$.LUN86$UP\&RUSVRI(QJ¶UV$SU
 ([KLELW 

)ORULGD¶VSURJUDPVXEPLVVLRQWR(3$KRZHYHUFRQWHQGVZLWKQRQHRIWKLV,WSXUSRUWVWR
OLPLWWKH³5HWDLQHG:DWHUV´WRDQDQHPLFSDJHOLVWWKDWLVYDJXHLQFRPSOHWHDQGKDVQRWEHHQ
VXEMHFWWRQRWLFHDQGFRPPHQW,QGHHGWKHOLVWLVJURVVO\ODFNLQJDVLWUHIOHFWVDIDUPRUH
UHVWULFWLYHYLHZRIUHWDLQHGZDWHUVWKDQWKH&RUSVSRVVHVVHGLQDQGWKH&RUSVKDVIDLOHGWR
HQJDJHWKHSXEOLFLQSHUIRUPLQJDQDGHTXDWHQDYLJDELOLW\VWXG\WKDWZRXOGDFFXUDWHO\UHIOHFWWKH
VFRSHRIH[FOXVLYHIHGHUDOMXULVGLFWLRQ
0RUHRYHU)ORULGDKDVIDLOHGWRSURYLGHWKHSXEOLFZLWK*,6RURWKHUPDSSLQJWKDWZRXOGLQIDFW
GHPRQVWUDWHWKHVFRSHRIWKHMXULVGLFWLRQLWLQWHQGVWRFODLPLILWVDVVXPSWLRQDSSOLFDWLRQLV
JUDQWHG:LWKRXWWKLVLQIRUPDWLRQPHPEHUVRIWKHSXEOLFDFURVVWKHVWDWHDUHXQDEOHWRHYDOXDWH
DQGFRPPHQWRQWKHLPSDFWWKLVSURSRVDOZLOOKDYHRQWKHZDWHUVWKDWDUHRIHFRORJLFDODQG
HFRQRPLFEHQHILWWRWKHP %\IDLOLQJWRDGHTXDWHO\DQGDFFXUDWHO\LGHQWLI\WKRVHZDWHUVRYHU
ZKLFKWKHVWDWHZRXOGDVVXPHMXULVGLFWLRQ)ORULGD¶VDSSOLFDWLRQLVLQFRPSOHWH

,QFRPSOHWH'HVFULSWLRQRI$YDLODEOH)XQGLQJDQG6WDIILQJ

7KLUG)ORULGDKDVIDLOHGWRSURYLGH(3$DQGWKHSXEOLFZLWKFRPSOHWHLQIRUPDWLRQUHJDUGLQJ
KRZLWZRXOGLPSOHPHQWRSHUDWHDQGHQIRUFHD6HFWLRQSURJUDPSDUWLFXODUO\JLYHQWKH
VXEVWDQWLDOLPSDFWWKH&29,'SDQGHPLFKDVKDGRQ6WDWHFRIIHUV6HH &)5  G 
 SURJUDPGHVFULSWLRQPXVWLQFOXGH³>D@ GHVFULSWLRQRIWKHIXQGLQJDQGPDQSRZHUZKLFKZLOOEH
DYDLODEOHIRUSURJUDPDGPLQLVWUDWLRQ´ 

$VDSUHOLPLQDU\PDWWHUWKH)ORULGD'HSDUWPHQWRI(QYLURQPHQW3URWHFWLRQKDVVWDWHGWKDWLWV
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    Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21     Page 75 of 129

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)ORULGD)LVKDQG:LOGOLIH&RPPLVVLRQDQGWKH6WDWH+LVWRULF3UHVHUYDWLRQ2IILFHWRHQVXUH
SURWHFWLRQRIOLVWHGVSHFLHVDQGFXOWXUDOUHVRXUFHV0HPRUDQGXPRI8QGHUVWDQGLQJEHWZHHQ
)ORULGD)LVKDQG:LOGOLIH&RQVHUYDWLRQ&RPPLVVLRQ8QLWHG6WDWHV)LVKDQG:LOGOLIH6HUYLFHV
DQGWKH'HSDUWPHQWRI(QYLURQPHQWDO3URWHFWLRQ$XJ  2SHUDWLQJ$JUHHPHQWEHWZHHQ
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5HVRXUFHV6WDWH+LVWRULF3UHVHUYDWLRQ2IILFHU 5HJDUGLQJWKH6WDWH3URJUDP$XJ 
+RZHYHU)ORULGD¶VGHVFULSWLRQRIIXQGLQJDQGPDQSRZHUFRQWDLQVQRLQIRUPDWLRQUHJDUGLQJWKH
IXQGLQJDQGPDQSRZHULIDQ\DYDLODEOHDWHLWKHURIWKRVHVWDWHDJHQFLHVWRPHHWWKHREOLJDWLRQV
RIDQDVVXPHGSURJUDP

,QVWHDG)ORULGDUHOLHVVROHO\RQUHVRXUFHVSXUSRUWHGO\DYDLODEOHDWWKH'HSDUWPHQWRI
(QYLURQPHQWDO3URWHFWLRQ,QGRLQJVRKRZHYHU)ORULGDFRPSOHWHO\IDLOVWRGLVFORVHWR(3$WKDW
VWDWHFRIIHUVDUHXQGHUVHYHUHVWUDLQDVDUHVXOWRIWKH&29,'SDQGHPLFWKDWVLQFH0DUFK
KDVLQIHFWHGPRUHWKDQ)ORULGLDQVDQGUHVXOWHGLQWKHGHDWKVRIDQRWKHU
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KWWSVIGRKPDSVDUFJLVFRPDSSVRSVGDVKERDUGLQGH[KWPOGGHIGFDGF
F ODVWYLVLWHG2FW  ([KLELW 

7D[UHYHQXHVIRUWKHVWDWHSOXPPHWHGLQ$SULO0D\DQG-XQHDVDUHVXOWRIWKHSDQGHPLF
,Q-XO\*RYHUQRU'H6DQWLVYHWRHGELOOLRQLQVSHQGLQJIURPWKHEXGJHWLQ
UHVSRQVHWRWKHFULVLV,Q$XJXVW)ORULGDDJHQFLHVZHUHDVNHGWR FXWRIWKHLUEXGJHWV
WRDGMXVWIRUEXGJHWVKRUWIDOOVUHVXOWLQJIURPWKHSDQGHPLF6HH &KULVWLQH6H[WRQFlorida
Agencies Asked to Cut 8.5 Percent to Adjust for COVID-19 7DPSD%D\7LPHV$XJ
KWWSVZZZWDPSDED\FRPIORULGDSROLWLFVEX]]IORULGDDJHQFLHVDVNHGWRFXW
SHUFHQWWRDGMXVWIRUFRYLG ODVWYLVLWHG2FW  ([KLELW 

)ORULGDKDVQRWDFNQRZOHGJHGWKHVHLPSRUWDQWIDFWVPXFKOHVVDGGUHVVHGKRZLWVVWDWHDJHQFLHV
FDQEHH[SHFWHGWRGRPRUH²QDPHO\LPSOHPHQWRSHUDWHDQGHQIRUFHD6HFWLRQSURJUDP²
ZLWKVRPXFKOHVV ,QGHHGDVVHYHUDOFRPPHQWHUVQRWHGGXULQJ(3$¶V2FWREHU SXEOLF
KHDULQJRQWKHDSSOLFDWLRQWKH'HSDUWPHQWDOUHDG\LVXQDEOHWRPHHWLWVREOLJDWLRQVWRRSHUDWH
DQGHQIRUFHSURJUDPVDOUHDG\XQGHULWVSXUYLHZ7KLVIDFWLVDPSO\GHPRQVWUDWHGLQWKH
ZLGHVSUHDGLPSDLUHGZDWHUVWKURXJKRXWWKH6WDWHDVZHOODVWKHUHFXUULQJWR[LFDOJDHFULVLVWKDW
KDVPDGHQDWLRQDOKHDGOLQHV DQGWKH'HSDUWPHQW¶VJURVVO\LQDGHTXDWHUHFRUGRIHQIRUFLQJLWV
H[LVWLQJSURJUDPV

7KHIDFWLVWKDWUHVRXUFHVDWWKH'HSDUWPHQWKDYHEHHQJXWWHGLQUHFHQW\HDUVEditorial: The Rick
Scott Record: An Environmental Disaster 7DPSD%D\7LPHV6HSW
KWWSVZZZWDPSDED\FRPRSLQLRQHGLWRULDOVHGLWRULDOWKHULFNVFRWWUHFRUGDQHQYLURQPHQWDO
GLVDVWHU REVHUYLQJWKDWWKH5LFN6FRWWDGPLQLVWUDWLRQKDGUHGXFHGZDWHUPDQDJHPHQW
EXGJHWVUXVKHGWKURXJKSHUPLWWLQJZHDNHQHGHQIRUFHPHQWFDXVHGZLGHVSUHDGOD\RIIV

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    Case 1:21-cv-00119-RDM           Document 55-3         Filed 06/22/21    Page 76 of 129

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SURYRNHGDEUDLQGUDLQRIH[SHUWVLQWKHILHOGDQGUHSODFHGH[SHUWVZLWKSROLWLFDODSSRLQWHHV
IRFXVHGRQDGYDQFLQJEXVLQHVVLQWHUHVWVUDWKHUWKDQHQYLURQPHQWDOVWHZDUGVKLS  ODVWYLVLWHG2FW
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7KHXQSUHFHGHQWHGEXGJHWVWUDLQVWKHVWDWHLVIDFLQJZLOOPDNHLWLPSRVVLEOHWRUHFRYHUDQ\
VHPEODQFHRIVWDIILQJDQGIXQGLQJWKDWZRXOGPDNHDVVXPSWLRQRID6HFWLRQSURJUDP
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7KH'HSDUWPHQW¶VFODLPWKDWLWZLOOEHDEOHWRRSHUDWHD6HFWLRQSURJUDPZLWKRXWDQ\
DGGLWLRQDOIXQGLQJIURPWKH6WDWH²DIXQGDPHQWDOO\IODZHGSUHPLVHWKDWWKHOHJLVODWXUHUHOLHGRQ
ZKHQJUDQWLQJWKHDXWKRULW\IRUWKHVWDWHDJHQF\WRSXUVXHDVVXPSWLRQ²LVXQWHQDEOH,WHLWKHU
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Case 1:21-cv-00119-RDM   Document 55-3    Filed 06/22/21      Page 77 of 129

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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 78 of 129




                         Exhibit 1
        Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 79 of 129



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        Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 81 of 129
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)HGHUDO5HJLVWHUWLWOHG³5HTXHVWIRU&RPPHQWRQ:KHWKHU(3$¶V$SSURYDORID&OHDQ:DWHU$FW
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&RQVXOWDWLRQ´ 'RFNHW,'1R(3$+42: (3$VRXJKWSXEOLFFRPPHQWUHJDUGLQJ
ZKHWKHUWRUHFRQVLGHULWVSRVLWLRQWKDWLWODFNVGLVFUHWLRQDU\LQYROYHPHQWRUFRQWUROZLWKLQWKHPHDQLQJ
RI&)5ZKHQDFWLQJRQDVWDWHRUWULEDODSSOLFDWLRQWRDGPLQLVWHUWKH&:$6HFWLRQ
SURJUDPVXIILFLHQWWRWULJJHU(6$6HFWLRQFRQVXOWDWLRQUHTXLUHPHQWV(3$LGHQWLILHGWKHSRVLWLRQV
DUWLFXODWHGLQWKH)'(3ZKLWHSDSHUDVZHOODVRWKHUFRQVLGHUDWLRQVWKDWPD\EHUHOHYDQWWRWKLVLVVXH
DQGUHTXHVWHGFRPPHQWRQZKHWKHU(3$FDQDQGVKRXOGHQJDJHLQDQ (6$6HFWLRQFRQVXOWDWLRQZLWK
WKH6HUYLFHVLQFRQQHFWLRQZLWK(3$¶VLQLWLDOUHYLHZRIDVWDWHRUWULEDOUHTXHVWWRDVVXPHWKH&:$
6HFWLRQSURJUDP7KHSXEOLFFRPPHQWSHULRGFORVHGRQ-XO\DQG(3$UHFHLYHGFRPPHQWV
IURPDYDULHW\RIVWDNHKROGHUV
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6HYHUDOFRPPHQWHUVVWDWHGWKDW(3$¶VGHFLVLRQUHJDUGLQJDUHTXHVWWRDVVXPHWKH&:$6HFWLRQ
SHUPLWSURJUDPLQYROYHVDQH[HUFLVHRIGLVFUHWLRQZDUUDQWLQJFRQVXOWDWLRQXQGHU(6$6HFWLRQ 7KHVH
FRPPHQWHUVUHFRPPHQGHGWKDW(3$HQJDJHLQDVLQJOH(6$6HFWLRQSURJUDPPDWLFFRQVXOWDWLRQZLWK
WKH6HUYLFHVLQFRQQHFWLRQZLWK(3$¶VLQLWLDOUHYLHZRIDQDVVXPSWLRQDSSOLFDWLRQ7KHFRPPHQWHUVVDLG
WKDWWKLVSURFHVVZRXOGHQDEOHWKH6HUYLFHVWRLVVXHDSURJUDPPDWLFELRORJLFDORSLQLRQDQGD
SURJUDPPDWLFLQFLGHQWDOWDNHVWDWHPHQWZKLFKFRXOGLGHQWLI\SURFHGXUDOUHTXLUHPHQWVIRUVWDWHDQG
WULEDO&:$6HFWLRQSHUPLWV7KH\LQGLFDWHGWKDWWKLVDSSURDFKFRXOGVXSSRUWDGHWHUPLQDWLRQRQWKH
SDUWRIWKH6HUYLFHVWKDWDVVXPSWLRQZRXOGQRWUHVXOWLQMHRSDUG\WRDQ\OLVWHGVSHFLHVDQGZRXOGHQVXUH
WKDWDFWLYLWLHVDXWKRUL]HGXQGHUVWDWHRUWULEDO&:$6HFWLRQSHUPLWVZRXOGQRWEHOLDEOHIRU
LQFLGHQWDOWDNHDVORQJDVWKHWHUPVDQGFRQGLWLRQVRISHUPLWWLQJDUHPHW
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        Case 1:21-cv-00119-RDM           Document 55-3        Filed 06/22/21      Page 82 of 129
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2WKHUFRPPHQWHUVDJUHHGWKDW(3$¶VDSSURYDORIDVWDWHRUWULEDO&:$6HFWLRQSHUPLWWLQJSURJUDP
LVGLVFUHWLRQDU\DQGWKXVWULJJHUVWKHUHTXLUHPHQWVIRUFRQVXOWDWLRQXQGHU6HFWLRQ RIWKH(6$
+RZHYHUWKHFRPPHQWHUVH[SUHVVHGFRQFHUQDERXWKRZVWDWHV RUWULEHV ZRXOGHQVXUHWKDWWKH(6$¶V
UHTXLUHPHQWVDUHEHLQJDSSOLHGDWWKHSURMHFWVSHFLILFOHYHO7KHVHFRPPHQWHUVVDLGWKDW(3$¶V
FRQVXOWDWLRQUHJDUGLQJZKHWKHUWRDSSURYHRUGLVDSSURYHDQDVVXPSWLRQUHTXHVWGRHVQRWDOOHYLDWH(6$
OLDELOLW\FRQFHUQVUHODWHGWRDFWLRQVDXWKRUL]HGE\IXWXUHVWDWHRUWULEDO&:$6HFWLRQSHUPLWV
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&HUWDLQFRPPHQWHUVDVVHUWHGWKDWWKH6XSUHPH&RXUW¶VGHFLVLRQLQNAHB DSSOLHVWR(3$¶VDSSURYDORI
&:$6HFWLRQSURJUDPVLQDGGLWLRQWRLWVDSSURYDORI&:$6HFWLRQSURJUDPVDQGWKHUHIRUH
(3$ODFNVGLVFUHWLRQWRFRQVXOWXQGHU(6$6HFWLRQLQDSSURYLQJVWDWHRUWULEDOUHTXHVWVWRDVVXPH
SHUPLWWLQJDXWKRULW\XQGHU&:$6HFWLRQ7KHVHFRPPHQWHUVDUJXHGWKDW(3$¶VUROHXQGHUERWKWKH
&:$6HFWLRQDQGSURJUDPVLVOLPLWHGWRGHWHUPLQLQJZKHWKHUVWDWHVDQGWULEHVKDYHWKHOHJDO
DXWKRULW\&RQJUHVVKDVVSHFLILHGLIWKHFULWHULDDUHVDWLVILHG(3$ODFNVWKHGLVFUHWLRQWRGHQ\DQ
DSSOLFDWLRQ7KHFRPPHQWHUVDOVRH[SUHVVHGFRQFHUQWKDWDVDSUDFWLFDOPDWWHUWKHDJHQFLHVZLOOVSHQG
VLJQLILFDQWWLPHDQGUHVRXUFHVFROOHFWLQJGDWDDQGFRQGXFWLQJDQDO\VHVIRUDFRQVXOWDWLRQEXWPD\QRW
XOWLPDWHO\SURYLGHVWDWHVDQGSULYDWHODQGRZQHUVZLWKLQFLGHQWDOWDNHSURWHFWLRQXQGHUWKH(6$
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KDVUHFRQVLGHUHGWKHSRVLWLRQDUWLFXODWHGLQWKH/HWWHUWR(&26DQG$6:0(3$FRQFOXGHVWKDW
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SHUPLWSURJUDPLQYROYHVDQH[HUFLVHRIGLVFUHWLRQZDUUDQWLQJFRQVXOWDWLRQXQGHU(6$6HFWLRQLI (3$
GHWHUPLQHVWKDWVXFKDQDSSURYDODFWLRQPD\DIIHFWDOLVWHGVSHFLHVRUGHVLJQDWHGFULWLFDOKDELWDW(3$¶V
FXUUHQWYLHZLVWKDWWKHNAHB GHFLVLRQZKLOHLQIRUPDWLYHGRHVQRWFRQWUROLQWKH&:$6HFWLRQ
SURJUDPDVVXPSWLRQFRQWH[WEHFDXVH&RQJUHVVHVWDEOLVKHGDIUDPHZRUNLQZKLFK(6$FRQFHUQVFRXOG
EHDGGUHVVHGZKHQGHOHJDWLQJDXWKRULW\WRWKH$JHQF\WRWUDQVIHUSHUPLWWLQJUHVSRQVLELOLW\IURPWKH
&RUSVWRLQGLYLGXDOVWDWHVDQGWULEHV7KDWDELOLW\LVDEVHQWLQWKHOLVWRIIDFWRUV&RQJUHVVLQVWUXFWHG(3$
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)RUH[DPSOH&:$6HFWLRQ K  $ UHTXLUHVWKH$GPLQLVWUDWRUWRGHWHUPLQHZKHWKHUDVWDWHRU
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DVVXUHFRPSOLDQFHZLWKWKH&:$6HFWLRQ E  *XLGHOLQHV7KRVH*XLGHOLQHVLQFOXGHDSURYLVLRQ
WKDWSURKLELWVWKHSHUPLWWLQJRIDGLVFKDUJHLILWMHRSDUGL]HVWKHFRQWLQXHGH[LVWHQFHRIHQGDQJHUHGRU
WKUHDWHQHGVSHFLHVRUUHVXOWVLQWKHOLNHOLKRRGRIWKHGHVWUXFWLRQRUDGYHUVHPRGLILFDWLRQRIGHVLJQDWHG
FULWLFDOKDELWDW&)5 E  (3$¶VUHJXODWLRQVVWDWHWKDWLQGHWHUPLQLQJFRPSOLDQFHZLWKWKH
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³FRQFHUQLQJWKHLPSDFWRIWKHGLVFKDUJHRQWKUHDWHQHGDQGHQGDQJHUHGVSHFLHVDQGKDELWDWVKDOOEH
FRQVLGHUHGILQDO´&)5 F 7KH&:$6HFWLRQ E  *XLGHOLQHVZHUHILUVWSURPXOJDWHG
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VSHFLHVbefore&RQJUHVVHQDFWHG&:$6HFWLRQ J )HG5HJ 6HSW 
7KXV&RQJUHVVZDVDZDUHZKHQUHTXLULQJVWDWHRUWULEDOSURJUDPFRPSOLDQFHZLWKWKH&:$6HFWLRQ
 E  *XLGHOLQHVWKDWWKHQRMHRSDUG\PDQGDWHZRXOGDSSO\WRDOOSHUPLWVLVVXHGE\VWDWHVDQGWULEHV
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8QOLNHWKHVWDWXWRU\FRQVWUXFWJRYHUQLQJ(3$¶VGHOHJDWLRQRI13'(6SURJUDPDXWKRULW\XQGHU&:$
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WRDSSURYHDVWDWHRUWULEDOUHTXHVWWRDVVXPHWKH&:$6HFWLRQSHUPLWWLQJSURJUDP8QGHU&:$
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       Case 1:21-cv-00119-RDM           Document 55-3         Filed 06/22/21     Page 83 of 129
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SURJUDPVXEPLVVLRQ&:$6HFWLRQ  J  SURYLGHVWKDWZLWKLQWHQGD\VDIWHUUHFHLSWRIDSURJUDP
DVVXPSWLRQVXEPLVVLRQ(3$VKDOOSURYLGHFRSLHVRIWKHSURJUDPDSSOLFDWLRQWRWKH&RUSVDQG):6
(3$H[WHQGHGWKDWVWDWXWRU\GLUHFWLRQWR10)6E\UHJXODWLRQ&)5 G &:$6HFWLRQ
 K  GLUHFWV(3$WRFRQVLGHUFRPPHQWVVXEPLWWHGE\WKH&RUSVDQG):6ZKHQGHWHUPLQLQJ
ZKHWKHUDVWDWHRUWULEHKDVWKHUHTXLVLWHDXWKRULW\DQGPHHWVWKH&:$VWDWXWRU\UHTXLUHPHQWVZLWK
UHVSHFWWRLPSOHPHQWLQJWKH&:$6HFWLRQSURJUDP(3$¶VUHJXODWLRQVPDNHFOHDUWKDW(3$VKRXOG
SURYLGHKHLJKWHQHGDWWHQWLRQWRFRPPHQWVIURPWKH6HUYLFHVSURYLGLQJWKDWLQLVVXLQJLWVDSSURYDORU
GLVDSSURYDORIDVWDWHRUWULEDOSURJUDP(3$VKDOOSURYLGHDUHVSRQVLYHQHVVVXPPDU\RIVLJQLILFDQW
FRPPHQWVUHFHLYHGDQGLWVUHVSRQVHV(3$³VKDOOUHVSRQGLQGLYLGXDOO\WRFRPPHQWVUHFHLYHGIURPWKH
&RUSV):6DQG10)6´&)5 J 
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%\UHTXLULQJ(3$WRFRQVLGHU WKH6HUYLFHV¶FRPPHQWVEHIRUHGHFLGLQJWRDSSURYHDQDVVXPSWLRQ
UHTXHVWDQGUHTXLULQJVWDWHVDQGWULEHVWRFRPSO\ZLWKWKH&:$6HFWLRQ E  *XLGHOLQHVZKHQ
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FRQWUROWKDWWULJJHUVWKHQHHGIRU(6$6HFWLRQFRQVXOWDWLRQZKHQ(3$¶VDFWLRQPD\DIIHFWOLVWHG
VSHFLHV(3$KDVGLVFUHWLRQUHJDUGLQJthe extent to whichLWWDNHVLQWRDFFRXQWWKH6HUYLFHV¶FRPPHQWV
DQGFDQGRVRZLWKDQH\HWRZDUGVHQVXULQJFRPSOLDQFHZLWKWKH&:$6HFWLRQ E  *XLGHOLQHV
6WDWHVDQGWULEHVDUHQRWUHTXLUHGWRFRQVXOWRQWKHLULQGLYLGXDOSHUPLWWLQJGHFLVLRQVVHH86&
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KHOSHQVXUHDSURFHVVLVLQSODFHWRFRQVLGHUSRWHQWLDODGYHUVHLPSDFWVWRVSHFLHVUHVXOWLQJIURPWKRVH
SHUPLWWLQJGHFLVLRQV(3$KDVGLVFUHWLRQDU\DXWKRULW\DWWKDWVWDJHWRVKDSHSURJUDPLPSOHPHQWDWLRQWR
HQVXUHFRPSOLDQFHZLWKWKH&:$6HFWLRQ E  *XLGHOLQHV7KLVGLVFUHWLRQDU\DXWKRULW\LVXQLTXHWR
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(3$WRWDNHLQWRFRQVLGHUDWLRQWKHYLHZVRIWKH6HUYLFHVDQGWKHUHLVQRFRUROODU\LQWKH&:$6HFWLRQ
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6HQDWH5HSRUWDFFRPSDQ\LQJHQDFWPHQWRIWKHDVVXPSWLRQDXWKRULW\
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       7KHFRPPLWWHHDPHQGPHQWVUHODWLQJWRWKH)LVKDQG:LOGOLIH6HUYLFHDUHGHVLJQHGWR  
       UHFRJQL]HWKHSDUWLFXODUH[SHUWLVHRIWKDWDJHQF\DQGWKHUHODWLRQVKLSEHWZHHQLWVJRDOVIRU
       ILVKDQGZLOGOLIHSURWHFWLRQDQGWKHJRDOVRIWKH:DWHU$FWDQG  HQFRXUDJHWKH
       H[HUFLVHRILWVFDSDELOLWLHVLQWKHHDUO\VWDJHVRISODQQLQJ%\VROLFLWLQJWKHYLHZVRIWKH
       SULQFLSDO)HGHUDODJHQFLHVLQYROYHGLQWKHUHYLHZRIWKHVHSURJUDPVDWDQHDUO\VWDJH
       REMHFWLRQVFDQEHUHVROYHGWKDWPLJKWRWKHUZLVHVXUIDFHODWHUDQGLPSHGHWKHRSHUDWLRQRI
       D6WDWHSURJUDPDSSURYHGE\WKH$GPLQLVWUDWRU7KLVFRQVXOWDWLRQSUHVHUYHVWKH
       $GPLQLVWUDWRU¶VGLVFUHWLRQLQDGGUHVVLQJWKHFRQFHUQVRIWKHVHDJHQFLHV\HWDIIRUGVWKHP
       UHDVRQDEOHDQGHDUO\SDUWLFLSDWLRQZKLFKFDQERWKVWUHQJWKHQWKH6WDWHSURJUDPDQGDYRLG
       GHOD\VLQLPSOHPHQWDWLRQ7KDWLVHDUO\SDUWLFLSDWLRQLQWKHGHYHORSPHQWDQGGHVLJQRI
       SURJUDPVJXLGHOLQHVDQGUHJXODWLRQVVKRXOGVHUYHWRUHGXFHWKHHPSKDVLVQRZSODFHGRQ
       WKHUHYLHZE\WKH)LVKDQG:LOGOLIH6HUYLFHRILQGLYLGXDODSSOLFDWLRQVIRUSHUPLWVXQGHU
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65HSDW  7KHUHSRUWH[SUHVVHVDSUHIHUHQFHIRUHDUO\HQJDJHPHQWZLWK ):6
DWWKHSURJUDPDSSURYDOVWDJHZLWKWKHJRDORIUHGXFLQJHQJDJHPHQWDWWKHLQGLYLGXDOSHUPLWWLQJ
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:KLOHWKHOHJLVODWLYHKLVWRU\GRHVQRWVSHFLILFDOO\ PHQWLRQ(6$6HFWLRQFRQVXOWDWLRQ&RQJUHVV
XVHGWKHSKUDVH³FRQVXOWDWLRQ´DWWKHGHYHORSPHQWDOVWDJHRIVWDWHSURJUDPVZKLOHUHFRJQL]LQJ
(3$¶V³GLVFUHWLRQ´LQFRQVLGHULQJWKH):6¶VFRPPHQWVDQGHQVXULQJHIILFLHQWDQGHIIHFWLYH
SURJUDPLPSOHPHQWDWLRQIROORZLQJDSSURYDO(QVXULQJWKDWIHGHUDOGHFLVLRQVFRQWHPSODWHZKHUH
DSSURSULDWHSRWHQWLDOLPSDFWVWROLVWHGVSHFLHVDWDVWDJHZKHUHWKRVHLPSDFWVFDQEHPRVW
HIILFLHQWO\DGGUHVVHGLVRQHRIWKHKDOOPDUNVRIWKH(6$6HFWLRQ FRQVXOWDWLRQSURFHVV7KH
OHJLVODWLYHKLVWRU\WKHUHIRUHVXSSRUWVSURJUDPPDWLFFRQVXOWDWLRQPRUHVRWKDQVXJJHVWLQJWKDW
IRUPDOFRQVXOWDWLRQLVQRWUHTXLUHG

,QNAHBWKH6XSUHPH&RXUWKHOG WKDW(6$6HFWLRQ FRQVXOWDWLRQRQDQ13'(6SURJUDP
WUDQVIHUFRXOGLPSRVHFRQGLWLRQVEH\RQGWKRVHIRXQGLQ6HFWLRQ  E  86 DW 
7KH&RXUWVWDWHGWKDW³>Z@KLOH(3$PD\H[HUFLVHVRPHMXGJPHQWLQGHWHUPLQLQJZKHWKHUD6WDWH
KDVGHPRQVWUDWHGWKDWLWKDVWKHDXWKRULW\WRFDUU\RXW6HFWLRQ E ¶VHQXPHUDWHGVWDWXWRU\
FULWHULDWKHVWDWXWHFOHDUO\GRHVQRWJUDQWLWWKHGLVFUHWLRQWRDGGDQRWKHUHQWLUHO\VHSDUDWH
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        Case 1:21-cv-00119-RDM           Document 55-3         Filed 06/22/21      Page 85 of 129
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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 87 of 129




                         Exhibit 2
   Case 1:21-cv-00119-RDM          Document 55-3       Filed 06/22/21   Page 88 of 129
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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 90 of 129




                         Exhibit 3
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                         1:21-cv-00119-RDM Document 55-3 Filed 06/22/21 Page 91 of 129


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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 92 of 129




                         Exhibit 4
   Case 1:21-cv-00119-RDM        Document 55-3          Filed 06/22/21   Page 93 of 129
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                        UPDATED PUBLIC NOTICE

                Cessation of Public Comment Period


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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 94 of 129




                         Exhibit 5
    Case 1:21-cv-00119-RDM            Document 55-3          Filed 06/22/21       Page 95 of 129
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SURMHFWV KDYH FRQVLGHUDEOH LQIOXHQFHLQVWDWH HOHFWLRQVDQG SROLF\ DQG WKHLU LQWHUHVWV DUH QRW
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           DFFRUGHG VXEVWDQWLDO ZHLJKW E\ WKHFRXUWV ,WLVWKHUHIRUHQHFHVVDU\ WKDW ZKHQ
           MXULVGLFWLRQDO TXHVWLRQV DULVH GLVWULFW SHUVRQQHO FDUHIXOO\ LQYHVWLJDWHWKRVH
           ZDWHUV ZKLFKPD\ EH VXEMHFW WR )HGHUDO UHJXODWRU\ MXULVGLFWLRQ XQGHU JXLGHOLQHV
           VHW RXWDERYHDVWKHUHVXOWLQJGHWHUPLQDWLRQ PD\ KDYH VXEVWDQWLDOLPSDFW XSRQD
           MXGLFLDOERG\ 2IILFLDO GHWHUPLQDWLRQV E\ DQ DJHQF\ PDGH LQWKH SDVW FDQEH UHYLVHG
           RU UHYHUVHG DV QHFHVVDU\ WR UHIOHFW FKDQJHG UXOHV RU LQWHUSUHWDWLRQV RIWKH ODZ
           (emphases added)

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RU PD\ QRWIDOO ZLWKLQ6HFWLRQ  J   7KLVLV QRWDGLVFUHWLRQDU\ DFWLYLW\ IRUWKH &RUSV LWLV
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       WKHLU QDWXUDO FRQGLWLRQRUE\ UHDVRQDEOH LPSURYHPHQW DVD PHDQVWRWUDQVSRUW LQWHUVWDWHRU
       IRUHLJQ FRPPHUFH VKRUHZDUG WR WKHLU RUGLQDU\ KLJK ZDWHU PDUN LQFOXGLQJ DOO ZDWHUV
       ZKLFK DUH VXEMHFW WR WKH HEE DQG IORZ RI WKH WLGH VKRUHZDUG WR WKHLU PHDQ KLJK ZDWHU
       PDUN LQFOXGLQJ ZHWODQGV DGMDFHQW WKHUHWR DV GHVFULEHG LQ 6HFWLRQ ,,,% EHORZ )RU
       SXUSRVHV RI WKLV DJUHHPHQW WKH &RUSV VKDOO UHWDLQ SHUPLWWLQJ DXWKRULW\ RYHU WKRVH
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       WKH HIIHFWLYH GDWH RI WKLV 02$ RQ WKH -DFNVRQYLOOH 'LVWULFW 1DYLJDEOH :DWHUV /LVW
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       VROHO\ RQ WKHLU KLVWRULFDO XVH 7KLV LV FRQVLVWHQW ZLWK WKH PDMRULW\ UHFRPPHQGDWLRQV LQ WKH
       0D\  )LQDO 5HSRUWRIWKH $VVXPDEOH :DWHUV 6XEFRPPLWWHH (emphases added)

$VRI WKHGDWH RIWKLVZULWLQJ WKH-DFNVRQYLOOH'LVWULFW 1DYLJDEOH :DWHUV /LVWV
 KWWSZZZVDMXVDFHDUP\PLO3RUWDOVGRFVUHJXODWRU\VRXUFHERRNRWKHUBSHUPLWWLQJBIDFWRUV
-DFNVRQYLOOH'LVWULFW6HFWLRQ:DWHUVSGI  $SSHQGL[ ( OLVWV5LYHUV DQG
&UHHNV DQG  /DNHV 7KH WKLUGVHQWHQFHRIWKH WH[WSUHFHGLQJ WKH OLVWVUHDGV ³+RZHYHU
FRPSOHWHOLVWVRI DOOULYHUV FUHHNV SRQGVDQG ODNHV VXEMHFW WR &RUSV VHFWLRQDXWKRULW\
DUHQRW DYDLODEOH´7KH6XSSOHPHQW WRWKRVH OLVWV GDWHG 2FWREHU  
 KWWSZZZVDMXVDFHDUP\PLO3RUWDOVGRFVUHJXODWRU\VRXUFHERRNRWKHUBSHUPLWWLQJBIDFWRUV
6XSSOHPHQW7R-DFNVRQYLOOH'LVWULFW6HFWLRQ:DWHUVSGI"YHU 
 $SSHQGL[ ) DV QRWHG DERYH LVSUHIDFHG E\ WKH FDYHDW WKDW ³7KH 'LVWULFW PDNHV QR FODLP WKDW
WKHVH OLVWVDUH FRPSOHWH RUFRPSOHWHO\ DFFXUDWH´ 7KH SURFHVV RI GHOHJDWLQJDVVXPSWLRQ RI
SHUPLWWLQJ DXWKRULW\ WR)'(3PXVWQRWFRQWLQXHXQWLOFRPSOHWH OLVWVDUHDYDLODEOH 7KH02$
H[FHUSWHG DERYHLQEROGHGWH[WZRXOGLIDGRSWHG WRGD\ XVXUS86$&(¶V DSSURSULDWH MXULVGLFWLRQ
RYHU J  ZDWHUV VLPSO\ EHFDXVH QR FRPSOHWH OLVWH[LVWV 7KH XQGHUOLQHGWH[WLQWKHH[FHUSW



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    Case 1:21-cv-00119-RDM            Document 55-3          Filed 06/22/21       Page 98 of 129
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WDNHV DVGHWHUPLQDWLYHWKHPDMRULW\ UHFRPPHQGDWLRQV RIWKH)LQDO 5HSRUWRI WKH$VVXPDEOH
:DWHUV 6XEFRPPLWWHH $SSHQGL[ * ZKLFK LVFRQWUDU\ WRWKH 86$&(¶V 0LQRULW\
5HFRPPHQGDWLRQ

       ,QTXLULHV UHJDUGLQJ GHWHUPLQDWLRQV
       KWWSVZZZODZFRUQHOOHGXFIUWH[W
        F 6SHFLILF LQTXLULHV UHJDUGLQJ WKHjurisdiction RI WKH&RUSVRI (QJLQHHUV FDQEH
       DQVZHUHG RQO\ DIWHU D GHWHUPLQDWLRQ ZKHWKHU  WKH ZDWHUV DUH QDYLJDEOH ZDWHUV RIWKH
       8QLWHG6WDWHV RU
            ,I QRWQDYLJDEOH ZKHWKHU WKH SURSRVHGW\SHRI DFWLYLW\ PD\ QHYHUWKHOHVV VRDIIHFW
          WKHQDYLJDEOHZDWHUV RIWKH 8QLWHG6WDWHV WKDW WKH DVVHUWLRQ RI UHJXODWRU\ MXULVGLFWLRQLV
          GHHPHG QHFHVVDU\

6LQFH WKH 02$ EHWZHHQ )'(3 DQG 86$&(ZLOOVHWWKH SDUDPHWHUV RI&RUSVDQG VWDWH
MXULVGLFWLRQV LWLVHVVHQWLDO WKDW D FRPSOHWH DQG DFFXUDWH OLVWRI J  ZDWHUVEHDYDLODEOH

       8VH DQGPDLQWHQDQFHRI OLVWVRI GHWHUPLQDWLRQV
       KWWSVZZZODZFRUQHOOHGXFIUWH[W
        D 7DEXODWHG OLVWVRIILQDO GHWHUPLQDWLRQV RI QDYLJDELOLW\ DUH WREHPDLQWDLQHG LQHDFK
       GLVWULFW RIILFH DQG EH XSGDWHGDV QHFHVVLWDWHG E\ FRXUW GHFLVLRQV MXULVGLFWLRQDO LQTXLULHV
       RU RWKHU FKDQJHG FRQGLWLRQV
        E ,W VKRXOGEHQRWHGWKDWWKH OLVWVUHSUHVHQW RQO\ WKRVH ZDWHUERGLHV IRU ZKLFK
       GHWHUPLQDWLRQV KDYHEHHQ PDGH DEVHQFHIURP WKDW OLVWVKRXOGQRWEH WDNHQ DV DQ
       LQGLFDWLRQ WKDWWKHZDWHUERG\ LVQRWQDYLJDEOH
        F 'HOHWLRQVIURP WKHOLVWDUH QRWDXWKRUL]HG ,I D FKDQJHLQVWDWXV RID ZDWHUERG\ IURP
       QDYLJDEOHWRQRQQDYLJDEOH LVGHHPHG QHFHVVDU\ DQXSGDWHG ILQGLQJ VKRXOG EH IRUZDUGHG
       WRWKHGLYLVLRQHQJLQHHU FKDQJHV DUH QRWFRQVLGHUHGILQDO XQWLOD GHWHUPLQDWLRQ KDV EHHQ
       PDGH E\ WKHGLYLVLRQHQJLQHHU

6HFWLRQ  D UHTXLUHV WKHPDLQWHQDQFHRIWDEXODWHG OLVWVRIILQDO GHWHUPLQDWLRQV RI
QDYLJDELOLW\ 7KDW UHVSRQVLELOLW\ LV QRWVDWLVILHG E\ WKH FXUUHQW OLVWVRIZDWHUV WKDW KDYH EHHQ
GHWHUPLQHG WREHQDYLJDEOHLIWKH VXSSOHPHQWDO OLVWVDUHLQFOXGHG DV WKH\ DUHE\ WKH86$&(¶V
DGPLVVLRQ SRVVLEO\ LQFRPSOHWHDQGRU LQDFFXUDWH $WEHVW WKRVH OLVWVDUH QHFHVVDU\ EXWQRW
VXIILFLHQW DV E PDNHV FU\VWDO FOHDU )LQDOO\  F VD\V ³'HOHWLRQVIURP WKH OLVWDUH
QRWDXWKRUL]HG´ 7KH HOLPLQDWLRQRI ³ZDWHUV LQFOXGHGRQWKHOLVWEDVHG VROHO\ RQWKHLU KLVWRULFDO
XVH´ FLWHG LQWKH 'UDIW 02$ EHWZHHQ 86$&(DQG)'(3 ZRXOGHIIHFWLYHO\ UHPRYHWKHVH ZDWHUV
IURP WKH OLVWVRIZDWHUV WKDWKDYH EHHQGHWHUPLQHGWREHQDYLJDEOHZLWKRXW IROORZLQJ WKHUHTXLUHG
SURFHGXUHV RIVXEVHFWLRQ F 

7KH 3XEOLF 1RWLFH GDWHG $SULO WLWOHG &HVVDWLRQ RI 3XEOLF &RPPHQW 3HULRGHIIHFWLYHO\
GHQLHV 6LHUUD DQG RWKHUV RI WKHRSSRUWXQLW\ WRSURYLGHLPSRUWDQW LQIRUPDWLRQ WR86$&(DQG
ZHDNHQV WKH DELOLW\ RIWKH &RUSV WRIXOILOO LWVUHVSRQVLELOLW\ WRGHWHUPLQH WKHQDYLJDELOLW\ RI DOO WKH
ZDWHUV RIWKH VWDWHWKDW PD\ FRPH LQWRTXHVWLRQGXULQJ WKH DVVXPSWLRQ RI GHOHJDWLRQSURFHVV
7KH SHUHPSWRU\ GHQLDORI DQ RIILFLDO FRQGXLW IRUFRPPHQWRQWKLVLPSRUWDQW LVVXH EHOLHV


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    Case 1:21-cv-00119-RDM            Document 55-3          Filed 06/22/21       Page 99 of 129
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UHFRJQLWLRQ E\ 86$&(WKDW WKH H[LVWLQJ OLVWVRI)ORULGD¶V QDYLJDEOH ZDWHUV DUH LQDGHTXDWH DQG
LQVXIILFLHQW WRPHHW UHJXODWRU\ DQG OHJDO UHTXLUHPHQWV $GGLWLRQDOO\ WKH$SULOQRWLFH
LQFRUUHFWO\ LGHQWLILHV WKH SXEOLF FRPPHQW GHDGOLQH DV $SULO  LQVWHDG RI$SULO :KHWKHU WKLV
LVDW\SRJUDSKLFDO HUURURU D F\QLFDO HIIRUW WRFRQYLQFH PHPEHUV RIWKH SXEOLF ZKRVWLOOZDQWHG WR
VXEPLWWKHLU FRPPHQWV WR GRVRDIWHU WKHDFWXDO GHDGOLQH SDVVHG VRLWFRXOG EHLJQRUHG LV
LPSRVVLEOHWRNQRZ

8QGHU WKHVH FLUFXPVWDQFHV WKH86$&( PXVWUHRSHQ WKHFRPPHQW SHULRG DQG FRPSO\ ZLWKLWV
UXOHV DQG JRYHUQLQJ ODZ E\ FRUUHFWLQJ WKH HUURUV LQ LWVOLVWVRI QDYLJDEOH ZDWHUV

7KDQN \RX IRU \RXU SURPSWDWWHQWLRQWRWKLVPDWWHU

6LQFHUHO\


)UDQN -DFNDORQH
)ORULGD&KDSWHU 'LUHFWRU
6LHUUD &OXE
 &HQWUDO $YHQXH
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$SSHQGL[ $  3XEOLF 1RWLFH GDWHG 0DUFK 
$SSHQGL[ %  3XEOLF 1RWLFH GDWHG $SULO
$SSHQGL[ &  6KRUWVXPPDU\ RI WKH XVHRI)ORULGDZDWHUV IRU VPDOOVFDOH FRPPHUFHGXULQJ WKH
             QDYLJDWLRQ HUD
$SSHQGL[ '  'UDIW 0HPRUDQGXP RI $JUHHPHQW EHWZHHQ )'(3 DQG WKH&RUSV
$SSHQGL[ (  -DFNVRQYLOOH'LVWULFW 1DYLJDEOH :DWHUV /LVWV
              KWWSZZZVDMXVDFHDUP\PLO3RUWDOVGRFVUHJXODWRU\VRXUFHERRNRWKHUBSHUP
             LWWLQJBIDFWRUV-DFNVRQYLOOH'LVWULFW6HFWLRQ:DWHUVSGI
$SSHQGL[ ) ± 6XSSOHPHQW WR-DFNVRQYLOOH 'LVWULFW 1DYLJDEOH:DWHUV /LVWV
              ZZZVDMXVDFHDUP\PLO3RUWDOVGRFVUHJXODWRU\VRXUFHERRNRWKHUBSHUPLWWLQJ
             BIDFWRUV6XSSOHPHQW7R-DFNVRQYLOOH'LVWULFW6HFWLRQ:DWHUVSGI"YHU 
             
$SSHQGL[ *   )LQDO 5HSRUW RI WKH$VVXPDEOH :DWHUV 6XEFRPPLWWHH




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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 100 of 129




                         Exhibit 6
        Case 1:21-cv-00119-RDM                                   Document 55-3                        Filed 06/22/21                    Page 101 of 129


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                                                     B                 RI 6RXWKZHVW )ORULGD
                                                          285 :$7(5 /$1':,/'/,)( )8785(
                   Protecting Southwest Florida 's unique natural environment and quality of life  now and forever.



$SULO                                                                                                            Sent via email

'HSDUWPHQW RI WKH $UP\
-DFNVRQYLOOH 'LVWULFW &RUSV RI (QJLQHHUV
5HJXODWRU\ 'LYLVLRQ
$WWQ 'HWHUPLQDWLRQ RI 1DYLJDEOH :DWHUV
32 %R[
-DFNVRQYLOOH )/ 

7KH &RQVHUYDQF\ RI6RXWKZHVW )ORULGD LV ZULWLQJ RQ EHKDOI RI RXU RYHU  VXSSRUWHUV LQ UHJDUGV WR
WKH QDYLJDELOLW\ RI ZDWHUV LQ VRXWKZHVW )ORULGD 7KH&RQVHUYDQF\ VWURQJO\ RSSRVHV WKH VWDWH RI )ORULGD
DVVXPLQJ &OHDQ :DWHU $FW 6HFWLRQ  SHUPLWWLQJ DXWKRULW\

7KLV OHWWHU DQG LWV DWWDFKPHQWV VKRXOG EH FRQVLGHUHG DV D UHVSRQVH WR WKH $UP\ &RUSV RI (QJLQHHUV
 $&2( 3XEOLF 1RWLFH GDWHG 0DUFK   HQWLWOHG 'HWHUPLQDWLRQ RI 1DYLJDEOH :DWHUV DORQJ ZLWK
DGGLWLRQDO IRUWKFRPLQJ FRPPHQWV IURP WKH &RQVHUYDQF\ DQG RXU SDUWQHUV 7KHVH FRPPHQWV VKRXOG EH
XVHG WR SURYLGH FODULW\ UHJDUGLQJ ZKLFK ZDWHUV VKRXOG EH FRQVLGHUHG DV VXEMHFW WR UHWDLQHG $&2(
SHUPLWWLQJ DXWKRULW\ XQGHU 6HFWLRQ  RI WKH 5LYHUV DQG +DUERUV $FW RI   86&   
$GGLWLRQDO LQIRUPDWLRQJDWKHULQJ E\ WKH $&2( DQG RWKHU VWDNHKROGHUV ZLOO EH QHHGHG WR HQVXUH WKDW
WKHVH GHWHUPLQDWLRQV DUH PDGH XWLOL]LQJ D WUDQVSDUHQW SURFHVV DQG FRPSOHWH EHVW DYDLODEOH VFLHQWLILF
LQIRUPDWLRQ

:H DUH YHU\ FRQFHUQHG ZLWK WKH RULJLQDO OLPLWHG SXEOLF FRPPHQWLQJ ZLQGRZWKDW WKH $&2( LVVXHG DQG
HYHQ PRUH FRQFHUQHG ZLWK WKH XSGDWHG SXEOLF QRWLFH GDWHG $SULO   WKDW VWDWHG WKH SXEOLF
FRPPHQW SHULRG ZDV FORVHG LQ DGYDQFH RI WKHRULJLQDO SXEOLVKHG GHDGOLQH

,Q SUHSDUDWLRQ RI WKHVH FRPPHQWV WKH &RQVHUYDQF\ KDV UHYLHZHG D GRFXPHQW HQWLWOHG -DFNVRQYLOOH
'LVWULFW 1DYLJDEOH :DWHUV /LVW D  SDJH GRFXPHQW WKDW KDV EHHQ DWWDFKHG WR WKH GUDIW 0HPRUDQGXP RI
$JUHHPHQW EHWZHHQ WKH )ORULGD 'HSDUWPHQW RI (QYLURQPHQWDO 3URWHFWLRQ DQG WKH 'HSDUWPHQW RI WKH
$UP\ WKDW ZLOO EH UHIHUUHG WR LQ WKLV OHWWHU DV WKH ROG OLVW DQG D GRFXPHQW FDOOHG 6XSSOHPHQW WR WKH
-DFNVRQYLOOH 'LVWULFW 1DYLJDEOH :DWHUV /LVW GDWHG 2FWREHU   D  SDJH GRFXPHQW WKDW ZLOO EH
UHIHUUHG WR LQ WKLV OHWWHU DVWKH QHZ OLVW  ERWK HQFORVHG

$&2( VKRXOG XVH WKH QHZ SDJH OLVW DV WKHLU VWDUWLQJ SRLQW ZLWK WKH LQFOXVLRQ RI  ZDWHUV WKDW
DSSHDU WR EH UHPRYHG IURP WKH ROG SDJH OLVW VHH $WWDFKPHQW $  ,W LV XQFOHDU ZK\ WKHVH ZDWHUV
GURSSHG RII WKH OLVW VR DJDLQ ZH DVN WKDW $&2( DGRSW WKH PRVW H[SDQVLYH OLVW RI UHWDLQHG waters;
LQFOXGLQJ DOO ZDWHUV WKDW KDYH SUHYLRXVO\ EHHQ LGHQWLILHG DV QDYLJDEOH


    $UP\ &RUSV RI (QJLQHHUV  3XEOLF 1RWLFH 'HWHUPLQDWLRQ RI 1DYLJDEOH :DWHUV 0DUFK  

    $UP\ &RUSV RI (QJLQHHUV  8SGDWHG 3XEOLF 1RWLFH &HVVDWLRQ RI 3XEOLF &RPPHQW 3HULRG $SULO  



                                          &RQVHUYDQF\ RI 6RXWKZHVW )ORULGD KDVEHHQ     DZDUGHG &KDULW\ 1DYLJDWRU V SUHVWLJLRXV 6WDU WRS UDWLQJIRU JRRG
        /
        \          +$5OOB? B ?L *$725   JRYHUQDQFH VRXQG ILVFDO PDQDJHPHQW DQG FRPPLWPHQW WR DFFRXQWDELOLW\ DQGWUDQVSDUHQF\&KDULW\ 1DYLJDWRU LV $PHULFD V
                    )RXU 6WDU &KDUUW\     ODUJHVW DQG PRVW UHVSHFWHG LQGHSHQGHQW HYDOXDWRU RI FKDULWLHV

             6PLWK 3UHVHUYH :D\ , 1DSOHV )ORULGD  ,  , )D[  , ZZZFRQHUYDQF\RUJ
     Case 1:21-cv-00119-RDM                  Document 55-3            Filed 06/22/21          Page 102 of 129

                                                                              &RQVHUYDQF\ RI 6RXWKZHVW )ORULGD        
                                                                      1DYLJDELOLW\ RI ZDWHUV LQ VRXWKZHVW )ORULGD



)XUWKHU WKH ZDWHUV LGHQWLILHG EHORZ ZKLOH QRW DQ H[KDXVWLYH OLVW DQG QRWD FRPSOHWH GHVFULSWLRQ RI SDVW
FXUUHQW RU SRWHQWLDO IXWXUH FRPPHUFH FRPPHUFLDORU UHFUHDWLRQDO DFWLYLW\ PD\ DOVR PHHW WKH GHILQLWLRQ
RI QDYLJDEOH DQGVKRXOG EH FRQVLGHUHGIRU UHWHQWLRQ XQGHU $&2( SXUYLHZ XQGHU 6HFWLRQ  RI 5LYHUV DQG
+DUERUV

&KDUORWWH &RXQW\ DUHD
    $OOLJDWRU &UHHN RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
    %HDU %UDQFK RQ QHZ OLVW
    %LJ 'HDG &UHHN PLVVLQJ IURP ERWK OLVWV
    %XFN &UHHN RQ ERWK OLVWV
        &KDUORWWH +DUERU PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        &KDUOLH &UHHN RQ QHZ OLVW  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        &RUDO &UHHN RQ QHZ OLVW
        &XUU\ &UHHN RQ QHZOLVW
        'HHU 3UDLULH &UHHN RQ QHZ OLVW
        +RUVH &UHHN RQ QHZ OLVW
        +RZDUG &UHHN RQ ERWK OLVWV
        -DFNV %UDQFK RQ QHZ OLVW
        -RVKXD &UHHN RQ QHZ OLVW
        /HH %UDQFK RQ QHZ OLVW
        /HZLV &UHHN PLVVLQJ IURP ERWK OLVWV
        /LWWOH $OOLJDWRU &UHHN RQ QHZ OLVW
        0\DNND 5LYHU RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        1RUWK )RUN $OOLJDWRU &UHHN RQ QHZ OLVW
        2\VWHU &UHHN RQ QHZ OLVW
        3D\QHV &UHHN PLVVLQJ IURP ERWK OLVWV
        3HDFH 5LYHU RQ ERWK OLVWV  KDV FRPPHUFLDO DQG UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ VLJKWVHHLQJ
         RSHUDWRUV DQG SDGGOLQJ
        5RFN &UHHN RQ QHZ OLVW 
        6DP .QLJKW &UHHN RQ QHZ OLVW
        6KHOO&UHHN RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        6RXWK )RUN $OOLJDWRU &UHHN PLVVLQJ IURP ERWK OLVWV
        :HVW %UDQFK &RUDO &UHHN RQ QHZ OLVW
        :KLGGHQ &UHHN RQ QHZ OLVW




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  'HFDGHV RI DGPLQLVWUDWLYH DFWLRQ DQG FDVH ODZ UHODWLQJ WR WKH &:$ DQG 5+$ KDYH HVWDEOLVKHG WKDW XVH LQ
LQWHUVWDWH RU IRUHLJQ FRPPHUFH FDQ DOVR LQFOXGH XVH IRU UHFUHDWLRQDO FRPPHUFH DFWLYLWLHV VXFK DV ILVKLQJ
                                



VZLPPLQJ DQG ERDWLQJSee1 e.g., State of Utah By Through Div. of Parks Recreation v. Marsh,  )G 
 WK &LU  LQWHUVWDWH FRPPHUFH LQFOXGHG UHFUHDWLRQDO XVH RI ODNH E\ LQWHUVWDWH WUDYHOHUV IRU ILVKLQJ
KXQWLQJ ERDWLQJ FDPSLQJZLOGOLIH YLHZLQJ DQG RWKHU DFWLYLWLHV 

  7KHUH LV D 5RFN &UHHN LQ &KDUORWWH &RXQW\ DUHDDV ZHOODV LQ WKH &ROOLHU &RXQW\ DUHD ,W LV XQFOHDU ZKLFK 5RFN &UHHN
LV OLVWHG RQ WKH QHZ 6XSSOHPHQWDO OLVW

  7KH QHZ 6XSSOHPHQWDO OLVW LQFOXGHV D 6RXWK 3URQJ $OOLJDWRU &UHHN
    Case 1:21-cv-00119-RDM              Document 55-3         Filed 06/22/21       Page 103 of 129

                                                                      &RQVHUYDQF\ RI 6RXWKZHVW )ORULGD      
                                                              1DYLJDELOLW\ RI ZDWHUV LQ VRXWKZHVW )ORULGD

&ROOLHU &RXQW\ DUHD
       %DUURQ 5LYHU RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ DQG ERDWLQJ
       %DUURQ &DQDO PLVVLQJ IURP ERWK OLVWV
       %ODFNZDWHU 5LYHU RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
       &DPS .HDLV 6WUDQG PLVVLQJ IURP ERWK OLVWV
       &LW\ RI0DUFR DUHD FDQDOV
       &ODP %D\3DVV PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
       &RFRKDWFKHH 5LYHU RQ ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
       &RFRKDWFKHH &DQDO PLVVLQJ IURP ERWKOLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ ERDWLQJ
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       )DNDKDWFKHH 6WUDQG PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
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        ERDWLQJ
       )HUJXVRQ 5LYHU RQ QHZ OLVW
       +DOGHPDQ &UHHN PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ DQG
        ERDWLQJ
       *ROGHQ *DWH &DQDO PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ &RQVHUYDQF\ RI
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        Case 1:21-cv-00119-RDM               Document 55-3           Filed 06/22/21      Page 104 of 129

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           RSHUDWRUV DQG SDGGOLQJ
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          ,PSHULDO 5LYHU RQ ERWK OLVWV  KDV FRPPHUFLDO DQG UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ DQG
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          /DNH +LFSRFKHH PLVVLQJ IURP ERWK OLVWV  KD UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
          /DNH 2NHHFKREHH PLVVLQJIURP QHZ OLVW  KDV FRPPHUFLDO DQG UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ
           SDGGOLQJPDULQD UHVRUW
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          /DNH 2NHHFKREHH :DWHUZD\ PLVVLQJ IURP QHZ OLVW  KDV FRPPHUFLDO DQG UHFUHDWLRQDO DFWLYLW\
           LQFOXGLQJ ERDWLQJ
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          0DUVK 3RLQW &UHHN PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
          0DWODFKD 3DVV PLVVLQJ IURP ERWKOLVWV  KDV FRPPHUFLDO DQG UHFUHDWLRQDODFWLYLW\ LQFOXGLQJ
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          2DN &UHHN RQ QHZ OLVW  KDVUHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
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     Case 1:21-cv-00119-RDM                   Document 55-3            Filed 06/22/21           Page 105 of 129

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        5REHUWV &DQDO PLVVLQJ IURP ERWK OLVWV
        6DQ &DUORV %D\ PLVVLQJ IURP ERWK OLVWV  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ DQG ERDWLQJ
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        6SDQLVK &UHHN RQ QHZ OLVW  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
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        6W -DPHV &UHHN PLVVLQJ IURP ERWK OLVWV  KDVUHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        6WURXG &UHHN RQ QHZ OLVW KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
        7HOHJUDSK &UHHN RQQHZ OLVW  KDV UHFUHDWLRQDO DFWLYLW\ LQFOXGLQJ SDGGOLQJ
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    Case 1:21-cv-00119-RDM           Document 55-3       Filed 06/22/21      Page 106 of 129

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Case 1:21-cv-00119-RDM            Document 55-3   Filed 06/22/21       Page 107 of 129

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    Case 1:21-cv-00119-RDM               Document 55-3          Filed 06/22/21         Page 108 of 129

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 Case 1:21-cv-00119-RDM         Document 55-3   Filed 06/22/21        Page 109 of 129

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  /LWWOH /DNH +DUULV
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  /RFKORRVD/DNH
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  5RGPDQ 5HVHUYRLU
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Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 110 of 129




                         Exhibit 7
   Case 1:21-cv-00119-RDM                  Document 55-3      Filed 06/22/21       Page 111 of 129




April 17, 2018

Mr. Donald W. Kinard
Chief, Regulatory Division
Jacksonville District Corps of Engineers
P. O. Box 4970
Jacksonville, FL 32232-0019

RE: Comments regarding the Determination of Navigable Waters in Florida

Dear Mr. Kinard,

As the State of Florida moves toward assumption of the Section 404 Program of the Clean Water Act
(CWA), a determination must be made regarding which waters are to remain within federal jurisdiction.
Audubon Florida appreciates the importance of this effort and thanks the Corps for soliciting input from
the public. We also support and anticipate a public process leading to the creation of the related
Memoranda of Agreement between the state and federal agencies.

We offer the following comments on the creation of the navigable waters list. In general, Audubon
supports the positions put forth by the Corps in the Final Report of the Assumable Waters Subcommittee
in 2017 and believes this reasoning should be the basis for the current effort. Listed below are the steps
we feel the Corps should take to create the list of the waters and wetlands to remain within their
administrative authority.

1. Begin with the waters listed on the “Supplement to the Jacksonville District Navigable Waters
   Lists” dated October 5, 2017.

The October 5, 2017 list should represent the baseline from which to build the complete list of retained
waters. This list should be augmented with additions based on the suggestions that follow.

2. Add waters on Indian lands that are assumable by tribes under the CWA section 404.

Since tribes could request assumption of waters on their lands at a future date they should remain under
the authority of the Corps.

3. The Corps should retain wetlands adjacent to navigable waters according to the guidance and
   process that has been in place for many years.

Wetlands considered adjacent to a navigable water are those that contribute to its continued
navigability. Changes in the conditions of these wetlands will have direct impacts on navigable waters
and should be included in the list of retained waters under authority of the Corps. Given Florida’s unique,
highly transmissive karst geology, the identification of adjacent waters should go beyond a simple
examination of distance from a navigable water and should consider groundwater flow.

4. The Corps should add waters and wetlands that are connected to recreation and tourism, Florida’s
   primary industry and chief source of interstate and international commerce.
   Case 1:21-cv-00119-RDM              Document 55-3         Filed 06/22/21       Page 112 of 129




The EPA defines “Waters of the U.S.” in part by their use for interstate and international commerce,
including recreation and travel tourism (emphasis added):

       40 CFR 230.3(s) The term waters of the United States means:
    1. All waters which are currently used, or were used in the past, or may be susceptible to use in
       interstate or foreign commerce, including all waters which are subject to the ebb and flow of the
       tide;
    2. All interstate waters including interstate wetlands;
    3. All other waters such as intrastate lakes, rivers, streams (including intermittent streams),
       mudflats, sandflats, wetlands, sloughs, prairie potholes, wet meadows, playa lakes, or natural
       ponds, the use, degradation or destruction of which could affect interstate or foreign commerce
       including any such waters:
            a. Which are or could be used by interstate or foreign travelers for recreational or other
                purposes; or
            b. From which fish or shellfish are or could be taken and sold in interstate or foreign
                commerce; or
            c. Which are used or could be used for industrial purposes by industries in interstate
                commerce;

Accordingly, the Corps’ Section 10 criteria must ensure that navigable waters and their adjacent wetlands
which support tourism and recreational use are not assumable by the state. These uses, especially
throughout Florida, clearly involve interstate and international commerce.

Thank you for considering our comments. Florida’s assumption of Section 404 permitting will be very
complex and will require careful development to ensure state implementation will be no less protective
than existing federal standards. A public process to develop this assumed program will be essential.
Please keep Audubon Florida apprised of continued work on this issue as it of great importance to our
organization and our members throughout the state.

Sincerely,

Julie Wraithmell
Interim Executive Director
Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 113 of 129




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   Case 1:21-cv-00119-RDM            Document 55-3        Filed 06/22/21      Page 114 of 129




Colonel Jason A. Kirk, District Commander
Jacksonville District Corps of Engineers
Regulatory Division
Att’n: Determination of Navigable Waters
P.O. Box 4970
Jacksonville, Florida 32232-0019

April 18, 2018
Via Email Jason.a.kirk@usace.army.mil, Navigability_Determination@usace.army.mil

Dear Colonel Kirk:

On behalf of our respective organizations, we are writing to request that the U.S. Army Corps of
Engineers adopt the broadest interpretation of navigable waters under the Clean Water Act
(CWA). Florida’s waterways are uniquely connected and thus should be comprehensively and
collectively protected under the Clean Water Act. We oppose any attempt to undermine these
protections through unnecessary reclassification of waterways and we sincerely urge the Corps
to maintain permitting authority over these important resources.

CWA Section 404 requires permits for the discharge of dredge and fill material into Waters of
the United States, including wetlands. Florida has particularly fragile and critical areas that are
regulated by Section 404 dredge and fill permits, and which require the highest level of review
and scrutiny. We believe that the federal government is best able to conduct this review given
their historic jurisdiction and agency expertise in this area. The federal authority to govern our
waters has its origins in the Commerce Clause of the Constitution due to the central role our
waterways and seas play in interstate commerce. Traditionally, wetlands have been subject to
federal jurisdiction as well due to their critical role in providing watershed connectivity. As such,
we strongly believe that CWA authority should remain with the federal government and any
delegation to the state would be inappropriate and incongruous with the spirit of the law. Our
organizations vehemently oppose the state of Florida’s attempt to assume this jurisdiction.
   Case 1:21-cv-00119-RDM          Document 55-3        Filed 06/22/21     Page 115 of 129




Due to the value of these resources to our state, we urge the Corps to apply a broad
interpretation to navigable waters in order to maintain federal control of these waterways. We
request the Corps fully assess Florida’s water bodies to ensure the Florida Navigable Waters List
is complete and completely accurate. In addition, we urge the Corps to provide adequate public
involvement and transparency during the process to update Florida’s Navigable Waters.

In addition, we fully support comments submitted by Earthjustice regarding the navigability of
waters in the State of Florida within the meaning of Section 10 of the Rivers and Harbors Act of
1899, 33 U.S.C. § 403, for purposes of determining the Corps’ jurisdiction should the U.S.
Environmental Protection Agency (EPA) grant Florida’s anticipated request to administer its
own permitting program under Section 404(a) of the Clean Water Act of 1972 (CWA), 33 U.S.C.
§ 1344, in waters of the United States.

Each signatory is an independent organization and member of Waterkeeper Alliance, a global
movement of on-the-water advocates who patrol and protect over 100,000 miles of rivers,
streams and coastlines in North and South America, Europe, Australia, Asia and Africa. More
than 300 Waterkeeper Organizations worldwide combine firsthand knowledge of their
waterways with an unwavering commitment to the rights of their communities and to the rule
of law.


Sincerely,
Rachel Silverstein                          Lisa Rinaman
Miami Waterkeeper                           St. Johns Riverkeeper

Georgia Ackerman                            Andrew Hayslip
Apalachicola Riverkeeper                    Tampa Bay Waterkeeper

Marty Baum                                  Andy Mele & Justin Bloom
Indian Riverkeeper                          Suncoast Waterkeeper

Jen Lomberk                                 John Quarterman
Matanzas Riverkeeper                        Suwannee Riverkeeper

Rick Frey                                   Reinaldo Diaz
St. Marys Riverkeeper                       Lake Worth Waterkeeper

Harrison Langley                            Laurie Murphy
Collier County Waterkeeper                  Emerald Coastkeeper

John Cassani
Calusa Waterkeeper
Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 116 of 129




                         Exhibit ş
Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 117 of 129
Case 1:21-cv-00119-RDM   Document 55-3   Filed 06/22/21   Page 118 of 129




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